Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 1 of 189 Page ID #:13




                                 EXHIBIT A
Case 2:23-cv-02068-MEMF-MAR
Kt:.\JL-1  v --
                            Document 1-2 Filed 03/20/23 Page 2 of 189 Page ID #:14

     MAR t 4 2023                                                                                                                                    SUM-100

         E. OF THE
                                                  SUMMONS                                                                       FOR COURT USE ONLY
                                                                                                                            (SOLO PARA USO DE LA CORTE)

   oFFICAL couNSEL.                        (CITA CION JUDICIAL)
GENER                                                                                                                 CONFORMED COPY
                                                                                                                          ORIGINAL FILED
                                                                                                                      Superior Court of California
NOTICE TO DEFENDANT:                                                                                                    County of Los Angeles
(AV/SO AL DEMANDADO):
REGENTS OF UNIVERSITY OF CALIFORNIA, STANFORD HEALTH CARE, INC.                                                              MAR 062023
YOU ARE BEING SUED BY PLAINTIFF:                                                                                Dav ~ w. Slayta\, Executive Ofli:erfClelk ct CWrt
(LO ESTA DEMANDANDO EL DEMANDANTE):
 DIANE K. GODFREY

NOTICE! You have been sued. The court may decide against you without your being heard unless you responc within 30 days. Read the information
below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/seffhefp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
;A VISOI Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea la informaci6n a
continuaci6n.
   Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaci6n y papeles /egales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una 1/amada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.pa.gov), en la
biblioteca de /eyes de su condado o en fa corte que [e quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la carte que
le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la carte le podra
quitar su sue/do, dinero y bienes sin mas advertencia.
   Hay otros requisitos lega/es. Es recomendab/e que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede /lamer a un servicio de
remisi6n a abogados. Si no puede pagar a un abogado, es posible que cump/a con los requisitos para obtener servicios lega/es gratuitos de un
programa de servicios /egales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de Califomia Legal Services,
(www.lawhelpcalifomia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
colegio de abogados locales. AV/SO: Por fey, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cua/quier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que fa corte pueda desechar el caso.
                                                                                                CASE NUMBER:
The name and address of the court is:                                                           (Numero de/ Caso):
(El nombre y direcci6n de fa corte es): Stanley Mosk Courthouse

 111 N. Hill St. Los Angeles CA 90012

The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, fa direcci6n y el numero de tefefono def abogado def demandante, o def demandante que no tiene abogado, es):
Diane K. Godfrey, Esq., #115665 2769 Castle Hill Court, Apt 34, Sacramento CA 95821 916 696 6692
DATE:           MAR o6 202                                                      Clerk, by                            G, RobmSOP                        , Deputy
(Fecha)                   3                                                 ·    Secretario)                                                           (Adjunto)
(For proof of service of this summons, use P         ervice of ummons (form POS-010).)
(Para prueba de entrega de esta citation use el formu/ario Proof of Service of Summons, (POS-010)).
 [SEALJ                               NOTICE TO THE PERSON SERVED: You are served
                                      1.   D      as an individual defendant.
                                      2.   D      as the person sued under the fictitious name of (specify):

                                      3.   cJi    ~o ~•If of (spec;ly},<;+v.r.{i,(       £l j+e,u'-hrl          [tl,(e_ 1 IV\ C ·
                                            under:         CCP 416.10 (corporation)                            D       CCP 416.60 (minor)
                                                     D     CCP 416.20 (defunct corporation)                    D       CCP 416.70 (conservatee)
                                                     D     CCP 416.40 (association or partnership)             D       CCP 416.90 (authorized person)
                                                     D     other (specify):
                                      4.   D       by personal delivery on (date):
                                                                                                                                                           Page 1 of 1

 Fo~:d~~~f6~~~~1~~~~~i;~%i~se                                          SUMMONS
                                                                                                                                  Code of Civil Procedure§§ 412.20. 465
                                                                                                                                                      www.courts.ca.gov
  SUM-100 [Rev. July 1. 2009]
For your protection and privacy, please press the Clear
This Form button after you have printed the form.                I• Print   this f~rmj    I Save this form
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 3 of 189 Page ID #:15



     DOCTORS MEDICAL CENTER OF MODESTO
     INC., TENET CALIFORNIA INC., DIGNITY
     HEALTH MEDICAL FOUNDATION, INC.,
     PROVIDENCE MEDICAL FOUNDATION, INC.
     WALMARTINC., MCNAUGHTON
     NEWSPAPERS, INC., ANIMAL LEGAL
     DEFENSE FUND, INC., LOS ANGELES TIMES,
     FEDERAL EXPRESS COMP ANY INC.,
     THE UPS STORE, INC., LIVERMORE
     OPTOMETRY, INC., GAGNON VISION
     MEDICAL GROUP, INC., DENTAL BOARD
     OF CALIFORNIA, CALIFORNIA BOARD OF
     BARBERING AND COSMETOLOGY,
     CALIFORNIA BOARD OF OPTOMETRY,
     MEDICAL BOARD OF CALIFORNIA,
     BOARD, RAY STONE INC., CALIFORNIA
     BOARD OF PHARMACY, CALIFORNIA
     PHYSICIAN BOARD, and DOES 1-50,
     DEFENDANTS.
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 4 of 189 Page ID #:16




 l DIANE K. GODFREY, ESQ., CSB #115665
 2 Attorney at law
   2769 Castle Hill Court, Apt. 34
 3 Sacramento CA 95821                                  CONFORMED COPY
                                                           OFHQINAL FILED
   (916) 696-6692                                       Superior Court of CallfornJa
 4                                                        County ot Los Angeles
   dianegodfreylaw(a),gmail.corn
 5 Plaintiff in propria persona                                MAR 06 2023
  6                                                Oavkl W. Sia~, Executive Offic8r/Clerk cl Coo1t
  7

  8
                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
                   COUNTY OF LOS ANGELES-UNLIMITED JURISDICTION
10
11 DIANE K. GODFREY,                         ) CASENO.
                                             ) VERIFIED
                                                                    23STCV04785
12          Plaintiff,                       ) COMPLAINT FOR CIVIL RICO
                                             ) 18 USC §1964[c]; 18 USC §1347;
13    vs.                                    ) [HEALTH CARE FRAUD] 18
14                                           ) USC §1341 [MAIL FRAUD];
      REGENTS OF UNIVERSITY OF CALIFORNIA, ) 18 USC section 1209(e)(l); 2-3;
15    STANFORD HEALTH CARE, INC.,            ) [ACCESS DEVICE FRAUD]
      DOCTORS MEDICAL CENTER OF MODESTO, ) BRIBERY (18 USC section 1961);
16    INC., TENET CALIFORNIA INC., DIGNITY   ) MONEY LAUNDERING
17    HEALTH MEDICAL FOUNDATION, INC.,       ) (18 USC section 1956); BANK FRAUD
      PROVIDENCE MEDICAL FOUNDATION, INC. ) (18 USC section 1344; COPYRIGHT
 18   WALMART INC., MCNAUGHTON               ) INFRINGEMENT (17 USC section
      NEWSPAPERS, INC., ANIMAL LEGAL         ) 106(e); 506(a)(l)(A); USE OF
19    DEFENSE FUND, INC., LOS ANGELES TIMES, ) INTERSTATE COMMERCE FACILITIES
20    FEDERAL EXPRESS COMP ANY INC.,         ) IN THE COMMISSION OF MURDER
      THE UPS STORE, INC., LIVERMORE         ) FOR HIRE (18 USC section 1958(a)];
21    OPTOMETRY, INC., GAGNON VISION         ) FRAUD-SUPPRESSION OF FACT;
      MEDICAL GROUP, INC., DENTAL BOARD       ) BREACH OF WRITTEN CONTRACT;
22    OF CALIFORNIA, CALIFORNIA BOARD OF ) DECLARATORY RELIEF; BREACH
23    PHARMACY, CALIFORNIA BOARD OF          ) OF IMPLIED WARRANTY OF
      BARBERING AND COSMETOLOGY,              ) HABITABILITY; MAINTENANCE OF
24    CALIFORNIA BOARD OF OPTOMETRY,          ) NUISANCE; CONSPIRACY; WIRE
      MEDICAL BOARD OF CALIFORNIA,            ) FRAUD (18 USC §1343)
25    CALIFORNIA PHYSICIANS ASSISTANT         ) KIDNAPPING (18 USC §1201)
26    BOARD, RAY STONE INC., and DOES 1- 50,  ) THEFT FROM INTERS TA TE OR
                                              ) FOREIGN SHIPMENT BY CARRIER
27                     DEFENDANTS.            ) ( 18 USC section 659)
       _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-)JURY TRIAL REQUESTED
28
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 5 of 189 Page ID #:17




 1                                    PRFTJMTNARY ATJ.FGATTONS

 2
     1. Plaintiff is, and at all times herein mentioned was, a resident of the County of Sacramento,
 3
     California. Plaintiff is also an attorney at law, licensed to practice in the State of California, and
 4
     on active status, since December 3, 1984.
 5

 6   2. As alleged more fully infra, on information and belief, plaintiff is a victim of a satanic cult,

 7   formed and/or joined by movie and film actors Kevin Costner, Don Johnson, and Harrison Ford,
 8
     and other co-conspirators, as well as numerous elected officials who deliberately ignored
 9
     plaintiffs' letters reporting violent crimes, including, but not limited to, kidnapping, attempted
10
     murder, sexual battery, and animal torture causing death. As part of cult activities, defendants
11

12   and co-conspirators subjected plaintiff to repeated counts of kidnapping, during which she was

13   transported repeatedly while unconscious during extended periods of time, stabbed with needles,
14
     poisoned, subjected to sexual battery while unconscious, and her small pet animals tortured to
15
     death. Small animal torture, part of cult rituals, also consisted of animal sacrifice, rape,
16

17   brainwashing, and kidnapping of an innocent female victim. Plaintiff also became the victim of

18   an extensive and extended pattern of organized crime under the Racketeer Influenced and

19   Corrupt Organizations Act.
20
     3. Plaintiff alleges that employees of the Federal Bureau of Investigation formed a criminal
21
     conspiracy in or about the 1980's, and continuing to the present day, with open-ended continuity,
22
23   including past and/or current FBI employees, movie and film actors Kevin Costner, Don

24   Johnson, and Harrison Ford, to deprive plaintiff of her civil rights, including but not limited to,

25   rights set forth under the Victims Rights Acts in California and federal law, rights to services,
26
     including medical, dental, vision, veterinary, and other professional services, and rights accorded
27

28                                                       1
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 6 of 189 Page ID #:18




 1 to crime victims under state and federal law. and to commit violent crimes. includinP- r:me.
 2
     kidnapping, and repeated attempted murders. Since the formation of the conspiracy in the late
 3
     1980's, the original conspirators added numerous other co-conspirators, forming an ever-growing
 4
     conspiracy, which even included elected officials. The conspiracy involved the commission of
 5
 6 more and more crimes against plaintiff, already a crime victim when most offenses were

 7 ('J)mmitted. Each co-conspirator adopted as their own crimes committed by other co-
 8
     conspirators, within the ambit of the conspiracy. Each member of the conspiracy became liable
 9
     for all of the acts committed by others pursuant to the conspiracy, and in furtherance of the main
10
     purpose of the conspiracy, with open-ended continuity.
11

12   4. Plaintiff further alleges that movie and film actors Costner, Johnson, and Ford, in addition to

13   employment with the FBI, also were and/or are members of the U.S. Military. On information
14
     and belief, plaintiff alleges that these three, as well as Spencer Wright, also a former or current
15
     deputy sheriff in Sacramento County, are members of the United States Air Force.
16

17   5. On October 8, 2018, as part of nightly terror raids on plaintiff's apartment, plaintiff became the

18   victim of an attempted murder. Plaintiff later determined Spencer Wright committed this crime.

19 Although plaintiff reported the attempted murder to the Sacramento County Sheriff's Department

20
     and the FBI, no one investigated the case.
21
     6. On July 15, 2019, the County of Sacramento filed a "Petition for Workplace Violence" against
22
23   plaintiff. The petition, filed under case #34-2019-7006097, falsely claimed plaintiff had

24   "assaulted" Spencer Wright, on an unspecified date. The petition fails to include any details as to

25   how the alleged assault occurred, instead giving the purported location of the alleged assault as
26
     901 G Street, Sacramento CA 95814. This address is the location of the Sacramento County
27

28                                                     2
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 7 of 189 Page ID #:19




 1   District Attomev. C;rnmtv counsel T,is;:i Trnvis ;:incl Peter 7.il;:ifffilerl the netition withont :mv
 2
     supporting evidence, constituting the filing of false papers, a felony under California law.
 3
     7. On July 16, 2019, the court issued a Temporary Restraining Order against plaintiff herein. The
 4                                 '
     TRO was issued ex parte, without any supporting evidence, and no declarations accompanied the
 5

 6   petition. A judicial offi~er signed the TRO. The signature, difficult to decipher, seems to read

 7   "Shaim Roub." The TRO temporarily restrained plaintiff from any contact with Wright, and
 8
     included a long list of prohibited actions, listed on Judicial Council form WV-110, p. 2. The list
 9
     included an order requiring plaintiff to remain at least two hundred yards away from Wright.
10

11   Plaintiff is and was a self-employed attorney and never worked with Spencer Wright.

12   8. On information and belief, plaintiff understood Wright's workplace at the time as the

13   Sacramento County Sheriff's Department, not the District Attorney's. Beginning in July, 2018,
14
     and continuing for more than a year, Wright led a team of people who nightly terrorized plaintiff
15
     in her home, crimes repeatedly reported to the Sheriff's Department, Sacramento County District
16

17   Attorney Anne Marie Schubert, and the FBI. No one ever investigated. This pattern of violent

18   crime, occurring every night for more than a year, demonstrated an open-ended continuity of

19   criminal activity, with the threat of continuing crime, as further violent crimes were committed
20
     against plaintiff, infra, and which also involved other victims.
21
     9. At a hearing on September 13, 2019, no one appeared to testify on behalf of the County.
22
23   Wright did not appear, nor did he ever file a declaration in support of the petition. At the hearing,

24   the court denied the petition for permanent restraining order. The petition and all of the

25
     documents filed with the court as part of the petition came about as the result of extensive bribery
26
     of judicial officers, and the county counsel who filed the petition. On information and belief,
27

28                                                        3
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 8 of 189 Page ID #:20




 1 olaintiff alle2:es that Costner. Ford. and Johnson naid these bribes.
 2
     10. On August 26, 2019, plaintiff reported the federal crimes of computer hacking to Christopher
 3
     Wray, FBI Director; MacGregor Scott, then U.S. Attorney, Eastern District, Sacramento; and
 4
     Sean Ragan, FBI Roseville, CA. None of these officials ever responded to plaintiff's letter. Since
 5
 6   reporting these crimes, plaintiff has discovered that actors Ford, Costner, and Johnson

 7   [hereinafter, sometimes referred to as "the actors"] committed the computer hacking crimes.
 8
     These events and other crimes convinced plaintiff that Johnson, Ford, and Costner are and/or
 9
     were, FBI agents.
10

11   11. In 1990 and 1991, plaintiff became a victim of a series of crimes committed by other

12   attorneys. These attorneys used plaintiff's name to prosecute a civil case, without her knowledge

13   and consent, committing a series of state and federal crimes, including a) felony insurance fraud,
14
     in violation of California Penal Code §550(a)(l); [formerly CA Penal Code §549]: b) forgery, in
15
     violation of CA Penal Code §4 70( a); c) procuring or offering false or forged instrument in
16

17   violation of California Penal Code § l 15(a); d) preparing false documentary evidence, in

18   violation of California Penal Code § 134; e) possession of forged items with intent to defraud; in

19   violation of California Penal Code §4 75(a) f) perjury, in violation of California Penal Code § 118;
20
     g) Grand theft, in violation of California Penal Code §487; h) Violations of Racketeer Influenced
21
     and Corrupt Organizations Act (RICO) (USCA § 1961, et seq.); i) Federal mail fraud (USCA
22
23   § 1341 ); j) Federal wire fraud (USCA § 1342); k) Receipt of stolen property; (California Penal

24   Code §496); i) Conspiracy to commit all or some of the above crimes, in violation of CA Penal
25
     Code §182, and 18 USC §371;) aiding and abetting all or some of the above crimes, in violation
26
     of CA Penal Code §31; 18 USC §2(a).
27

28                                                    4
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 9 of 189 Page ID #:21




 1   12. After ve:=irs ofinvestio-:=ition nl:=iintiffrenorterl the-:P r.rimf'-: to A-:-:i-:t1-1nt TT~ AttnrnPv   r   RPn

 2
     Burch in Oakland, California, on January 25, 2005. "The actors" and others employed by the
 3
     FBI decided to conduct an investigation of these white collar crimes. Although the case was
 4
     allegedly investigated, none of the victims, including plaintiff, were ever contacted, by federal
 5
 6   law enforcement, including, but not limited to, FBI agents, or U.S. Attorneys, or anyone else

 7   purportedly investigating the case. Those purportedly investigating never reported the case to the
 8
     California State Bar, or District Attorneys, even though crimes were committed within their
 9
     jurisdiction.
10
     13. Over time, plaintiff realized the "investigation" amounted to a fraud, designed to ruin
11

12   plaintiffs legal career, by spreading malicious gossip throughout the legal community in

13   California, and beyond, and by deliberately failing and refusing to prosecute the guilty. On
14
     information and belief, plaintiff alleges that thousands of attorneys in California have heard this
15
     gossip, with a current understanding that although the white collar crimes committed in 1990 and
16

17   1991 may have been investigated, no one was ever prosecuted.

18   14. In or about 2010, plaintiff learned that other victims of these white collar crimes, committed

19   in 1990 and 1991, included two insurance companies, Farmers Insurance, and Chubb Insurance
20
     Company. The name of the other individual victim is withheld herein, but the two insurance
21
     companies carried insurance policies on this individual victim. On information and belief, in or
22
23   about 1990 and 1991, this other individual victim tendered his defense to Chubb ~nsurance

24   Company, that carried an "umbrella" policy. Chubb Insurance house counsel, known as the Law

25   Firm of Baraban & Teske, in Pasadena, California, are believed to have defended this other
26
     victim under this umbrella policy.
27
28                                                           5
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 10 of 189 Page ID
                                       #:22




 1

 2
       also mailed letters to him in 2022; these letters are believed stolen. In the interim, plaintiff
 3
       remained a victim of ongoing federal racketeering crimes.
 4
       16. On August 30, 2019, through September 3, 2019, actors Costner, Ford, and Johnson, together
 5

 6     with Sacramento County Deputy Sheriff Spencer Wright, and numerous other co-conspirators,

 7     committed the violent crimes of kidnapping, sexual battery, and animal torture and cruelty
 8
       causing death of the animals (collectively, "the kidnapping crimes.") On information and belief,
 9
       plaintiff also alleges she became a victim of rape, as an unconscious victim. These violent
10

11
       crimes followed those committed beginning in July, 2018, and continuing into August, 2019.

12     These co-conspirators committed numerous crimes, including but not limited to the following:

13     Violation of California Vehicle Code section 487 (grand theft auto);
14     Tampering with a vehicle (Vehicle Code section 10852);
       Prohibited interception of wire, oral, or electronic transmissions prohibited.( 18 USC section
15     2511)
       Felony animal cruelty under California Penal Code section 597(a), (6), (f)
16     Violations of Racketeer Influenced and Corrupt Organizations Act (RICO) (USCA § 1961, et
17     seq.);
       Sexual battery, in violation of California Penal Code section 243 .4( a)
18     Rape, in violation of California Penal Code section 26l(a)(4)(A) [unconscious victim at time of
       act].·
19     Federal mail fraud (USCA § 1341);
20     Federal wire fraud (USCA § 1342);
       Receipt of stolen property; (California Penal Code §496;)
21     Theft of animals (California Penal Code §487f(a), (6)(1)
       Conspiracy to commit all or some of the above crimes, in violation of CA Penal Code § 182, and
22     18 USC §371;
23     Aiding and abetting all or some of the above crimes, in violation of CA Penal Code §31; 18
       USC §2(a).
24     Attempted murder, in violation of California Penal Code §664/187;
       Conspiracy to commit murder, in violation of 18 USC 1117 and California Penal Code § 182;
25     Conspiracy against rights, in violation of 18 USC §241;
26     Kidnapping, in violation of 18 USC §1201(a)(l) and California Penal Code §§207, 208, and 209.
       Violation of California Welfare & Institutions Code §5150, in its entirety;
27

28                                                        6
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 11 of 189 Page ID
                                       #:23




      Additional federal crimes committed against me by federal agents include the following:
 2
      Criminal copyright infringement, in violation of 18 USC §2319; and 18 USC §506;
 3    18 USC §373 [solicitation to commit a crime of violence];
      Racketeering activity, consisting of kidnapping and attempted murder, in violation of 18 USC
 4    § 1961 (1 ); racketeering activity, in violation of 18 USC section § 1961, consisting of
      [a] retaliation against a victim, in violation of 18 USC § 1513;
 5
      [b] criminal copyright infringement, in violation of 17 USC§ 506(a)(l)(A), (B), and [C];
 6    Money laundering, in violation of 18 USC section 1956;
      Bank fraud, in violation of 18 USC section 1344;
 7    False imprisonment, in violation of Penal Code section 236.
 8
      As set forth in these statutes, all of plaintiffs rights as a victim were violated:
 9    California Constitution, Article I, §28(b); Violation of Victims' Rights Acts;
      18 USC §3771 (Crime Victims' Rights);
10    Victims' Rights and Restitution Act 42 USC §10607[c];
11    34 USC §2141 (services to victims).

12     17. Beginning in March, 2020, plaintiff repeatedly reported these crimes to numerous elected

13     officials, including, but not limited to: a) March 7, 2020: then U.S. Attorney General William
14
       Barr; b) March 7, 2020, Birgit Fladager, D.A., Stanislaus County; c] January 19, 2021, President
15
       Joseph Biden, with copies to V.P. Kamala Harris, Senate Minority Leader Mitch McConnell,
16
17     Chief of Staff Ron Klain, and Speaker of the House Nancy Pelosi. Under a separate cover,

18     Plaintiff sent a copy of her letter of January 19, 2021 directed to President Biden to Scott Pelley

19     of CBS News, and the Anderson Cooper of CNN. Plaintiff believes these two copies of letters
20
       were stolen.
21
       18. Plaintiffs other letters reporting the crimes included: d) February 8, 2021, Lieutenant
22

23     Governor Eleni Kounlakis, reporting kidnapping and other crimes; e) February 11, 2021,

24     Governor Gavin Newsom, reporting crimes; f) April 19, 2021, President Joseph Biden, with
25     copies to V.P. Kamala Harris, Chief of Staff Ron Klain, Attorney General Merritt Garland, and
26
       Anderson Cooper of CNN.
27
28                                                        7
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 12 of 189 Page ID
                                   #:24




 1   19 Plnintiff nlso renorteci the crimes to the followimr m-lciitionnl electeci officinls:   p-)   June 17.

 2
     2021, Kimberly Lewis, D.A., Merced County; h) 3-7-2022, Rob Bonta, California Attorney
 3
     General; h) 3-14-2022, Vernon Warnke, Sheriff, Merced County, with copies to Chief Brandon
 4
     Gillespie, Modesto Police Department; Rob Bonta, California Attorney General, and Merritt
 5
 6 Garland, U.S. Attorney General; I) 4-11-2022 to Scott Jones, Sheriff, Sacramento County, with

 7 copies to Anne Marie Schubert, D.A., Sacramento County; Rob Bonta, California Attorney
 8
     General j)Buck Condit, Stanislaus County Board of Supervisors, Rodrigo Espinosa, Merced
 9
     County Board of Supervisors, and Rich Drummond, Sacramento County Board of Supervisors,
10
     dated 10-17-2022, with hand-delivered documents to Espinosa and Condit on November 14,
11
12 2022. None of these elected officials ever answered plaintiff's letters.

13   20. On or about Septemberl0, 2020, at 6:00 a.m. Don Johnson entered plaintiff's bedroom via
14
     live transmission, facilitated by special equipment placed on the roof of plaintiff's apartment
15
     building. The live transmission showed Johnson loosely bound to a desk, smirking at plaintiff.
16

17 After approximately 60 seconds, Johnson disappeared, and was immediately replaced by a film
18 transmission featuring Kevin Costner, sticking his tongue out at plaintiff, and gagging. This

19 intrusion was one of many made by Costner over a two-year period, including a live transmission

20
     featuring Costner at a barbecue, at 2:30 a.m. on a later date. The two actors flaunted the fact that
21
     although plaintiff had reported the crimes to U.S. Attorney General William Barr and Stanislaus
22

23   County California District Attorney Birgit Fladager, no arrests had been made.

24 21. The September 10, 2020 intrusion also constituted a burglary, elder abuse, and trespassing
25   under California law. The two men mocked plaintiff's attempts to report the crimes, at that time
26
     limited to Barr and Fladager, neither of whom ever answered plaintiff's letters. Their conduct
27

28                                                       8
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 13 of 189 Page ID
                                       #:25




 2
       investigated or prosecuted.
 3
       22. On January 4, 2021, plaintiff reported the Costner-Johnson September 10, 2020 crimes to
 4

 5 Scott Pelley of CBS News, via Priority Mail with tracking. Plaintiff had also written to Pelley on
 6     several prior occasions, beginning on March 6, 2020. On information and belief, plaintiff alleges

 7    that this letter, together with others to CBS news, became the subjects of federal mail theft, and
 8
      plaintiff has never heard from either Pelley or anyone else with CBS. These thefts are part of a
 9
      pattern of ongoing federal mail theft, demonstrating an open-ended continuity of these crimes,
10

11    with the ongoing threats of continued criminal activity.

12    23. Costner has made a number of other physical intrusions into plaintiff's apartment, using

13     special technology to create live transmissions. One such transmission showed Costner
14
      barbecuing at 2:30 a.m.; another included a film clip from "For Love of the Game", a Universal
15
      production. On information and belief, plaintiff alleges that Deputy Sheriff Spencer Wright
16

17    facilitated these intrusions using special equipment placed on the roof of plaintiffs building.

18     Wright may also have been employed by the FBI, and a member of the U.S. Air Force.

19    24. In July, 2022, plaintiff traveled to Washington, D.C., in an attempt to make contact with
20
      President Bi den. Through e-mail inquiry, plaintiff learned the name of the Catholic church Bi den
21
       attended. Plaintiff went to this church and spoke to a priest there, showing him documents
22
23     demonstrating ongoing criminal activity and her attempts to report the crimes to the U.S.

24     military. Plaintiff never heard from this priest, and on information and belief, alleges the priest

25
       spoke to Biden, who invoked the priest-penitent privilege regarding these crimes. The Biden
26
       administration has never answered plaintiff's, sent to different members of the administration
27

28                                                       9
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 14 of 189 Page ID
                                       #:26




 1     ovPr   ~   nPriorl oftimP

 2
       25. On October 27, 2022, plaintiff hand-delivered a large file folder of documents to then
 3
      Republican Candidate for California Governor , California Senator Brian Dahle. Dahle at that
 4
      time was scheduled for an interview with "Cal Matters", in downtown Sacramento, information
 5

 6    plaintiff learned as a member of the Sacramento Press Club. Plaintiff spoke briefly to Dahle as he

 7    entered the building. Plaintiff handed the file folder to Dahle. The file folder contained two
 8
      letters to Dahle, one dated October 22, 2022 and the other dated October 27, 2022. The lengthy
 9
      and detailed letters discussed the case in detail, and the file folder included extensive documents.
10

11    26. Among other requests, plaintiff asked Dahle to contact the U.S. Military or the Secret

12    Service, since plaintiff had already attempted these contacts many times without success. As of

13    the filing of this complaint, plaintiff has never heard from Dahle, and the documents she hand-
14
      delivered to him have never been returned. The letters focused heavily on Kevin Costner as
15
      plaintiff's number one suspect of federal mail theft and other crimes. Dahle has done nothing to
16

17    report these crimes, committed against numerous victims, constituting an open-ended continuity,

18    with threats of continuing crimes, as set forth in detail in the letters plaintiff handed to him.

19    27. Because none of the elected or government officials took any action to investigate the crimes,
20
      or charge, arrest, or incarcerate "the actors", these co-conspirators, along with others, have
21
       committed numerous and ongoing state and federal crimes. The extensive pattern of an open-
22

23    ended continuity of crime and threats of continuing criminal activity have generated this

24     litigation. Elected officials have conspired to ignored plaintiff's letters, written over a three- year
25
      period of time, reporting the crimes committed by cult members committed against plaintiff over
26
       decades. The crimes were ignored, and never either investigated, or prosecuted. Any reports
27

28                                                        10
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 15 of 189 Page ID
                                       #:27




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 2
       28. Plaintiff also mailed numerous other letters, attempting to report the crimes, and asking for
 3
       help in initiating criminal prosecution. On April 24, 2021, plaintiff wrote to Randall Eliason, an
 4
       expert in white collar crime and a professor at George Washington University in Washington
 5

 6     D. C. Plaintiff also sent a copy of this letter to Anderson Cooper of CNN. Neither ever responded;

 7     plaintiff believes USPS employees stole these letters. At a later time, plaintiff attempted follow-
 8
       up with Eliason via an elaborate set of e-mails sent to George Washington University, all of
 9
       which became the subject of computer hacking.
10
       29. On October 5, 2021, plaintiff also wrote to Todd Spitzer, Orange County District Attorney,
11

12     and former Los Angeles County District Attorneys Marcia Clark and Christopher Darden; on

13     October 27, 2022 to Congressman Alan Lowenthal, and approximately forty-four (44) other U.S.
14
       Congress representatives, all from California; on October 30, 2021 to Jim Costa and other
15
       congresspersons. Pla_intiff received only one response to all of these letters, an e-mail from Ami
16

17     Bera, M.D., which plaintiff believes was a forgery. On information and belief, plaintiff alleges

18     employees of the US Postal Service stole all of these letters.

19     30. On June 14, 2022, plaintiff hand-delivered correspondence, together with numerous other
20
       letters, to the Congressional office of U.S. Congressman Lou Correa, 2323 N. Broadway, Suite
21
       319, Santa Ana CA 92706. (Plaintiff had previously attempted to reach Correa as one of the U.S.
22
23     Congressional Representatives she wrote to on October 2 7, 2021 .) Plaintiff handed the sealed

24     documents to his secretary, who stated she would scan and e-mail the papers to Correa in

25     Washington, D.C. Correa's secretary, name unknown, accepted a bribe or bribes not to transmit
26
       the documents to Correa, and agreed to mail the documents to the briber instead. On information
27

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 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 16 of 189 Page ID
                                   #:28




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 2
     Plaintiff has never heard from Congressman Correa.
 3
     31. Plaintiff also wrote to the following, on the listed dates: David Pevier, Securities & Exchange
 4
     Commission: December 29, 2021, expressing concerns about Tenet Health Care and
 5

 6   WALMART; January 12, 2022: Jo Ann Jenkins, AARP; January 12, 2022 Asa Hutchison,

 7   National Governors Association; plaintiff never heard from any of these people and believes all
 8
     of these letters became the subjects of federal mail theft.
 9
     LETTERS TO MILITARY OFFICIALS AND THE PENTAGON:
10
     32. Beginning in February 19, 2021, plaintiff wrote to the following military officials within the
11

12   Pentagon, and at Travis Air Force Base, California: General James McConville, U.S. Army,

13   February 19, 2021, with copy to President Joseph Biden; Letter dated April 19, 2021 to General
14
     James McConville, U.S. Army, Pentagon; Letter to Frank Kendall, Secretary of the Air Force,
15
     Pentagon, dated 12-20-2021; Letter of December 20, 2021 to General David Berger, U.S. Marine
16
     Corps., Pentagon; Letter of December 20, 2021 to Carlos Del Toro, Secretary of the Navy,
17

18   Pentagon; Letter of December 20, 2021 to Secretary Frank Kendall, U.S. Air Force, Pentagon

19   Letter dated 6-16-2022 to Col. Corey A. Simmons, Travis AFB. Plaintiff received no responses
20
     to any of these letters, believed to have become the subjects of federal mail theft.
21
     33. On the morning of June 15, 2022, plaintiff at!empted to hand deliver letters to Frank Kendall,
22
23   Secretary of the U.S. Air Force, and Carlos del Toro, Secretary of the U.S. Navy, at local

24   recruiting stations at 3291 Truxel Rd. in Sacramento. Recruiting officers at both locations

25   refused to take the letters from plaintiff, who asked them to send the letters to the Pentagon. On
26
     information and belief, these military personnel may have accepted bribes from actor Kevin
27

28                                                     12
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 17 of 189 Page ID
                                       #:29




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 2
       Corey Simmons at Travis AFB. All five copies of the letters were stolen, probably at the USPS
 3
       location at Travis, and plaintiff never reached Col. Simmons.
 4
       34. On October 30, 2022, plaintiff sent a certified letter to U.S. Secretary of Defense Lloyd
 5

 6     Austin at the Pentagon. The USPS website indicated plaintiff's letter "had been picked up", and a

 7     returned mail receipt sent back to plaintiff was initialed. Plaintiff has never heard from the
 8
       Department of Defense, or anyone else with the U.S. Military. On information and belief,
 9
       plaintiff alleges that employees of the USPS branch nearest her home accepted a bribe or series
10
       of bribes to divert and steal this mail piece, along with many others, returning these mail pieces to
11

12     the briber, believed to be Kevin Costner, instead. In addition, plaintiff believes the return mail

13     receipt, allegedly from the Department of Defense, may have been forged by USPS employee.
14
       On November 2, 2022, plaintiff wrote to the U.S. Postal Inspection Service in San Francisco,
15
       regarding the theft of the Pentagon mail. This letter, to the U.S. Postal Inspection Service, also
16

17     became the subject of federal mail theft, again showing a open-ended continuity of criminal

18     activity, with an ongoing threat of continued crime.

19     LETTERS AND E-MAILS TO JOURNALISTS:
20
       35. Beginning in March, 2020, plaintiff also reported the crimes to journalists, including the
21
       following letters, sent on the following dates: March 6, 2020 to Scott Pelley, CBS News;
22
23     March 9, 2020 to Scott Pelley, CBS News; Susan Zirinsky, CBS News, September 10, 2020;

24     Crista D'Aliamonte, Viacom/CBS, November 5, 2020; January 4, 2021, Scott Pelley, CBS News,

25     reporting crimes committed by actors Don Johnson and Kevin Costner; January 18, 2021, Scott
26
       Pelley, CBS News; May 19, 2021, Scott Lebar, Sacramento Bee; June 19, 2021 to Scott Lebar,
27

28                                                       13
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 18 of 189 Page ID
                                   #:30




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 2
     News; 3-3-2022 to Scott Lehar of Sacramento Bee; June 3, 2021, Scott Lehar, Sacramento Bee;
 3
     3-21-2022, Executive Editor, Sacramento Bee; 4-16-2022, Scott Pelley; April 17, 2022, Miles
 4
     O'Brien; 5-9-2022, Scott Pelley; July 2, 2022, Sacramento Bee; 11-14-2022, Jeanne Meserve,
 5
 6   former CNN anchor. Plaintiff believes employees of the USPS stole all of these letters.

 7   36. On March 4, 2021, plaintiff sent e-mails to the following journalists: a) Scott Kraft and Chris
 8
     Argentieri, Los Angeles Times; b) Cameron Barr, Washington Post; c) Katie Dowd, San
 9
     Francisco Chronicle. Plaintiff received no responses and believes all e-mails were hacked.
10
     37. On or about March 3, 2022, plaintiff contacted reporter Robert Salonga, with Bay Area
11

12   News/Mercury news, via telephone. Plaintiff explained she had a large story involving

13   corruption in both the Gavin Newsom and Joe Biden Administrations. Salonga stated he would
14
     not be handling the story, but referred plaintiff to Editor Mike Frankel. Plaintiff sent e-mails to
15
     Frankel, which were never answered. On information and belief, plaintiff alleges Frankel may
16

17   have accepted bribes, not to pursue the story, part of a series of individuals who accepted bribes,

18   demonstrating an open-ended continuity of crime, and the threat of continuing criminal activity.

19   LETTERS TO POLICE DEPARTMENTS:
20
     38. December 11, 2021, Chief Brandon Gillespie, Modesto Police Department; Vernon Warnke,
21
     Sheriff, Merced County, 3-14-2022. Plaintiff received no response to either of these letters. On
22

23   Friday, March 11, 2022, Plaintiff made personal visits to these departments, but was unable to

24   talk to anyone who would take a report. One deputy sheriff at the Merced Sheriffs Department

25   refused to do so.
26

27

28                                                     14
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 19 of 189 Page ID
                                       #:31




 1     LETTERS TO FORMER PRESIDENTS AND SECRETARY OF STATE HILLARY
 2
       CLINTON, AND CHESLEY ("SULLY") SULLENBERGER:
 3
       39. Beginning in June, 2020, plaintiff wrote the following letters to former presidents, reporting
 4
       the crimes: June 26, 2020 to Former President Barach Obama; September 10, 2020, Former
 5

 6     President Barach Obama; August 20, 2021, Former President Bill Clinton; Former U.S. President

 7     Bill Clinton, 10-1-2022; Former President Barach Obama, dated 10-4-2022; Former President
 8
       Barach Obama, dated 10-6-2022. All of these letters were stolen. Plaintiff also wrote to Former
 9
       Secretary of State Hillary Clinton, mailed via Priority Mail on February 17, 2022. The theft of
10
       these letters constitute open-ended criminal activity, with ongoing threats of continued such
11

12     activity.

13     40. On August 4, 2021, plaintiff sent a letter to Chesley Sullenberger, c/o his publisher, Harper
14
       Collins, in New York. Plaintiff received no response; this letter also became the subject of
15
       federal mail theft. Sullenberger, discussed below, can confirm the presence of at least Don
16
       Johnson and Harrison Ford in a hospital in Modesto, where Ford, Johnson and Costner held
17

18     plaintiff as a kidp.ap victim. Sullenberger himself played no part in the kidnapping.

19     LETTERS TO ENTERTAINMENT COMMUNITY:
20
       41. On August 26, 2019, plaintiff sent a letter to Dick Cavett, c/o his publisher, Henry Holt Co.
21
       Plaintiff received no response, and believes USPS employees stole that letter. Plaintiff tried again
22
23     to reach Cavett on April 16, 2022; USPS returned this letter as a bad address. At a later time,

24     plaintiff checked the Henry Holt address and found it had changed. On November 14, 2022,

25     plaintiff sent another letter to Cavett c/o his publisher, Henry Holt, and received no reply.
26
       Plaintiff sent the November 14, 2022 letter, along with four others, from the Modesto, California
27

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     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 20 of 189 Page ID
                                       #:32




 1     nost office discussed infra. and annarentlv stolen from that nost office.
 2
       42. On September 3, 2021, plaintiff wrote to Reed Hastings, CEO ofNetflix, Lesley Freeman of
 3
       MGM, and Jeff Shell, CEO of NBC/ Universal, reporting copyright infringement crimes
 4
       committed during the course of the kidnapping. USPS personnel also stole these letters. On July
 5
 6     25, 2022, in the early afternoon, plaintiff made a personal visit to Netflix in Los Gatos,

 7     California, with the intention of hand-delivering a letter to CEO Reed Hastings. Plaintiff told the
 8
       employees she wanted to report hacking of the Netflix website, through hacking of plaintiff's
 9
       computer. The firewall of plaintiff's computer had been breached. Employees informed plaintiff
10
       Hastings was not in, and "rarely there." Plaintiff sent the letter to Hastings via certified mail, and
11

12     never received a response. Again, plaintiff believes the USPS stole this letter, never received by

13     Hastings.
14
       43. Beginning on or about January 15, 2022, plaintiff wrote a series of letters to the following: 1)
15
       David Rubin, President Academy of Motion Pictures Arts and Sciences; 2) Fran Drescher,
16

17     President, SAG/AFTRA; and 3) Ron Howard, 2 nd V.P., Directors' Guild of America, attempting

18     to report the violent crimes committed by Academy members Johnson, Ford, and Costner.

19     Plaintiff received no response to any of these letters; stolen by USPS employees.
20
       44. On March 7, 2022, plaintiff attempted to mail a series of letters to various police
21
       departments, reporting stolen mail, as follows: a) Sal Becerra, Captain, LA County Sheriff's
22
23     Department, 27050 Agoura Rd., Calabasas CA 91302 (regarding letters of 10-5-2021 and 12-4-

24     2021 to Marcia Clark; b) Mark Stainbrook, Chief of Police, Beverly Hills Police Department,

25     regarding letter of 1-15-2022 to David Rubin of the Academy of Motion Picture Arts and
26
       Sciences; and letter of 9-3-2021 to Lesley Freeman, MGM; c) Michael Parish, Cotati Police
27

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     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 21 of 189 Page ID
                                       #:33




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 2
       Chief of Police, LAPD, regarding letters of January 15, 2022 to David Rubin, Academy of
 3
       Motion Picture Arts and Sciences, Fran Drescher, SAG/AFTRA, and Ron Howard, DGA; e)
 4
       Michael Moore, Chief of Police, LAPD, regarding letters of October 5, 2021, and December 4,
 5

 6     2021, addressed to Christopher Darden; :f) Jamie Fields, Chief of Police, Los Gatos Police

 7     Department, regarding letter of 9-3-2021 to Reed Hastings, CEO, Netflix; g) Larry Boone, Chief
 8
       of Police, Norfolk, VA Police Department, regarding letter of2-5-2021 to Ingrid Newkirk,
 9
       President of PETA; h) letter to Robert Jonsen, Chief of Police, regarding letter of 5-21-2021 to
10
       David Entwhistle, CEO, Stanford University Medical Center; i) Robert Contee, Chief of Police,
11

12     Metropolitan Police Department, Washington, D.C., regarding letters of 6-26-2020 and 9-10-

13     2020 to Barach Obama; and letter of January 12, 2022 to Jo Ann Jenkins of AARP, and Asa
14
       Hutchison, National Governor's Association; j) letter to William Scott, Chief of Police, San
15
       Francisco Police Department, regarding letters of 5-25-2021 to Joshua Adler, M.D., of UCSF,
16

17     and 8-18-2021 to Mark Laret, M.D., ofUCSF. Plaintiff received no responses to any of these

18     letters, which themselves became the subjects of federal mail theft. An extensive pattern of

19     federal mail theft has demonstrated open-ended continuity of crime, and the ongoing threat of
20
       continuing criminal activity.
21
       45. On July 27, 2022, plaintiff sent a letter via e-mail to Attorney Tamar Buchakjian, Academy
22
23     of Motion Pictures Arts and Sciences. Plaintiff never received a response; her e-mail was hacked,

24     and the letter stolen.

25     46. Plaintiff also attempted contact via U.S. mail with a number of talent agents, including the
26
       following: a) 11-20-2019: Harrison Ford's agents: Mr. Darren Boghosian, Jim Berkus, Tracey
27

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 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 22 of 189 Page ID
                                   #:34




 1   .facohs.   ::it   TJnited Tnlent A1Jencv. 9'.B6 Civic Center Drive. Beverlv Hills CA 90210: b) Mav 10,
 2
     2020: Mr. Robert Redford (3 different letters sent to three addresses), including Sundance
 3
     Institute, Park City UT 84068; c) August 11, 2021 :Jane Fonda, c/o Mr. Ben Day Creative Artists
 4
     Agency, 2000 Avenue of the Stars, Los Angeles CA 90067; d) 8-12-2021: Martin Sheen, Estevez
 5

 6   Sheen Productions 99 S. Raymond Avenue, Suite 601, Pasadena CA 91105; e) Jeff Bridges, c/o

 7   David Schiff; MGMT Entertainment, 9220 Sunset Blvd. Suite 106, West Hollywood CA 90069;
 8
     f) Beau Bridges c/o Mr. Fred Specktor, Creative Artists Agency, 2000 Avenue of the Stars, Los
 9
     Angeles CA 90067; g) August 13, 2021: Mr. Clint Eastwood Malpaso Entertainment, 4000
10
     Warner Blvd., Bldg. 81, Suite 100 Burbank CA 91522-0811; h) Mr. Tom Hanks, Playtone, PO
11

12   Box 7340, Santa Monica CA 90406; i) August 13, 2021: Mr. Andy Garcia, CineSon

13   Entertainment, 4519 Varna A venue, Sherman Oaks CA 91423; Michael Douglas, Producer,
14
     Further Films, 62 W. 45 th St. Suite 901, New York NY 10036;j) August 14, 2021: Mr. Jim
15
     Carrey, JC 23 Entertainment, 11812 San Vicente Blvd. , Los Angeles C.A 90049; Dan Ackroyd,
16

17   c/o Mr. Fred Specktor, c/o Creative Artists Agency, 2000 Avenue of the Stars, Los Angeles CA

18   90067; Martin Short, c/o Mr. Marc Gurvitz, Brillstein Entertainment Partners, 9150 Wilshire

19   Blvd., Suite 350, Beverly Hills CA 90210; Steve Martin, c/o Mr. Danny Greenberg, William
20
     Morris Endeavor, 9601 Wilshire Blvd., 8th fl. Beverly Hills CA 9021 O; k) August 16, 2021:
21
     William Shatner, c/o Mr. Harry Gold Talent Works, 3500 W. Olive Blvd., Burbank CA 91505;
22
23   John Goodman, c/o Mr. Bob Gersh, The Gersh Agency, 9465 Wilshire Blvd. 6 th fl., Beverly

24   Hills CA 90212; Kurt Russell, c/o Mr. Darren Boghosian, Representative, United Talent

25   Agency, 9336 Civic Center Drive, Beverly Hills CA 90210; Nick Nolte, c/o Franklin Latt, CAA,
26
     2000 Avenue of the Stars, Los Angeles, CA 90067; 1) August 18, 2021: Ms. Barbra Streisand,
27

28                                                         18
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 23 of 189 Page ID
                                   #:35




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 2
     4 7. Plaintiff received no response to any of these letters, and believes USPS employees accepted
 3
     bribes to steal these letters, committing federal mail theft, and sent them to Costner instead. The
 4
     extensive federal mail theft, and other crimes, were intended to conceal the true identities of
 5
 6   these actors as satanic cult members, and as persons guilty of extended federal racketeering as

 7   well as a series of state and federal felonies. The extensive federal mail fraud, sending the letters
 8
     to Costner instead of to their intended addressees, shows continuing, open-ended criminal
 9
     activity and continuity, with the threat of continuing criminal activity.
10
     48. On October 17, 2022, plaintiff wrote to Joe Concha of WOR Tonight, New York. Plaintiff
11

12   received no response, and believes USPS employees stole this letter.

13   49. On or about November 7, 2022, plaintiff traveled from Sacramento to Los Angeles, and
14
     Beverly Bills, California, to hand-deliver letters of that date to the Academy (
15
     David Rubin), SAG/AFTRA (Fran Drescher), and the DGA (Ron Howard). At SAG, a security
16

17   guard directed plaintiff to a desk behind glass doors, to the left of the entry; she handed the

18   envelope to an employee. At the DGA, plaintiff entered the building and was directed to a

19   security guard sitting at a desk in the middle of the room. He sent her to the mail room in the
20
     basement, where she spoke with a Mexican employee, who informed her he could not send Ron
21
     Howard mail to his home. Plaintiff assured him the envelope concerned DGA business. At the
22
23   Academy, plaintiff spoke with a man who stepped out of a locked building. A number of people

24   sat behind a long desk within the building. The man with whom plaintiff spoke placed her

25   envelope on a table, stating someone would pick it up later. In each instance, plaintiff handed her
26
     letters in sealed manila envelopes to employees of those businesses. As of the filing of this
27

28                                                     19
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 24 of 189 Page ID
                                   #:36




 1   litigation, plaintiff has received no response from any of the intended recipients or businesses.
 2
     Consistent with a pattern of federal mail theft, these individuals accepted bribes, and stole the
 3
     letters, in lieu of actually delivering the correspondence to their employers. In so doing, they
 4
     committed commercial bribery under California law. Plaintiff believes they mailed the letters to
 5

 6   Costner instead of delivering them to their employers. This also demonstrated an open-ended

 7   continuity of continued criminal activity.
 8
     50. Plaintiff alleges that each of the employees who took these manila envelopes from her
 9
     accepted a bribe or bribes from co-conspirators Johnson, Ford and/or Costner, so that knowledge
10

11   of their satanic cult activities and violent crimes would remain hidden from the Academy,

12   SAG/AFTRA, and or the Directors Guild of America. As of the filing of this litigation, plaintiff

13   has never received a response from any of these businesses. Plaintiff further alleges that each of
14
     these employees sent the documents to Costner, using the U.S. mail to do so. On November 8,
15
     2022, plaintiff also attempted an e-mail follow-up with Ron Howard at Imagine Entertainment.
16

17   She received no response, and believes this e-mail was hacked.

18   51. In late 2022, Plaintiff also mailed a series of other letters to Fran Drescher, SAG/AFTRA.

19   David Rubin, Academy of Motion Picture Arts and Sciences, and the DGA, and never received
20
     responses. All these letters became additional subjects of federal mail theft.
21
     52. On November 14, 2022, plaintiff once again attempted to reach Ron Howard, this time
22
23   through Imagine Entertainment. Plaintiff took a manila envelope addressed to Ron Howard at

24   Imagine to the Modesto Post Office, Kearny Street, Modesto, along with several other letters,

25                                                                                    "
     including letters to Jeffrey Baraban and Jeanne Meserve. The USPS returned the Ron Howard
26
     letter to plaintiff, crossed out the postage, and covered the address to Howard. Plaintiff retains
27

28                                                    20
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 25 of 189 Page ID
                                       #:37




 1

 2
       Instead of returning the letter to Costner, a pattern plaintiff believes has existed for some time,
 3
       the USPS at that branch sent the Ron Howard letter back to plaintiff. Plaintiff has made no
 4
       further efforts to send these letters.
 5

 6     53. Plaintiff has made several attempts to report postal theft within the USPS, without success.

 7     These letters also became subjects of postal theft. These include correspondence to Louis Deloy,
 8
       Postmaster General of the U.S., and Criminal Investigation Service Center, Attention: Mail
 9
       Fraud; sent via regular mail on 10-1-2022, and a letter to the San Francisco Office of the
10
       Inspector General.
11

12     54. Plaintiff also attempted to send several letters to foreign addressees, including Amal Clooney

13     in London; the London Police, on March 3, 2022; Liz Truss, then UK Prime Minister, and; Andy
14
       Yen, CEO of Proton, in Switzerland; on October 3, 2022, and Philippa Webb, in London, on 10-
15
       7-2022. Plaintiff sent all letters from the "Town and Country" post office listed below, and stolen
16

17     from that post office.

18     55. Plaintiff cannot use the USPS, because every letter concerning these crimes has been stolen.

19     The postal thefts started in August, 2019, and have continued until the recent past, showing
20
       open-ended continuity of criminal activity, with the ongoing threat of additional crime. Plaintiff
21
       has visited at least nine (9) different Northern California post offices, with the same results. At
22
23     least two hundred letters, sent over a three-year period of time, became repeated subjects of

24     federal mail theft. In many instances, plaintiff used certified and priority mail with tracking, and

25     retains records of these mailings, with information as to tracking numbers and postal clerk
26
       numbers. Plaintiff visited the following postal locations, with most letters stolen from the "Town
27

28                                                    · 21
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 26 of 189 Page ID
                                  #:38


 1 and Country" branch: 1) Town & Country Branch, 2929 Fulton, Avenue, Sacramento CA 95821;

 2
     2) Royal Oaks, 2000 Royal Oaks Drive, Sacramento CA 95813-9998; 3) Cernon Branch, 98
 3
     Cernon St., Vacaville 95688-9998; 4) Hamilton Branch, 380 Hamilton Avenue, Palo Alto CA
 4
 5 94301-9991;5) Arden Branch, 2801 Arden Way, Sacramento CA 95825-9996; 6) Broadway

 6 Branch, 2121 Broadway, Sacramento CA 95818; 7) Modesto Branch, 715 Kearny Avenue,

 7 Modesto, CA 95350; 8) Carmichael Branch, 6929 Fair Oak Blvd., Carmichael CA 95608-9998;

 8
     9) Fort Bragg, CA branch: 203 N. Franklin St., Fort Bragg CA 95437.
 9
     56. Plaintiffs letters to the Internal Revenue Service, Secret Service, Securities & Exchange
10
11   Commission, and the FDA, sent via US Mail, were never answered. Letters to the IRS included

12 special forms, Form 3949-A, "Information Referral" concerning unreported income. The forms

13   named Kevin Costner, Don Johnson, and Harrison Ford as individuals who paid bribes to the
14
     various individuals reported on these forms. Plaintiff attempted to mail these forms twice, most
15
     recently on Octoberl, 2022, and never received responses from the IRS. Plaintiff believes USPS
16

17   employees stole envelopes containing these forms. Letters to the Postal Service itself, reporting

18 federal mail theft of correspondence reporting other crimes, were also never answered, and all of

19 these mailpieces became themselves the subject of federal mail theft. The theft ofletters to

20
     federal agencies also demonstrates an open-ended c~mtinuity of crime, with the ongoing threat of
21
     additional crime.
22
     57. In the recent past, plaintiff also attempted to report federal mail theft using on-line forms.
23
24   These forms were hacked, and plaintiff has not received a response from USPS officials. On

25   information and belief, plaintiff alleges that and for most of the past three years, Kevin Costner
26
     has maintained a constant on-line presence, hacking numerous e-mails and websites, including
27

28                                                     22
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 27 of 189 Page ID
                                       #:39




 1

 2
       messages. Repeated hacking has prevented plaintiff from using e-mail to communicate, and
 3
       websites she has used in attempts to communicate have failed to reach their intended recipients.
 4
       The crimes involving the U.S. mail, e-mail, and website communications demonstrate continued
 5

 6     criminal activity, and open-ended continuity, with threats of continuing criminal activity.

 7     58. On information and belief, plaintiff also alleges Costner is responsible for repeatedly hacking
 8
       the USPS website, committing the federal crime of computer hacking, making it look as if
 9
       delivery of mailed letters had actually delivered. Plaintiff has used Priority Mail with tracking on
10

11
       numerous occasions, but has never heard from any of the addressees. Costner may also have

12     hacked the FedEx website, making it appear that deliveries, alleged further infra, were actually

13     made. Plaintiff would describe Costner as a "master hacker" , a skill Costner may have
14
       developed as an FBI employee, making Costner and anyone he bribes to join him ongoing threats
15
       to individuals and businesses, showing an open-ended continuity of criminal activity.
16

17     59. Defendants, and each of them, together with alleged co-conspirators, also made plaintiff, a

18     female, a victim of federal hate crimes, as defined under 18 USC 249(a)(2)(A)(ii)(ll).

19     60. Defendant REGENTS OF UNIVERSITY OF CALIFORNIA is a corporation established
20
       under the California Constitution, Article IX, section 9.
21
       61. Defendant DOCTORS MEDICAL CENTER OF MODESTO, INC. is a California
22
23     corporation, with its principal place of business in Modesto, Stanislaus County, California.

24     62. Defendant TENET CALIFORNIA INC. is a Delaware corporation with its principal place of

25     business in Dallas, Texas, and owns DOCTORS MEDICAL CENTER OF MODESTO, INC.,
26
       and Emanuel Hospital.
27

28                                                      23
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 28 of 189 Page ID
                                   #:40




 1   61 DP.fP.nchmt ~TANFORn HFALTH f'ARF TN(' i-.: n nonnrofit f'nlifornin f'omorntion-Pnhlic

 2
     Benefit, with its principal place of business in Stanford, California.
 3
     64. Defendant DIGNITY HEALTH MEDICAL FOUNDATION, INC., is a California
 4
     corporation with its principal place of business in Rancho Cordova, CA.
 5
 6   65. Defendant PROVIDENCE MEDICAL FOUNDATION, INC., is a California corporation

 7   with its principal place of business in Anaheim, CA.
 8
     66. Defendant WALMART INC., is a Delaware corporation, with its principal place of business
 9
     in Bentonville, AR.
10

11
     67. Defendant CALIFORNIA BOJ\RD OF PHARMACY is a division of the California

12   Department of Consumer Affairs, located in Sacramento, California.

13   68. Defendant CALIFORNIA PHYSICIANS ASSISTANT BOARD is a division of the
14
     Department of Consumer Affairs, located in Sacramento, California.
15
     69. Defendant GAGNON VISION MEDICAL GROUP, INC. dba Valley Eye Care, is a
16

17   California corporation licensed to do and doing business in Alameda County, California

18   70. Defendant MCNAUGHTON NEWSPAPERS, INC., dba Daily Republic Newspaper is a

19   corporation established under the California Constitution, Article IX, section 9.
20
     71. Defendant ANIMAL LEGAL DEFENSE FUND, INC. is a California non-profit corporation
21
     with its principal place of business in Cotati, California.
22
23   72. Defendant FEDERAL EXPRESS COMPANY INC., aka FED EX, is a Delaware corporation

24   licensed to do and doing business in California, with its principal place of business in Memphis,

25   TN.
26
     73. Defendant CALIFORNIA STATE BOARD OF OPTOMETRY is a division of the
27

28                                                     24
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 29 of 189 Page ID
                                       #:41




 2
       74. Defendant THE UPS STORE, INC. is a Delaware corporation licensed to do and doing
 3
       business in California, with its principal place of business in San Diego County, California.
 4
       75. Defendant LOS ANGELES TIMES, a CALIFORNIA TIMES PUBLICATION, is a
 5

 6     California newspaper, business form unknown, with its principal place of business in Los

 7     Angeles County, California.
 8
       76. Defendant LIVERMORE OPTOMETRY, INC., is a California corporation licensed to do and
 9
       doing business in Alameda County, California.
10

11     77. Defendant DENTAL BOARD OF CALIFORNIA is a division of the California Department

12     of Consumer Affairs, located in Sacramento, California.

13     78. Defendant CALIFORNIA BOARD OF BARBERING AND COSMETOLOGY is a division
14
       of the California Department of Consumer Affairs, located in Sacramento, California.
15
       79. Defendant MEDICAL BOARD OF CALIFORNIA is a division of the Department of
16

17     Consumer Affairs, located in Sacramento, California.

18     80. Defendant RAY STONE INC. is a California corporation, with its principal place of business

19     in Sacramento County, California.
20
       81. Defendants DOES 1 THROUGH 50 are sued herein under fictitious names. Their true names
21
       and capacities are unknown to plaintiff. When their true names and capacities are ascertained,
22
23     plaintiff will amend this complaint by inserting their true names and capacities herein. Plaintiff is

24     informed and believes and thereon alleges that each of the fictitiously named defendants is
25
       responsible in some manner for the occurrences herein alleged, and that plaintiffs damages as
26
       herein alleged were proximately caused by those defendants.
27

28                                                      25
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 30 of 189 Page ID
                                       #:42




 1     82. Plaintiff is informed and believes and thereon alleges that at all times herein mentioned,
 2
       defendants, and each of them, including Defendant Does 1 through 50, inclusive, were acting in
 3
       the scope of their authority as agents, servants, and employees and with the permission and
 4
       consent of their co-defendants.
 5
 6     83. Plaintiff alleges that the following individuals, among others, acted acted various time as

 7     agents on behalf of all of the defendants in this case, and as co-conspirators (hereinafter referred
 8
       td as "co-conspirators"): Kevin Costner, Don Johnson, Harrison Ford, Spencer Wright, Joseph
 9
       Gerald Johnson, M.D., Samir Jayraj Seth, M.D., Gina Garcia, Thang-Giang Vu, M.D., Melanie
10
       Henry, ·M.D., Deepali Dhar, M.D., Robert Barandica, M.D., Kelly Nicole Roszczynialski, M.D.,
11

12     Nona Zandinejad; Westside Ambulance; Michael Courtney; Clarence Morse; Rebecca Kidwell;;

13     Pro Transport; CHP Officer Enrique Alvarez, Evelyn Edelmuth, M.D.; Olive del Pilar, M.D.;
14
       Manh due Pham, M.D.; Five Star Registration; Becky Van Riper, D.V.M.; Steitz Towing; Shelby
15
       Rivas; Jennifer Amaya, Jennifer Martinez, and "Marty", RAY STONE INC., employee, last
16

17     name unknown; California Senator Brian Dahle; Niello Volkswagen, Pro Transport-I, LLC;

18     CEP America, owned by Vituity; Rash Curtis & Associates; Professional Bureau of Collections

19     of Maryland, Inc.; Lisa A Travis; Peter C. Zilaff; Shaim Roeub (spelling uncertain); County of
20
       Sacramento. Most if not all of these individuals and businesses accepted bribes, paid by "the
21
       actors."   Some of the individuals named may have U.S. military affiliations.
22
23                                        FIRST CAUSE OF ACTION

24      CIVIL RICO (18 USC §1964[c]): HEALTH CARE FRAUD (18 USC SECTION 1347; MAIL

25     FRAUD (18 USC SECTIONS 1341; 1961; 18 USC section 1029(e)(l); (2)-(3). ACCESS
26
       DEVICE FRAUD (18 USC SECTION 1961;18 USC section 1029(e)(l); (2)-(3); BRIBERY (18
27

28                                                      26
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 31 of 189 Page ID
                                  #:43



 l USC SECTION 1961 ); California Penal Code section 641.3 (Commercial Bribery); MONEY
 2
     LAUNDERING (18 USC section 1956; BANK FRAUD 18 USC section 1344
 3
               AGAINST DEFENDANT REGENTS OF UNIVERSITY OF CALIFORNIA
 4

 5 84. Plaintiff repeats and realleges paragraphs 1 through 83, inclusive, and incorporates same by

 6 reference, as though set forth in full herein.

 7 85. This cause of action asserts claims against defendants for violations of 18 USC section

 8
     1962 [c] for conducting the affairs of the "Health Care Fraud Enterprise" through a pattern of
 9
     racketeering activity. Plaintiff alleges a continuing conspiracy between and among all of the
10
1l   defendants, commencing in or about July, 2014, and continuing into 2023.

12 PATTERN OF RACKETEERING ACTIVITY:

13   86. A "racketeering activity" is among other things, any act indictable under 18 USC section
14
     1961, including the following: HEALTH CARE FRAUD (18 USC SECTION 1341; MAIL
15
     FRAUD (18 USC SECTIONS 1341; 1961; 18 USC section 1029(e)(l); (2)-(3); WIRE FRAUD;
16
1 ACCESS DEVICE FRAUD (18 USC SECTION 1961;18 USC section 1029(e)(l); (2)-(3);
 7
18   BRIBERY (18 USC SECTION 1961), based on CALIFORNIA PENAL CODE SECTION 641.3

19   (Commercial Bribery); MONEY LAUNDERING (18 USC section 1956; BANK FRAUD 18
20
     USC section 1344.
21
     87. During the relevant time periods, defendants and plaintiff were and are each a "person", as
22
     this term is defined in 18 USC section 1961 [3]. During the relevant time periods, plaintiff was a
23
24   person injured in her business or property, by reason of a violation of RICO within the meaning

25   of 18 USC section l 964[c], and through the misuse of health care insurance funds.
26
     88. The overarching purpose of the "Health Care Fraud Enterprise": to deprive plaintiff of health
27

28                                                   27
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 32 of 189 Page ID
                                       #:44




 1     care, and ultimately cause plaintiff's death, while billing MediCal and Medicare, along with
 2
       plaintiff, for services purportedly rendered, using plaintiff's MediCal and Medicare benefits for
 3
       procedures and tests never performed, and, in each instance, never providing either accurate
 4
       diagnoses, or any treatment, and to render plaintiff either dead, or permanently disabled. Plaintiff
 5

 6     alleges a continuing conspiracy between and among these defendants, pursuant to 18 USC

 7     section 1964[d], commencing in or about 2014 and continuing, showing an open-ended
 8
       continuity of crime, with ongoing threats of continued criminal activity. Plaintiff suspected the
 9
       2014 crimes in or about 2022. Plaintiff further alleged that the co-conspirators and defendants
10
       herein accepted bribes from other co-conspirators, including Kevin Costner, Don Johnson, and
11

12     Harrison Ford, as inducements to enter into the "Health Care Fraud Enterprise" described herein.

13     Plaintiff further alleges that until in or about 2022, plaintiff was unaware of the existence of the
14
       "Health Care Fraud Enterprise", believing instead that she had experienced "bad luck" with
15
       health care providers.
16

17     89. As set forth below, to carry out, or attempt to carry out, its scheme to defraud, and deprive

18     plaintiff of medical care and treatment, defendants have engaged in the following pattern of

19     racketeering activity:
20
       90. In 2014, plaintiff sought medical care from defendant U.S. DAVIS MEDICAL CENTER
21
       (REGENTS OF UNIVERSITY OF CALIFORNIA) Plaintiff had suffered a back injury in 2006,
22
23     and suffered permanent disability as a result. In or about July, 2014, Doctors Joseph Gerald

24     Johnson, M.D., Samir Jayraj Seth, M.D. at UC DAVIS MEDICAL CENTER allegedly ordered a

25     magnetic resonance imaging scan (MRI). These doctors assured plaintiff, who still suffered
26
       significant symptoms, that the MRI showed nothing.of concern.They diagnosed "lumbar
27

28                                                       28
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 33 of 189 Page ID
                                   #:45




 2
     accepted bribes to mislead plaintiff and provide the wrong diagnoses, and no real treatment. On
 3
     information and belief, plaintiff alleges no MRI was performed at all, pursuant to agreement
 4
     with bribers.
 5

 6   91. Due to plaintiff's continuing complaints of pain, various treatment options were discussed in

 7   a July 2014 report sent to plaintiff. Although plaintiff expressed interested in an epidural
 8
     injection for treatment of chronic pain and disability, employees in the doctors' offices, and
 9
     medical records, informed plaintiff of an alleged UC DAVIS office policy requiring a driver to
10

11   take plaintiff home after the procedure. Although said doctors never discussed this policy with

12   plaintiff at any time, let alone when doctors mentioned various treatment options, UC DAVIS

13   employees and their medical records, still in plaintiff's possession, claimed that the disabling
14
     effect of pre-operative or pre-procedure sedation would prevent her from driving, and implied
15
     that such sedation was necessary. These doctors accepted bribes to fabricate a reason not to treat
16

17   plaintiff.

18   92. UC DAVIS refused to perform an epidural injection because plaintiff did not have a driver to

19   take her home after the procedure was performed, and allegedly could not drive herself due to the
20
     effects of pre-procedure sedation. UC DA VIS offered no other treatment alternatives. UC
21
     DAVIS MEDICAL CENTER billed Medi Cal for the MRI, but offered plaintiff no treatment,
22
23   instead dropping her as a patient in or about August, 2014. The involved doctors accepted bribes

24   to drop plaintiff as a patient, and to pretend to help, but in reality, to fail and refuse to offer, and

25   withdraw, any real medical assistance.
26
     93. On April 25, 2017, plaintiff again sought medical care, this time from UCSF MEDICAL
27

28                                                      29
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 34 of 189 Page ID
                                   #:46




 1   CENTER (REGENTS OF UNIVERSITY OF CALIFORNIA), seen as a patient in the UCSF
 2
     MEDICAL CENTER Pain Management Department. At that time, UCSF Pain Management
 3
     Specialist Melanie Henry, M.D. recommended an epidural spinal injection, assuring plaintiff she
 4
     would not require pre-procedure sedation, and that plaintiff could drive safely home after the
 5
 6   procedure. Henry recommended a particular type of injection, later changed to a different

 7   procedure, without any discussion with plaintiff.
 8
     94. During the course of plaintiff's office visit at UCSF, she gave Dr. Henry a diskette containing
 9
     the MRI purportedly performed at UC DA VIS in 2014. Henry returned the diskette to plaintiff,
10

11   and it remains in plaintiff's possession. In 2022, plaintiff realized that in 2017, however, desktop

12   computers, then on information and belief in use at UCSF, did not contain a slot for insertion of a

13   three by five diskette, the computer media provided to plaintiff by UC DAVIS. Although
14
     documents provided to plaintiff after her initial UCSF visit discussed the ordering of an MRI, Dr.
15
     Henry never ordered this scan, instead performing an invasive, dangerous procedure, without a
16

17   current imaging study. On information and belief, Henry accepted bribes not to provide any

18   accurate diagnosis or treatment to plaintiff, and not to perform an MRI. On information and

19   belief, plaintiff further alleges that Henry accepted bribes to attempt to or actually cause plaintiff
20
     permanent paralysis, by performing an invasive spinal procedure without a current imaging
21
     study.
22
23   95. On May 9, 2017, plaintiff appeared at a scheduled appointment, for an epidural lumbar

24   injection. An unidentified nurse, along with Drs. Henry and Deepali Daar, attended plaintiff's
25
     appointment. Although medical records claim otherwise, (these records do not include a consent
26
     form) UCSF never gave plaintiff a consent form to sign, and the risks of the procedure never
27

28                                                     30
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 35 of 189 Page ID
                                       #:47




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 2
       close to the nerve." On information and belief, plaintiff further alleges that Henry and Daar
 3
       accepted bribes to cause plaintiff permanent paralysis, by performing an invasive spinal
 4
       procedure without a current imaging study. On further information and belief, although medical
 5

 6     records claim doctors injected plaintiffs back with drugs, UCSF doctors used no drugs at all

 7     during the purported procedure.
 8
       96. Medical records generated in 2021 falsely state the performance of a "c-arm fluoroscopy"
 9
       during the course of plaintiffs visit, allegedly taking two hours, on the same date as the lumbar
10
       epidural injection. Medical records describe the "c-arm fluoroscopy" as a "radiology exam" but
11

12     the records do not include a radiologist's report, and no one performed a "fluoroscopy" on the

13     date of the epidural injection. The epidural procedure itself, changed from one procedure to
14
       another, according to medical records, took thirty minutes or less. Defendant REGENTS (UCSF)
15
       billed Medicare for the alleged treatment rendered to plaintiff.
16

17     97. In addition, although medical records generated in 2021 claim plaintiff signed a written

18     consent form, UCSF did not include these forms within the medical records, and UCSF

19     employees never gave plaintiff such a form to sign. Instead, doctors involved in this procedure
20
       falsely alleged in records that doctors fully discussed all of the risks with plaintiff.
21
       98. The epidural injection immediately failed, and plaintiffs pain and disability remained the
22

23     same. Henry and Daar knew the treatment would fail, and never obtained an accurate diagnosis,

24     due to the failure to order an MRI. Henry accepted bribes so that plaintiff would end up in the

25     same, or worse condition, possibly permanently paralyzed, without any medical treatment or
26
       diagnosis. The actions of Henry and Daar constitute violent crimes committed in aid of
27

28                                                                31
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 36 of 189 Page ID
                                       #:48




 1     racketeering activitv. in violation of 18 USC section 1959(a). includimi: attemnted maimirn2:. fl 8
 2
       USC section l 959(a)(2), and (b) (1), (2).]
 3
       99. Medical records from UCSF also allege that in addition to Dr. Henry, Thang-Giang Vu,
 4
       M.D., saw plaintiff on April 25, 2017. In reality, Vu was not present at the time of plaintiff's
 5

 6     initial visit on that date, and plaintiff never saw Vu. Plaintiff's appointment was with Melanie

 7     Henry, M.D., the only doctor she saw on that day. Vu was not present at either of plaintiff's
 8
       visits at UCSF Pain Management Department. Vu was hired at a much later time to prepare false
 9
       medical records, and accepted bribes to do so.
10

11     100. On May 25, 2021, after receiving medical records generated and mailed to her in April,

12     2021, plaintiff wrote to Joshua Adler, M.D., Executive VP and Chief Clinical Director, UCSF

13     Health, expressing concerns about the contents of the medical records recently sent to her,
14
       including the allegation that Vu had been part of plaintiff's appointment. Plaintiff never received
15
       a response from Adler, and on information and belief, alleges her letter to him became the
16

17     subject of federal mail theft, stolen by USPS employees.

18     101. On August 18, 2021, plaintiff wrote to Mark Laret, M.D., CEO and President, UCSF

19     Health, in follow up to her letter to Dr. Adler. Plaintiff has never received a response from either
20
       doctor, and on information and belief, alleges US Postal Service employees stole these letters, to
21
       prevent UCSF officials from learning of these crimes.
22
23     102. As a direct and proximate result of defendants' illegal conduct as alleged herein, plaintiff

24     suffered damages to her property in that defendants fraudulently billed plaintiff, and plaintiff's

25     Medicare benefits (plaintiff's property), and plaintiff's premiums (also her property) were used to
26
       finance access device fraud, and health care fraud, in violation of these statutes, both predicate
27

28                                                      32
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 37 of 189 Page ID
                                  #:49


 1 acts under RICO. In short, defendants converted plaintiffs' Medicare premiums and benefits into

 2
     health care fraud and access device fraud.
 3
                            RICO CONSPIRACY (18 USC SECTION 1962[d])
 4
 5 103. As set forth above, defendants REGENTS OF UNIVERSITY OF CALIFORNIA and the

 6 other co-conspirators associated with this enterprise and agreed and conspired to violate 18 USC

 7 section 1962[c]; that is, agreed to conduct and participate, directly and indirectly, in the conduct

 8
     of the affairs of the health care fraud enterprise through a pattern of racketeering activity in
 9
     violation of 18 USC section 1962[d], and commit violent crimes in aid of racketeering activity,
10
11 in violation of 18 USC 1959(a).

12   104. Defendants REGENTS OF UNIVERSITY OF CALIFORNIA (UC DAVIS and UCSF),

13   committed and caused to be committed a series of overt acts in furtherance of the conspiracy and
14
     to effect the objects thereof, including but not limited to the acts set forth above.
15
     105. As a result of defendants' and co-conspirators' violations of 18 USC section 1962[d],
16

17 plaintiff was denied, and lost, all benefits billed to and paid from MediCal and Medicare, and the
18 premiums indirectly financed bribery, and other predicate acts, including health care fraud, mail

19   fraud, and access device fraud. Plaintiff received no meaningful medical care, instead placed in
20
     medical jeopardy, as a result of the health care frau4 and violent crimes, including attempted
21
     maiming, committed in aid of racketeering activity enterprise. The medical/health care crimes,
22
     actually started in 2006, show an open-ended continuity of crime, continued to the present day,
23
24   with ongoing threats of continued criminal activity, occurring as recently as February, 2023.

25           WHEREFORE, plaintiff prays judgment against defendants, and each of them, as set
26
     forth below.
27

28                                                     33
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 38 of 189 Page ID
                                       #:50




 2
       CIVIL RICO (18 USC §1964[c]): PREDICATE ACTS: BRIBERY, WIRE FRAUD,
 3
       KIDNAPPING, USE OF INTERSTATE COMMERCE FACILITIES IN THE COMMISSION
 4
       OF MURDER FOR HIRE [18 USC section 1958(a)]; AND CRIMINAL COPYRIGHT
 5
 6    INFRINGEMENT 17 USC section 106(3), 17 USC section 506(a)(l)(A); 18 USC section 1961,

 7     18 USC section 2319; MONEY LAUNDERING (18 USC section 1956; BANK FRAUD (18
 8
      USC section 1344.)
 9
      AGAINST DEFENDANTS TENET CALIFORNIA, DOCTORS HOSPITAL OF MODESTO
10

11    INC., RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA,

12    PATTERN OF RACKETEERING ACTIVITY:

13     106. Plaintiff repeats and realleges paragraphs 1 through 105 and incorporates same by reference
14
      herein, as though set forth in full. Plaintiff further alleged that the co-conspirators and defendants
15
      herein accepted bribes from other co-conspirators, including Kevin Costner, Don Johnson, and
16

17    Harrison Ford, as inducements to enter into the "Kidnapping /Murder for Hire" Enterprise

18    described herein.

19     107. In July, 2019, plaintiff began experiencing strange symptoms which she could not explain.
20
      Plaintiff now attributes her symptoms to poison, placed in drinking water on repeated occasions
21
      by Gina Garcia, then the manager of her apartment complex, owned by co-defendant RAY
22
23     STONE, INC. A co-conspirator or co-conspirators, possibly medical doctors or someone with a

24     military background, designed a poison, consisting of special drugs, to make plaintiff amenable
25     to brainwashing.
26
       108. In August, 2019, plaintiff took her vehicle to Niello Volkswagen, Sacramento, CA, for
27

28                                                      34
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 39 of 189 Page ID
                                   #:51




 2
     took it to a nearby location for modifications, including, but not limited to, installation of special
 3
     software or other technical equipment which allowed others to watch plaintiff's activities, to
 4
     project cartoon-like images from the car windows, and which allowed others to control plaintiff's
 5

 6   vehicle, forcing it to stop at a pre-arranged location. When Niello returned plaintiff's vehicle to

 7   her on that day, plaintiff did not realize these modifications to the car had taken place. On
 8
     information and belief, co-conspirators aided Niello in tampering with plaintiff's car, and
 9
     accepted bribes to do so, part of an ongoing and continued conspiracy, showing an open-ended
10

11   continuity, with ongoing threats of criminal activity.

12   KIDNAPPING:

13   109. On the morning of August 30, 2019, plaintiff heard voices outside stating, "This is the FBI.
14
     Get ready to leave in fifteen minutes." Plaintiff heard the same message at least twice more, and
15
     then told to leave her apartment with only her pets. Plaintiff left with her two pets, small rabbits,
16

17   in pet carriers. Her cat, whom she could not find, stayed in the apartment.

18   110. Plaintiff ended up driving all day, entering the Central Valley on what she believes was

19   Highway 99. After nightfall, she heard a strange sound and her car suddenly stopped running on
20
     the side of the road. She tried to call for help, but her cellular phone wouldn't work; she couldn't
21
     reach anyone. As she stepped out of her car, a CHP officer approached her, and told her she
22
23   seemed not in control of her faculties. Plaintiff turned to walk back to her car; then heard

24   someone tell her "Don't tum around; your car is exploding." Plaintiff saw a small explosion out

25
     of the comer of her eye. Someone then rendered plaintiff unconscious.
26
27

28                                                     35
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 40 of 189 Page ID
                                       #:52




 1     111. Her captors transported an unconscious plaintiff, who next remembers stepping out of the
 2
       back of a van. Someone , apparently a CHP officer stated, "You've been altered." Plaintiff heard
 3
       someone else say, "Get those rabbits." Between the time plaintiff heard "Don't tum around",
 4
       until the time she heard "You've been altered," someone rendered her unconscious.
 5

 6     112. After stepping out of the van, someone again rendered plaintiff unconscious. Her captors

 7     then transported plaintiff again, while unconscious. Plaintiff next remembers laying on a gurney,
 8
       while she wore a hospital gown, which someone put her in while unconscious. Plaintiff believes
 9
       her kidnappers transported her to a private home.
10

11     113. A man, supposedly a doctor, and on information and belief, Robert Barandica, M.D., stood

12     next to plaintiff as she lay on the gurney and stated, "You look pretty good for someone thrown

13     out of an airplane." [A scene in the MGM film, "Mulholland Falls", in which the Jennifer
14
       Connolly character was killed by being thrown out of an airplane, inspired this comment.]
15
       Plaintiff had viewed this film on Netflix in July, 2019, information obtained by co-conspirators
16

17     via computer hacking.] A few minutes later, a woman glanced at plaintiff's legs and stated,

18     "Looks like we need a rape kit." After this, her captors again rendered plaintiff unconscious.

19     114. Plaintiff believes her captors rendered her unconscious, and without clothing, for many
20
       hours during the evening and early morning hours of August 30 to August 31, 2019. Plaintiff
21
       believes she became an unconscious "centerpiece" of satanic cult activities, throughout the
22
23     evening and night. Plaintiff also believes a number of people attended these activities. Rendered

24     unconscious during these satanic rituals, plaintiff could not identify her captors, or attackers, a
25
       decision deliberately made. Repeated states of unconsciousness, with consciousness for brief
26
       periods of time, constitute attempted murders. The uses of drugs to cause these periods of
27
28                                                       36
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 41 of 189 Page ID
                                  #:53


 1 unconscious, and then brief consciousness, constitute deadly activities committed against an

 2
     unconscious victim. Plaintiff has no idea who comprised her audience during these activities.
 3
     115. Again rendered unconscious, and transported, plaintiff next remembers stepping out of yet
 4
 5 another van, this time from the center of the vehicle. As she stepped out of the vehicle, numerous

 6 people, whom plaintiff cannot identify, surrounded her. Plaintiff entered the back of a building,

 7 [at the time, she didn't know what type of building], while numerous other people held her in a

 8
     room for at least twenty to thirty minutes. During this time, her captors, apparently employees of
 9
     a hospital who never identified themselves by name, subjected her to interrogation. These people
10
ll   solicited answers from plaintiff, given due to extensive brainwashing committed against plaintiff

12 as an unconscious, or semi-conscious victim.

13   116. Her captors then led plaintiff into the next room. To her left, approximately ten feet away,
14
     actor Harrison Ford, wearing a blue headdress, pointed a gun at her from behind a glass door. Her
15
     captors forced plaintiff to obey commands, including a order to stand at a particular place, with
16

17 her feet touching objects on the floor, while Ford pointed his gun in her direction.
18   117. Her captors then placed plaintiff in a room for the night, and gave her no toiletries or other

19 necessities. Plaintiffs purse had been taken away from her before she entered this alleged

20
     hospital. No doctor ever talked to her.
21
     118. The following day, August 31, 2019, plaintiff was left alone, and again, no one talked to her.
22
     That evening, from her hospital bed, plaintiff recognized famed aviator and aviation hero
23
24   Chesley Sullenberger in the hallway, and saw him talking to actor Don Johnson. Plaintiff heard

25   Sullenberger ask, "Who is she?" Plaintiff then spoke briefly to Sullenberger. Although
26
     Sullenberger witnessed both actors Don Johnson and Harrison Ford in the hallway, Sullenberger
27

28                                                    37
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 42 of 189 Page ID
                                       #:54




 1 played no part in the capture and kidnapping of plaintiff. An emplovee tried to hide Sullenbern:' s

 2
       identity by placing a fan in front of his face. Sullenberger disappeared down the hallway.
 3
       119. On information and belief, Johnson, Ford, Costner, and Sullenberger were taking part at
 4
       that time in a military-sponsored program, bringing military personnel to this hospital for
 5
 6     purported treatment. At the time plaintiff saw Sullenberger, he had brought at least one patient to

 7     the hospital. Plaintiff occupied the hospital room previously reserved for that patient. Despite
 8
       plaintiff's repeated attempts to contact them, the U.S. Military knows nothing about the crimes
 9
       committed against plaintiff, while the three actors visited the hospital, in part on military
10

11     business.

12     120. After actors Don Johnson and Harrison Ford (wearing the same headdress as the previous

13     night) entered her hospital room, neither introduced themselves, nor did they explain their
14
       presence. Johnson did most of the talking. Johnson's first words were, "Kevin Costner isn't here
15
       tonight."
16
17     121. Johnson then made a series of statements, first informing plaintiff that plaintiff's pets [two

18     pet rabbits] "had been tortured ... we were unable to save them."

19     122. Johnson also made statements which revealed information only available to the Federal
20
       Bureau of Investigation, in part concerning plaintiffs application for bar membership in the State
21
       of Wyoming, for the February, 1984 bar exam. Implying that plaintiff had actually passed the
22
23     Exam, Johnson stated plaintiff's Wyoming Bar Exam results "had been suppressed".

24     123. Johnson also claimed their physical location as Jackson, Wyoming, on what he called a
25
       "hospital ship", and also claimed their location as Harrison Ford's ranch in Wyoming.
26
       Johnson misrepresented plaintiff's real location, a hospital in Modesto, California.
27
28                                                       38
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 43 of 189 Page ID
                                  #:55


 1 124. Johnson also spoke at length about his and Ford's visit to plaintiffs apartment on Friday,

 2
     August 30, 2019, after plaintiff left. Without plaintiffs knowledge or consent, Gina Garcia, then
 3
     manager of plaintiffs apartment complex, (owned by defendant RAY STONE, INC.), allowed
 4
 5 them entry in plaintiffs absence. Johnson stated he and Ford had taken copyrighted material,

 6 consisting of a novel and screenplay, ("the property", or "the intellectual property") both owned

 7 by plaintiff, out of her apartment, and consulted a literary agent, whom plaintiff had contacted

 8
     herself at an earlier time, about selling the property. Johnson stated the literary agent, Paula
 9
     Munier, of Talcott Notch Agency in Connecticut, had valued the property, at twenty-five million
10
ll   dollars ($25,000,000), and that the book "would be a runaway best seller." Johnson further

12 claimed "deals were being made", and "every actor in Hollywood" wanted to play the lead in

13 plaintiffs screenplay. Johnson and Ford stole these materials from plaintiffs apartment, and

14
     never returned them. They also stole flash drives while in plaintiffs apartment. Her captors
15
     intended the theft of plaintiffs intellectual property, including flash drives containing copies of
16
17 the IP, to prevent plaintiff from selling or producing any of it.
18   125. Johnson and Ford spent at least twenty minutes in plaintiffs hospital room, never

19 explaining their presence, or their authority within that hospital. Neither was a hospital employee.

20
     Johnson falsely represented that plaintiff was there "for rehabilitation" from torture inflicted on
21
     her at an earlier time. Aside from crimes committed as alleged in this lawsuit, plaintiff is
22
     unaware of any such "torture". Johnson also claimed plaintiff might be asked to go on an FBI
23
24   mission, which could be dangerous, and that she had been on other such missions in the past.

25   This is false. Johnson also falsely stated that plaintiff would have "a rendezvous" with a famous
26
     musician, whose name is withheld for privacy reasons. This is also false.
27
28                                                     39
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 44 of 189 Page ID
                                       #:56




 2
       thought plaintiff "needed a trim", and, on the previous night, had performed a "bikini wax" on
 3
       plaintiff (while an unconscious victim.) This connects with the remark, alleged above, to wit,
 4
       "Looks like we need a rape kit." The woman making this remark intended to inform plaintiff that
 5

 6     she, while unconscious, became the victim of rape. Johnson also stated that, although while

 7    plaintiff "looked good", she needed to lose weight. "We're your brothers. If we don't tell you,
 8
      who will?" Johnson said.
 9
       127. Standing close to plaintiff, and leering at her, Johnson also stated the ending of the Kevin
10

11     Costner film, "For Love of the Game", could be digitally altered to change Costner for another

12    man, whose name is withheld, and to change Kelly Preston for plaintiff. This film is a Universal

13    production. This other man is also the person with whom plaintiff would supposedly have a
14
      romantic rendezvous while held captive, an absurd idea that mocked the mutual interest between
15
       plaintiff and this unidentified man.
16

17     128. Johnson also informed plaintiff that Becky Van Riper, D.V.M. waited at Harrison Ford's

18     ranch in Wyoming, and would care for plaintiff's pets, the same pets that Johnson stated had

19     been tortured to death. Van Riper, a veterinarian that plaintiff had consulted about these same
20
       rabbits in the past, later claimed she had no contact information for Harrison Ford. Plaintiff's
21
       pets have never been returned to plaintiff, and were killed. A few months post-kidnapping,
22
23     plaintiff received an emailed photograph of one of the pet's carriers, containing a substance that

24     looked like black scrambled eggs. The message sent by this picture: this photograph depicted the

25     animals' remains.
26
       129. After twenty to thirty minutes, Johnson and Ford left her hospital room.
27

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Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 45 of 189 Page ID
                                  #:57


 1 130. On Sunday morning, September 1, 2019, plaintiff saw Spencer Wright marching outside

 2
     her hospital window. At the time, the TRO falsely issued against plaintiff by the County of
 3
     Sacramento remained in effect, requiring her to stay away from Wright. During the course of her
 4
 5 hospital stay, a forced incarceration, an unidentified female forcibly injected her in the arm with a

 6 clear liquid, describing it as plaintiffs medication. 1 Plaintiff had repeatedly asked about her

 7 medications; this clear liquid, never identified, did not constitute one of them.

 8
     131. During the course of her incarceration, Plaintiffs captors moved her four different times,
 9
     from one bed to another, without explanation. All of the above crimes constitute violent crimes
10
ll   in aid of racketeering activity, in violation of 18 USC section 1959(a). The food provided to

12 plaintiff tasted awful; plaintiff believes her captors laced the food with poison as a way of

13   continually drugging plaintiff. Employees handed her serving plates with plaintiffs name on
14
     them, suggesting that plaintiff got something different from everyone else.
15
     132. On Sunday, September 1, 2019, employees moved plaintiff into what they described as the
16
17 "hospital" portion of the building, consisting of numerous beds. No one discussed these moves,

18 or the reasons for them, with plaintiff. An unidentified woman handed plaintiff a document

19   described as "Notification of Certification" purportedly certifying plaintiff as "gravely
20
     disabled-plaintiff does not have a safe plan", and falsely describing plaintiff as suffering from
21
     "chronic alcoholism". Plaintiff is not an alcoholic and does not imbibe alcohol. This document
22
     possibly constituted a last-ditched attempt to justify her incarceration, alleged information never
23

24   provided to Medicare.

25   133. Later that day, hospital personnel again moved plaintiff, this time to a room shared by
26
             1
27           This violates California Welfare & Institutions Code section 5152[c].

28                                                    41
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 46 of 189 Page ID
                                       #:58




 1     someone else   A ftP,r left ~lone hv -:t~ff ~nrl without mPrlil"~tion for thP rPm~inrlPr ofthP T.~hor
                                                                                           '
 2
       Day Holiday week-end, an employee led plaintiff to a meeting with two women in the afternoon
 3
       of Tuesday, September 3, 2019. At that time, these two women, neither of which identified
 4
       herself, indicating they would release plaintiff from the hospital. One of the two women, later
 5

 6     identified as "Evelyn Edelmuth", allegedly a medical doctor, gave plaintiff two prescriptions for

 7     medications plaintiff had never mentioned to her or anyone else. Without plaintiffs knowledge
 8
       or consent, Edelmuth had obtained prescription information from Manh Due Pham, M.D., a UC
 9
       DA VIS doctor plaintiff had consulted in the past, named in the documents Edelmuth provided
10

11     plaintiff. Medical records obtained from UC DAVIS reflect that hemoglobin test results (ordered

12     by Pham) became part of documents handed to her when plaintiff left the hospital on Tuesday,

13     September 3, 2019. The test results were dated 8-23-2019, just days prior to plaintiffs
14
       kidnapping. In addition, documents provided to plaintiff stated she should "follow up" with
15
       Pham upon her release from DBHC. Plaintiff never provided Pham's name, or any information,
16

17     to DBHC. The illegal providing of this information is a crime under 42 USC section 1320d-6

18     (a)(2), (3). Edelmuth also gave her a post-it with the name and address of a local motel, Red

19     Lion, in Modesto.
20
       134. Plaintiff then met with a female employee in another conference room. At that time, the
21
       employee gave plaintiff a number of documents, including a series of blank consent forms, that
22
23     plaintiff had never signed. (The documents also included pages and pages of discussion about the

24     two prescriptions Edelmuth gave plaintiff.) With almost no exceptions, the documents given to

25     plaintiff had the name "DOCTORS MEDICAL CENTER OF MODESTO" on the top. All
26
       documents included the name "Oliv del Pilar, M.D.," as the admitting doctor. Plaintiff never met,
27

28                                                      42
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 47 of 189 Page ID
                                       #:59




 1     and had no contact of anv kind, with, del Pilar.
 2
       135. This same employee claimed they were making arrangements for a ride to the local motel.
 3
       Plaintiff stepped into a jeep outside the hospital. An unknown woman, who never gave plaintiff
 4
       her name, offered plaintiff a drink consisting of a pink liquid. Plaintiff declined this drink, and
 5

 6     believes it contained poison. Plaintiff believes her captors released her, with the intention of

 7     capturing her again, and committed further violent crimes, possibly murder, after the proffered
 8
       drink rendered her unconscious.
 9
       136. After a couple of minutes, plaintiff heard a sound similar to what she heard when her own
10

11     car stopped running on Friday night, August 30, 2019. Plaintiff told the driver of this vehicle that

12     she wouldn't wait, and stepped out of the car.

13     13 7. Plaintiff made her way to the Modesto Police Department, with the intention of reporting
14
       the kidnapping to the police. At the time she arrived, she found the station closed. She spoke to a
15
       police officer, occupied with someone else, and asked about locating her car, left on the freeway;
16

17     the officer directed her to the CHP. Due to the medical fraud alleged herein, plaintiff had a

18     physical disability that prevented her from standing on the sidewalk for any lengthy of time to

19     wait for the police officer to become available.
20
       138. After her release from the hospital, and while staying in a motel on the night of September
21
       3, 2019, plaintiff discovered extensive bruising covering her lower arms, as the result of repeated
22
23     needle sticks on an unconscious victim. These crimes constituted attempted murder, through the

24     use of interstate commerce facilities [forcibly transporting an unconscious plaintiff on repeated
25
       occasions] in the commission of murder for hire, in violation of 18 USC section 1958(a).
26
       13 9. After telephoning the CHP, they stated "Steitz Tow" had her car at a tow yard in Los Banos,
27

28                                                        43
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 48 of 189 Page ID
                                  #:60


 1 California. The following day, Steitz Towing informed her it would cost $1,010.00 to recover her

 2
     car, consisting of tow and storage fees, for a car towed away from a unconscious victim. At the
 3
     same time, her captors took her car away from her, and removed her two pets rabbits from the
 4
 5 car, and, according to Don Johnson, tortured the animals to death. Plaintiffs pets were never

 6 accounted for, nor returned.

 7 140. The next day, plaintiff traveled to Steitz Tow in Los Banos. Plaintiff told a Steitz Tow

 8
     employee she wanted to take the car to a dealer for inspection, but he attempted to discourage her
 9
     from doing so, instead stating the car had run out of gas, describing it as "bone dry", and had run
10
1l   out of gas. Plaintiff had attempted to get gas during the trip on Friday, August 30, 2019, but

12 special effects installed in the car prevented plaintiff from doing so.

13   141. After returning home on Thursday, September 5, 2019, plaintiff took her rent check to
14
     Manager Gina Garcia, who stated, "You're not supposed to have that many pets." In making this
15
     statement, Garcia revealed her own involvement in these crimes. Johnson, Ford, Costner, and
16
17 other co-conspirators, had stolen and killed plaintiffs pets aduring the course of the kidnapping.

18   142. Plaintiff also found several notices in the mail, generated by the grand theft of plaintiffs

19   vehicle, illegally towed by Steitz Tow in and to Los Banos, California. The mailpieces included
20
     an almost illegible "Notice of Stored Vehicle" prepared by the California Highway Patrol.
21
     Plaintiff also received a "Notice of Pending Lien Sale", stating the car would be sold at a lien
22
     sale on September 5, 2019. Steitz Tow impounded and stored her car, at the rate of $60.00 per
23
24   day. Steitz charged plaintiff for eight days of storage, at $480.00, $460.00 for the tow, and $70.00

25   for the lien.
26
     143. On September 10, 2019, plaintiff took her car to Niello Volkswagen in Sacramento. Plaintiff
27

28                                                    44
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 49 of 189 Page ID
                                  #:61


 1
     did not realize for some time that Niello employees had accepted bribes to modify the car in
 2
     preparation for a kidnapping, and did not know this when she took the car to Niello on
 3
     September 10, 2019. Without these modifications, the kidnapping could not have happened in
 4
 5 the same way. Thus, Niello played a key role in these crimes. Mechanics tested the car and,

 6 according to the invoice, found "multiple faults in the system all pertaining to running out of

 7 gas. Cleared the faults and set basic settings to the system. Tested vehicle and found fuel trims

 8
     returned to normal percentage and is operating as designed at this time." The invoice listed
 9
     Ronald Stevenson as the service advisor. Niello charged plaintiff $145.00 for this work, which
10
11   either removed the software previously installed in the car, and/or falsely charged plaintiff for

12 work not needed on the car. If the car did need this work, her kidnappers caused this themselves.

13   144. On March 7, 2020, plaintiff reported the kidnapping crimes to then U.S. Attorney General
14
     William Barr, and sent a copy of the same letter to Stanislaus County District Attorney Birgit
15
     Fladager. Plaintiff sent these letters via certified mail, return receipt requested, and received
16
17 signed receipts in the mail. Plaintiff never heard from either Barr or Fladager.

18   145. Beginning in March, 2020, plaintiffs efforts to report the kidnapping crimes included

19 dozens of letters written to various people, including numerous elected officials: U.S. President

20
     Joseph Biden, California Governor Gavin Newsom,. and Lt. Governor Eleni Kounlakis. Plaintiff
21
     never received a response to any of these letters, and no one has ever investigated these crimes.
22
23   146. Because of something plaintiff heard Johnson say during the course of her kidnapping,

24   plaintiff believed the three actors, and Spencer Wright, had military affiliations. Beginning in

25   February, 2021, plaintiff also contacted the U.S. Military at the Pentagon, asking for a
26
     determination of military jurisdiction over Don Johnson, Harrison Ford, Kevin Costner, and
27
28                                                      45
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 50 of 189 Page ID
                                  #:62


 1 Spencer Wright, who also appeared outside plaintiffs hospital window during the course of the

 2
     kidnapping. Plaintiff never received a response to any of these letters, believed stolen by U.S.
 3
     Postal Service employees. Plaintiff also wrote to Travis AFB, and never heard from them; she
 4
 5 believes these letters were also stolen.

 6   14 7. On information and belief, plaintiff alleges that three of the co-conspirators, Johnson, Ford,

 7 and Costner, and possibly Wright, have U.S. military affiliations. In order to determine their

 8
     possible jurisdiction, plaintiffs efforts to report the kidnapping crimes included repeated
 9
     correspondence to the U.S. Military, beginning with a letter dated February 19, 2021 to James
10
11   McConville, Chief of Staff, U.S. Army Pentagon. Plaintiff also sent a copy of this letter to

12 President Biden. Plaintiff received no response.

13   148. Over a period of approximately two years, plaintiff also sent a series of other letters to all
14
     four branches of the U.S. Military at the Pentagon, and received no responses. In June, 2022, in
15
     an effort to circumvent federal mail theft, plaintiff sent five copies of the same letter, from five
16
17   different locations, to Col. Corey Simmons of Travis Air Force Base. Plaintiff received no

18   responses, and believes these letters became the subjects of federal mail theft by USPS

19   employees. Ongoing and extensive federal mail theft again demonstrated an open-ended
20
     continuing of crime, with ongoing threats of contin1:1ing criminal activity.
21
     149. In June, 2022, plaintiff attempted a phone follow-up with Travis AFB. Instead of routing
22
     plaintiffs call to Simmons or his subordinate, plaintiffs call was diverted to the Public Affairs
23
24   Department. Someone named "Heather" claimed letters such as plaintiffs "could take weeks to

25   arrive." This individual never called back, nor did she make any attempt to take a message for
26
     Col. Simmons.
27
28                                                     46
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 51 of 189 Page ID
                                       #:63




 1

 2
       Personnel, including two women at the U.S. Naval Recruiting office, and two men at the U.S. Air
 3
       Force refused to accept correspondence from plaintiff that she prepared for the Pentagon,
 4
       directed to Carlos del Toro of the U.S. Navy and Frank Kendall of the U.S. Air Force.
 5

 6     151. Plaintiff also made extensive efforts to access Travis AFB through other means, but all

 7     attempts failed. On information and belief, plaintiff alleges that mail intended for the Pentagon,
 8
       and Travis AFB, became the subjects of federal mail theft. In addition, the telephone call to
 9
       Travis AFB, diverted to the "Public Affairs Department", may have been diverted elsewhere, so
10

11     that plaintiff didn't reaching the Base at all.

12     RICO CONSPIRACY (18 USC SECTION 1962[d])

13     152. As set forth above, defendants TENET CALIFORNIA, DOCTORS MEDICAL CENTER
14
       OF MODESTO INC., RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA,
15
       and the other co-conspirators associated with this enterprise agreed and conspired to violate 18
16

17     USC section 1962[c); that is, agreed to conduct and participate, directly and indirectly, in the

18     conduct of the affairs of the "health care fraud" and "kidnapping/murder" enterprises through a

19     pattern. of racketeering activity in violation of 18 USC section 1962[d], and agreed to commit
20
       health care fraud, murder for hire or attempted murder for hire, in violation of 18 USC section
21
       1958, and commit violent crimes in aid of racketeering activities, in violation of 18 USC section
22
23     1959.

24     153. Defendants TENET CALIFORNIA, DOCTORS MEDICAL CENTER OF MODESTO

25     INC., RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA, and co-
26
       conspirators committed and caused to be committed a series of overt acts in furtherance of the
27
28                                                       47
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 52 of 189 Page ID
                                  #:64


 1 conspiracy and to effect the objects thereof, including but not limited to the acts set forth above.

 2
     154. As a proximate result of defendants' and co-conspirators' violations of 18 USC section
 3
     1962[d], defendants fraudulently billed Medicare (plaintiff's property), and plaintiff. In addition,
 4

 5 Medicare premiums indirectly financed bribery, and other predicate acts, including kidnapping,

 6 health care fraud and access device fraud. Extensive bribery also showed an open ended

 7 continuity of crime, with the ongoing threat of continuing criminal activity.

 8
     155. As a further direct and proximate result of the conspiracy, her captors stole plaintiff's
 9
     personal property, including her pets, her vehicle, a 2019 Volkswagen Jetta, and copyrighted
10
ll   materials, consisted of a novel and a screenplay, valued at $25,000,000.00 (twenty-five million

12   dollars.)

13   156. Pursuant to RICO, 18 USC section 1964[c], plaintiff is entitled to recover threefold her
14
     damages plus costs.
15
             WHEREFORE, plaintiff prays judgment against defendants, and each of them, as set
16
17   forth below.

18                                          THIRD CAUSE OF ACTION

19                CIVIL RICO (18 USC §1964[c]): BRIBERY, ACCESS DEVICE FRAUD,
20
        WIRE FRAUD, MAIL FRAUD, MONEY LAU~DERING ( 18 USC section 1956); BANK
21
     FRAUD (18 USC section 1344); KIDNAPPING (18            use 1201)
22
23               (AGAINST DEFENDANTS DOCTORS MEDICAL CENTER OF MODESTO,

24   TENET CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA)

25   157. Plaintiff repeats and realleges paragraphs 1 through 156 and incorporates same by reference
26
     herein, as though set forth in full.
27

28                                                     48
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 53 of 189 Page ID
                                   #:65




 1   Arr.nrnino to hill-: m::iilPrl to nl::iintiff Pro Tnm-:nort- 1 ~n ~mh11l::inf'P -:Pnrif'P   n11rnortPrllv

 2
     transported plaintiff from Emanuel Hospital, not a legal entity, and apparently unaccredited, to
 3
     Doctors Behavioral Center, also not a legal entity, on August 31, 2019, after midnight.
 4
     162. Pro Transport- I billed numerous times for their alleged services. Plaintiff received the
 5
 6   following billings via U.S. mail, all of which constituted federal mail fraud: 1) Billing from Pro

 7   Transport dated 10-18-2019 in the amount of $2,672.26; 2) Billing from Pro Transport-I dated 2-
 8
     5-2020, in the amount of $71. 23; 3) Billing dated 3-9-2020 from Professional Bureau of
 9
     Collections of Maryland, Inc., a collection agency acting on behalf of Pro T ransport-1; and
10

11
     giving an address of PO Box 4157, Greenwood CO 80155. Plaintiff disputed all of these bills,

12   and paid none of them.

13   163. DOCTORS MEDICAL CENTER OF MODESTO billed Medicare for $11,781.97,
14
     covering the alleged service dates of 9-2-2019 to 9-3-2019, and mailed plaintiff a bill with a due
15
     date of 11-21-2019. This bill, which lists plaintiffs social security number (plaintiff never
16

17   provided this information, stolen from her purse, and constituting access device fraud) includes

18   purported charges for laboratory services in the amount of $2,872.34; $1,364.22 for behavioral

19   social service, $6,453.00 for room and nursing care, and$ 1.092.51 for pharmacy. Plaintiff never
20
     received any of these services at DOCTORS MEDICAL CENTER. DBMC, where plaintiff
21
     captors incarcerated her, instead refused to provide her necessary and regular medications during
22
23   her forced stay. DBMC would also have no ability to provide ths medication: they are not a

24   medical hospital.

25
     164. This $11,781.97 bill lists insurance as "Medicare Psych:' However. DOCTORS MEDICAL
26
     CENTER OF MODESTO, which never treated plaintiff, and which plaintiff never visited, is not
27

28                                                          50
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 54 of 189 Page ID
                                   #:66
                                                      I




 1 a psychiatric facility. Instead, plaintiff's caotors held her as a orisoner in Doctors Behavioral
 2
     Health Center (DBHC) in Modesto, an unaccredited facility, from August 30, 2019 to September
 3
     3, 2019. The DOCTORS MEDICAL CENTER billing constitutes a fraudulent attempt to collect
 4
     for time plaintiffs captors forced her to spend, against her will, at a different facility, and to
 5

 6   finance other racketeering activities, including the commission of violent crimes, in violation of

 7   18 USC section 1959. On information and belief, plaintiffs investigation shows that Doctors
 8
     Behavior Health Center is not a legal entity, not an accredited facility, and billed under a different
 9
     name. Medicare denied this billing in its entirety, leaving only plaintiffs deductible, in the
10

11   amount of $1,364.00. Plaintiff never paid this money.

12   165. On October 22, 2019, and November 25, 2019, DOCTORS MEDICAL CENTER sent

13   plaintiff a bill for her deductible, in the amount of $1,364.00. DOCTORS sent a third bill on
14
     December 16, 2019, and a fourth, dated 1-20-2020. Plaintiff never paid anything on this bill.
15
     These charges constitute access device fraud, since defendants used her social security number
16

17   (at that time, no longer used by Medicare) to submit this billing to Medicare, without her

18   permission, and without medical cause. The use of the U.S. mail to to send fraudulent billings

19   also constitutes federal mail fraud. All of the fraudulent bills repeatedly mailed to plaintiff show
20
     an open-ended continuity of crime, with ongoing threats of continuing criminal activity.
21
     consisting in part of federal mail fraud.
22
23   166. In addition, DOCTORS ignored Medicare requirements for a purported psychiatric stay.

24   Federal law required DBHC to establish a medical need for psychiatric services in order to
25   submit billings to Medicare." DBHC failed to submit such certification, and Medicare denied
26
             2
27           42 USC section 1395f(a), (1 ), (A).

28                                                        51
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 55 of 189 Page ID
                                  #:67


 1
     their claim in its entirety. No one provided plaintiff behavioral social services, nor nursing care,
 2
     neither of which she needed.
 3
     167. Aside from the time of her forced entry early Saturday morning, August 31, 2019, during
 4
 5 which time DBHC employees harassed and frightened plaintiff, while holding her against her

 6 will, at gunpoint, the staff paid little attention to plaintiff. Her captors jailed plaintiff in Doctors

 7 Behavioral Health Center, located at 1505 Claus Road, Modesto, California, a different address

 8
     from DOCTORS MEDICAL CENTER, at 1441 Florida Avenue, Modesto, CA 95350.
 9
     168. Medicare requires certification and re-certification by a physician for inpatient psychiatric
10
11   services to Medicare beneficiaries. A physician must provide the initial certification at the time

12 of admission or as soon thereafter as is reasonable and practicable, documenting that the inpatient

13 psychiatric hospitalization is reasonably and medically necessary for treatment expected to

14
     improve the patient's condition, or for a diagnostic study. 3 No doctor ever provided any such
15
     certification, and Defendants and co-conspirators billed some charges to Medicare as medical
16

17 hospitalization, not psychiatric hospitalization, charges. No one hospitalized plaintiff at

18 DOCTORS MEDICAL CENTER, located at a completely different address, and plaintiff has

19 never been in that hospital. In addition, until the very end of her incarceration in DBHC, she

20
     never saw a doctor4, and observed no doctors in the _hospital over that holiday week-end.
21
     169. Under federal Medicare law," the term "psychiatric hospital" means an institution which 1)
22
23   is primarily engaged in providing, by or under the supervision of a physician, psychiatric services

24

25           3
                 CMS.gov, "Inpatient Psychiatric Services" (Centers for Medicare & Medicaid Services)
26          4
             Ms. X now believes that the woman purporting to be a psychiatrist, Evelyn Edelmuth,
27   was not a medical doctor at all.

28                                                     52
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 56 of 189 Page ID
                                  #:68


 1
     for the diagnosis and treatment of mentally ill persons; and ... [3] maintains clinical records on all
 2
     patients and maintains such records as the Secretary finds to be necessary to determine the degree
 3
     and intensity of the treatment provided to individuals entitled to hospital insurance benefits under
 4
 5 Part A ... " 5

 6 170. Although DBHC sent a hospital bill to Medicare, billing through DOCTORS MEDICAL
 7
     CENTER, plaintiff received no psychiatric services, whatsoever, nor did she see any doctors6,
 8
     until the very end of her stay. Plaintiff did not need psychiatric services, and her captors used this
 9
     facility as a place of kidnapping. Further, this facility maintained no clinical records on her stay.
10

11 This facility did not qualify as a psychiatric hospital under Medicare law, rendering it a jail for

12 her captors' purposes. Submission of medical bills in connection with the kidnapping crimes also

13 constitutes health care fraud, carrying a ten-year sentence. 7

14
     171. All medical bills submitted to Medicare covering the dates of August 30 to August 31, and
15
     September 2 to September 3, 2019 violated federal law, allowing reimbursement for actual costs
16
        8
17 only. These facilities incurred no actual costs, because plaintiff never became a patient in these

18 hospitals, nor did any emergency vehicle render services, and co-conspirators submitted

19 fraudulent bills. Her captors used vans, which plaintiff recalls stepping out of, to transport an

20
     unconscious plaintiff, in violation of 18 USC sectiop 1958. Notably, none of the bills include
21

22
              5
23                42 USC section 1395x[c].
              6
24           Ms. X believes she never saw any doctors at all during her incarceration at this facility,
     and that Edelmuth was not a medical doctor.
25
              7
26                18 USC section 1347(a), (1), (2),
              8
27                42 USC section 1395x(v)(l)(A).

28                                                      53
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 57 of 189 Page ID
                                   #:69




 2
     morning, August 31, 2019, to Tuesday afternoon, September 3, 2019.
 3
     172. In addition, Doctors Behavioral Health Center, an unaccredited facility, failed to meet the
 4
     definition of an acute psychiatric hospital, a health facility with an organized medical staff that is
 5

 6   supposed to provide "24-hour inpatient care for persons with mental health disorders .. .including

 7   the following basic services: medical9, nursing, rehabilitative, pharmacy, and dietary services." 10
 8
     During her five-day incarceration, she never saw a doctor. Evelyn Edelmuth, who met with
 9
     plaintiff just prior to plaintiff_s release on the afternoon of Tuesday, September 3, 2019, may not
10

11   be a medical doctor; the California Medical Board removed Edelmuth's name from their website

12   for some period of time, and then mysteriously added it again.

13   173. Plaintiff later received a bill from Doctors Behavioral Health Center, not a legal entity, and
14
     not an accredited facility, for the purported services of Evelyn Edelmuth, M.D., on September 3,
15
     2019, the day of plaintiffs release. The bill totaled $450.00, with an alleged $175.00 paid by
16
17   insurance. The mailing of this fraudulent billing constituted federal mail fraud. The bill reflects

18   adjustments in the amount of $229 .65. Plaintiff has no record of Medicare paying any part of this

19
     bill. The bill, dated October 14, 2019, and mailed to plaintiff. attempted to collect $44.79.
20
     Plaintiff denied payment. Edelmuth' s billing reflects that, even if she qualified as a medical
21
     doctor, she saw plaintiff only once during her incarceration, just before plaintiffs release on the
22
23   afternoon of September 3, 2019. This one-time visit fails to meet Medicare requirements for this

24

25           9
            '·Medical" is not defined in the Health & Safety Code, but means ··of. relating to, or
26   concerned with physicians or the practice of medicine." Merriam Webster Dictionary
             1
27               °California Health & Safety Code section l 250(b)

28                                                     54
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 58 of 189 Page ID
                                  #:70




 1

 2
     174. DBHC sent the $44.79 billing to a collection agency, Rash Curtis & Associates, in
 3
     Vacaville, CA, who mailed plaintiff a bill in the amount of $46.43 (apparently including interest
 4

 5 charges) on January 15, 2020. Plaintiff disputed this billing as fraud, and Rash Curtis dropped the
 6   bill.

 7   175. On March 13, 2020, Medicare issued a Summary Notice covering the time period of 12-14-
 8
     2019 to March 13, 2020, reflecting a submission of DOCTORS MEDICAL CENTER billing, in
 9
     the total amount of $15,918.57. DOCTORS billed for services allegedly provided on August 30,
10

11   2019 to August 31, 2019. This notice reflects DOCTORS' address as 825 Delbon Avenue,

12   Turlock CA 95382, actually the street address for Emanuel Hospital, not a legal entity, and

13   unaccredited. Plaintiff was never a patient at Emanuel. The Notice from Medicare reflects
14
     charges made for the following alleged services: 1) IV-solutions, $192.67; 2) Insertion of needle
15
     into vein for collection of blood sample-$121.15; 3) blood test comprehensive group of blood
16

17   chemicals-$1,836.75; 4) testing for presence of drug-$465.14; 5) complete blood cell

18   count-$501.48; 6) manual urinalysis test with examination using microscope-$649. 71; 7)

19   hydration infusion into a vein 31 minutes to 1 hour-$2,268.89; 8) Emergency department visit,
20
     problem with significant threat to life or function--$9,066.06; 9) non-covered item or
21
     service-$193 .82; 10) routine electrocardiogram-$622.00. Medicare paid nothing on this billing.
22
23   The submission of this fraudulent billing constitutes access device fraud.

24   176. Plaintiff received repeated fraudulent billings, showing an open-ended continuity of crime,
25   including federal mail fraud, mailed to plaintiff from Emanuel Hospital, dated December 3.
26
     2019. and January 2, 2020 in the amount of $4,433.00, for services allegedly rendered from
27
28                                                    55
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 59 of 189 Page ID
                                   #:71




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 2
     money on a claim denied by Medicare. Plaintiff paid nothing on this hill, sent via {J.S. mail, nor
 3
     did she ever enter this hospital as a patient, or visitor. The billing reflected a purported
 4
     "insurance adjustment" of $11,485.57, subtracted from $15,918.57, with an alleged balance of
5

 6 $4,443.00. Medicare paid nothing on this bill.
 7   177. While allegedly in Emanuel Hospital, Robert Barandica, M.D., briefly met with plaintiff.
 8
     Plaintiff believes this meeting took place in a private home, not a hospital. Barandica stated,
 9
     "You look pretty good for someone thrown out of an airplane." Barandica then billed Medicare
10

11   for $988.00, charging $940.00 for his alleged examination, described as "Emergency Department

12   High Severity."' This billing, dated May 6, 2020 (some eight months after the kidnapping) came

13   via U.S. Mail (additional federal mail fraud) through CEP America, a company originated by
14
     emergency room physicians. CEP is part of "Virtuity", a large health care company. The billing
15
     shows Medicare allowed $146.45, leaving a balance of $36.83, which plaintiff never paid.
16

17   Plaintiff has no record of any billings submitted to Medicare.

18   178. On June 14, 2021, plaintiff filed a complaint against Emanuel Hospital "vith the California

19   Department of Public Health in Fresno, California. Plaintiff never received a response; this letter
20
     probably became the subject of federal mail theft.
21
     179. On July 26, 2021, nearly two years after the kidnapping, Westside Community Ambulance,
22
23   c/o Quick Med Claims, Pittsburgh, PA, mailed plaintiff a billing in the total amount of

24   $5,876.00, claiming Advanced Life Support ambulances charges in the amount of $3,000.00,
25   ambulance mileage in the amount of $2,576.00, and a night charge in the amount of $300.00.
                                                                                                                                                                                    I
26
     The bill, another count of federal mail fraud, claims a date of service on August 30, 2019. The
27

28                                                                                                                          56
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 60 of 189 Page ID
                                   #:72




 1   billing also claims Medicare paid $371.02, and $243.14 as "other oavments." Out of a billin2:
 2
     allegedly totalling nearly $6,000.00, Westside sought $169.00 from plaintiff. Plaintiff's Medicare
 3
     records show no payments to this business, and Medicare billings submitted after one year
 4
     following the alleged services are disallowed. Westside alleged they transported plaintiff to
 5

 6   Emanuel, an unaccredited facility, at plaintiff's request. Plaintiff never made any such request,

 7   and had no communications whatsoever with anyone working for Westside. Westside also falsely
 8
     claimed that plaintiff had been a patient at Emanuel in the past.
 9
     180. On August 16, 2021, after receiving a series of telephone calls from "Quick Med Claims·',
10

11   (all federal wire fraud) in Pittsburgh PA, plaintiff filed a complaint with the Pennsylvania

12   Attorney General. After writing to the Pennsylvania Attorney General, Plaintiff then received two

13   billings from a collection agency, Credence, in Dallas, TX, dated October 1, 2021 and 11-17-
14
     2021, and all constituting federal mail fraud. Plaintiff disputed these charges in wTiting. On
15
     October 12, 2021, plaintiff also reported Credence to the Texas Attorney General, and received
16

17   only a form letter in response.

18   181. As the probable result of bribery, the Pennsylvania AG's office diverted plaintiffs

19   complaint into a "mediation", without plaintiff's participation. On December 9, 202 L more than
20
     two years post-kidnapping, Westside Ambulance submitted a report to the AG via facsimile.
21
     (federal wire fraud) detailing alleged events of August 30, 2019. Their "Patient Care Report"
22
23   claims they transported plaintiff to Emanuel Hospital in Turlock, California. Plaintiff was a

24   "knocked-out victim" most of the evening of Friday, August 30, 2019 to Saturday morning,

     August 31, 201 9. as alleged in paragraphs 110 through 115, and incorporated herein by reference.
26
     The events as portrayed by Westside did not take place, and Westside submitted false statements
27

28                                                    57
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 61 of 189 Page ID
                                   #:73




 1

 2
     182. Plaintiff alleges that Robert Barandica, M.D., who submitted a billing for alleged (and false)
 3
     emergency care, purported at Emanuel, and possibly other doctors, maintained plaintiff in a
 4
     mostly unconscious condition during the evening of August 30, 2019 to the early morning hours
 5

 6   of August 31, 2019.

 7   183. On the night/early morning of August 30, 2019 to August 31, 2019, Plaintiff specifically
 8
     recalls three periods of consciousness, the first two very brief: I) stepping out of a van, when a
 9
     CHP officer stated, "You've been altered"; 2) while dressed in a hospital gown, lying on a
10

11   gurney, when Barandica stated, "you look pretty good for someone thrown out of an airplane'',

12   and 3) stepping out of the middle of a van, in the back of Doctors Behavioral Center, in the

13   middle of the night, August 31, 2019. A medical doctor would have rendered plaintiff repeatedly
14
     unconscious throughout the night. On information and belief, plaintiff alleges an
15
     anesthesiologist, such as Doctors Henry, Daar, Sheth, or Johnson, who had committed crimes
16

17   against plaintiff in the past, may have acted as her attacker or attackers, repeatedly rendering

18   plaintiff unconscious, then waking her, without plaintiffs awareness. Accomplishing these

19
     extremely dangerous states, would require considerable expertise, and an anesthesiologist would
20
     have had these qualifications, used to commit crime in this case. These physicians may have also
21
     ridden in the van which transported plaintiff to Doctors Behavioral Center. Plaintiff alleges that
22

23   co-conspirators Johnson, Ford, and Costner also occupied the van, along with an unconscious

24   plaintiff.

25
     184. In June, 2022, plaintiff received a Medicare Summary Notice reflecting a re-submission of
26
     DOCTORS MEDICAL CENTER billing, in the total amount of $15,918.57. DOCTORS billed
27
28                                                     58
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 62 of 189 Page ID
                                   #:74




 1

 2
     reflects DOCTORS' address as 825 Delbon Avenue, Turlock CA 95382, actually the street
 3
     address for Emanuel Hospital, not a legal entity. Medicare paid nothing on this billing, which
 4
     someone resubmitted without plaintiffs knowledge or consent, again using her Medicare
 5
 6   number. This constitutes further access device fraud.

 7   RICO CONSPIRACY ( 18 USC SECTION 1962 [d])
 8
     185. As set forth above, defendants DOCTORS MEDICAL CENTER OF MODESTO, INC., and
 9
     TENET CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA,
10

11   and the other co-conspirators associated with this enterprise agreed and conspired to violate 18

12   USC section l 962(c]; that is, agreed to conduct and participate, directly and indirectly, in the

13   conduct of the affairs of the kidnapping/murder and health care fraud enterprises through a
14
     pattern of racketeering activity, in violation of 18 USC section 1962(d].
15
     186. Defendants DOCTORS MEDICAL CENTER OF MODESTO, INC., TENET
16

17   CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA and co-

18   conspirators committed and caused to be committed a series of overt acts in furtherance of the

19   conspiracy and to effect the objects thereof, including but not limited to the acts set forth above.
20
     187. As a proximate result of defendants' and co-conspirators' violations of 18 USC section
21
     1962[d], plaintiffs Medicare benefits were stolen, fraudulent claims submitted to Medicare, and
22
23   mailed to plaintiff, and the Medicare premiums indirectly financed bribery, and the other

24   predicate acts, including health care fraud, kidnapping, wire fraud, mail fraud, access device

25
     fraud, money launder, bank fraud, and violent crimes committed in aid of racketeering in
26
     violation of 18 USC section 1959. Defendants also stole plaintiffs personal property including
27

28                                                     59
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 63 of 189 Page ID
                                   #:75




 2
     188. As a direct and proximate result of the conspiracy, between and among Defendants
 3
     DOCTORS MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA, RAY STONE,
 4

 5   INC., REGENTS OF UNIVERSITY OF CALIFORNIA and co-conspirators, plaintiff suffered

 6   damages, in an amount to be determined at the time of trial. Pursuant to RICO, 18 USC section

 7   1964[ c], plaintiff is entitled to recover threefold her damages, plus costs.
 8
            WHEREFORE plaintiff prays judgment as set forth below.
 9
                                       FOURTH CAUSE OF ACTION
10
ll   CIVIL RICO (18 USC §1964[c]): HEALTH CARE FRAUD (18 USC SECTION 1347; MAIL

12   FRAUD (18 USC SECTIONS 1341; 1961; 18 USC section 1029(e)(l); (2)-(3). ACCESS

13   DEVICE FRAUD (18 USC SECTION 1961;18 USC section 1029(e)(l); (2)-(3); BRIBERY (18
14
     USC SECTION 1961); CA Penal Code§ 641.3 (Commercial Bribery): MONEY
15
     LAUNDERING 18 use§ 1956; BANK FRAUD (18 USC§ 1344); KIDNAPPING
16

17     (AGAINST DEFENDANTS REGENTS OF UNIVERSITY OF CALIFORL'\JIA, DOCTORS

18   MEDICAL CENTER OF MODESTO, TENET CALIFORNIA. STANFORD HEALTH CARE)
19
     189. Plaintiff repeats and realleges paragraphs 1 through 188, and incorporates same by
20
     reference herein, as though set forth in full.
21
     PATTERN OF RACKETEERING ACTIVITY:
22
23   190. On or about March 20, 2020, plaintiff suffered a second severe injury to her lower back. On

24   March 28, 2020, plaintiff sought treatment at the emergency room at STANFORD HEAL TH
25
     CARE in Palo Alto, California. Plaintiff suffered pain so excruciating she could hardly move. In
26
     the Emergency Room, plaintiff purportedly underwent an MRI. Kelly Nicole Roszczynialski,
27

28                                                      60
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 64 of 189 Page ID
                                   #:76



 1   M.D., diagnosed plaintiffs condition as "lumbar radiculopathy," the same condition allegedly
 2
     diagnosed by UC DA VIS and UCSF physicians. No one signed the radiology report, and Kelly
 3
     Nicole Roszczynialski, M.D., an emergency medicine physician, is not a radiologist. Upon
 4
     leaving the hospital, a hospital employee gave plaintiff a brochure with information about a
 5

 6   "herniated disc." However, Roszczynialski, M.D., had not diagnosed this condition.

 7   191. STANFORD submitted a $25,000 bill to Medicare. Accordingly to their bill, STANFORD
 8
     personnel performed the MRI "with and without contrast." No one ever injected plaintiff, awake
 9
     and conscious at all times, with contrast dye during the alleged MRI. Out of a $25,000 bill,
10

11   STANFORD charged $11,000 for a purported MRI. Medicare paid approximately $1,000.00

12   toward the entire bill. Although plaintiff suffered excruciating pain, and could barely move.

13   STANFORD released plaintiff from the hospital without pain medication, and without offering
14
     plaintiff any other services, including consultation with a surgeon, while plaintiff visited the
15
     emergency room.
16

17   192. STANFORD billed Medicare for services never rendered to plaintiff, including any type of

18   magnetic resonance imaging (MRI), committing access device fraud and health care fraud. all

19
     predicate acts under RICO. All of this formed part of the conspiracy to pretend to provide health
20
     care to plaintiff, but to commit fraud, including the failure to perform an MRI, a critical
21
     diagnostic procedure, and the failure to provide accurate diagnoses, and to ·'dump" plaintiff as a
22
23   patient. showing an open-ended continuity of crime, and the ongoing threat of future and

24   continuing criminal activity.

25
     193. On May 21, 2021, plaintiff wrote to Stanford CEO, David Entwhistle, regarding concerns
26
     about her emergency room visit. She received no response from him, and on information and
27
28                                                     61
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 65 of 189 Page ID
                                   #:77




 1 belief alleges the letter became another subiect of federal mail theft.

 2
     194. On September 16, 2021, plaintiff wrote to the following addressees: 1) Joshua Adler, M.D.,
 3
     UCSF; 2) Mark Laret, CEO., UCSF; 3) Rod Hochman, M.D., President and CEO, Providence
 4

 5   Medical Foundation, 4) Doug McMillion, CEO, Walmart, Inc., 5) David Entwhistle, CEO,

 6   Stanford. These letters listed the following suspects for crimes committed against plaintiff and

 7   those businesses 1) Kevin Costner; 2) Don Johnson, 3) Harrison Ford, and 4) Spencer Wright.
 8
     Plaintiff received no response from any of the addressees, and believes each copy of this letter
 9
     became the subject of federal mail theft.
10

11   195. On July 25, 2022, plaintiff sent a follow-up to David Entwhistle, CEO, Stanford, via

12   certified mail, return receipt requested. Plaintiff never received a response to this letter, nor did

13   she receive the return receipt in the mail. On information and belief, plaintiff alleges all of these
14
     letters also became the subjects of federal mail theft, to prevent corporate officials from learning
15
     of these crimes.
16

17   196. As a direct and proximate result of defendants' illegal conduct as alleged herein, plaintiff

18   suffered damages to her property in that defendants fraudulently billed plaintiff: and Medicare
19
     benefits and Medicare number (plaintiffs property); plaintiffs Medicare premiums (also her
20
     property) were used to finance access device fraud, and health care fraud. in violation of these
21
     statutes, both predicate acts under RICO. In short, defendants converted plaintiffs' Medicare
22

23   premiums and benefits into health care fraud and access device fraud. Defendants also stole

24   plaintiffs personal property, including her pets, her car, and intellectual property. Plaintiff has
25
     also suffered permanent disability as a result of the ·'health care fraud and violent crimes in aid of
26
     racketeering activity"" enterprise.
27
28                                                     62
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 66 of 189 Page ID
                                   #:78




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 2
     197. As set forth above, defendants STANFORD HEALTH CARE, DOCTORS MEDICAL
 3
     CENTER OF MODESTO, TENET CALIFORNIA, REGENTS OF UNIVERSITY OF
 4

 5 CALIFORNIA, and the other co-conspirators associated with the kidnapping/murder and health
 6   care fraud enterprises, agreed and conspired to violate 18 USC section 1962[c]; that is, agreed to

 7   conduct and participate, directly and indirectly, in the conduct of the affairs of the
 8
     kidnapping/murder and health care fraud enterprises through a pattern of racketeering activity,
 9
     and violent crimes in aid ofracketeering actvity, in violation of 18 USC section 1962[d] and 18
10

11   USC section 1959(a).

12   198. Defendants STANFORD HEAL TH CARE, DOCTORS MEDICAL CENTER OF

l3   MODESTO, TENET CALIFORNIA, REGENTS OF UNIVERSITY OF CALIFORNIA,
14
     STANFORD HEALTH CARE and co-conspirators committed and caused to be committed a
15
     series of overt acts in furtherance of the conspiracy and to effect the objects thereof. including but
16
17   not limited to the acts set forth above.

18   199. As a result of defendants· and co-conspirators' violations of 18 USC section 1962[ d],

19   plaintiff was denied, and lost, all fraudulently billed benefits from Medicare. In addition.
20
     plaintiffs Medicare premiums indirectly financed bribery, and other predicate acts. including
21
     health care fraud, access device fraud, mail fraud and wire fraud.
22
23   200. As a direct and proximate result of the conspiracy. between and among STANFORD

24   HEAL TH CARE, DOCTORS MEDICAL CENTER OF MODESTO, TENET CALIFORNIA,
25
     REGENTS OF UNIVERSITY OF CALIFORNIA, and co-conspirators, plaintiff suffered
26
     damages, in an amount to be proven/ determined at the time of trial.
27

28                                                             63
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 67 of 189 Page ID
                                   #:79




 1   201. Pursuant to RICO, 18 USC section 1964rcl, plaintiff is entitled to recover threefold her
 2
     damages plus costs.
 3
            WHEREFORE plaintiff prays judgment as set forth below.
 4

 5                                      FIFTH CAUSE OF ACTION

 6     CIVIL RICO (18 USC §1964[c]): PREDICATE ACTS: BRIBERY, MAIL FRAUD, WIRE

 7   FRAUD, KIDNAPPING, USE OF INTERSTATE COMMERCE FACILITIES IN THE
 8
     COMMISSION OF MURDER FOR HIRE [18 USC section 1958(a)]; AND CRIMINAL
 9
     COPYRIGHT INFRINGEMENT 17 USC section 106(3), 17 USC section 506(a)(l)(A); 18 USC
10
ll   section 1961, 18 USC section 2319; MONEY LAUNDERING (18 USC section 1956);

12   BANK FRAUD (-18 USC section 1344)

13   (AGAINST DEFENDANTS DIGNITY HEALTH MEDICAL FOUNDATION,
14
     TENET CALIFORNIA, DOCTORS HOSPITAL OF MODESTO, INC., RAY STONE, INC.,
15
     REGENTS OF lJNIVERSITY OF CALIFORNIA, STANFORD HEAL TH CARE)
16
l7   202. Plaintiff repeats and realleges paragraphs 1 through 201, and incorporates same by reference

18   herein, as though set forth in full. Plaintiff further alleged that the co-conspirators and defendants

19
     herein accepted bribes from other co-conspirators, including Kevin Costner, Don Johnson, and
20
     Harrison Ford, as inducements to enter into the "Health Care Fraud'', and ·•Kidnapping /Murder
21
     for Hire " Enterprises described herein.
22
23   203. During the relevant time periods, defendants and plaintiff were and are each a ·'person'', as

24   this term is defined in 18 USC section 1961 [3]. During the relevant time periods, plaintiff was a
25
     person injured in her business or property, by reason of a violation of RICO within the meaning
26
     of 18 USC section 1964[c], and through the misuse and theft of health care insurance funds, and
27

28                                                     64
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 68 of 189 Page ID
                                   #:80




 1 theft of personal and intellectual property. The overarching purpose of the "Kidnapping/Murder
 2
     Enterprise", as part of the "Health Insurance Enterprise": to murder plaintiff, and place plaintiffs
 3
     life in constant jeopardy, while billing Medicare for services purportedly rendered, billing and
 4
     using plaintiffs Medicare benefits for procedures and tests never performed, and services never
 5

 6   provided. Defendants also stole plaintiffs personal property, consisting of her pets, her car, and

 7   intellectual property. Plaintiff alleges a continuing conspiracy between and among these
 8
     defendants, pursuant to 18 USC section 1964[d], commencing in or about 2014 and continuing.
 9
     Plaintiff further alleged that the co-conspirators and defendants herein accepted bribes from other
10

11   co-conspirators, including Kevin Costner, Don Johnson, and Harrison Ford, as inducements to

12   enter into the "Kidnapping/Murder Enterprise" and Health Care Fraud Enterprise'' described

13   herein.
14
     PATTERN OF RACKETEERING ACTIVITY:
15
     204. As set forth below, to carry out, or attempt to carry out, its scheme to defraud, and deprive
16

17   plaintiff of health care benefits, and health care, defendants have engaged in the foltowing pattern

18   of racketeering activity:

19   205. As alleged in paragraphs 107 through 139, and incorporated by reference herein, plaintiff
20
     was a kidnap victim from August 30, 2019 to September 3, 2019, at an apparently unaccredited
21
     facility purportedly part of D OCTORS MEDICAL CENTER of MODESTO, and owned by
22
23   TENET CALIFORNIA.

24   206. On June 18, 2020, plaintiff met with Sidney Sup it, M.D., of Mercy Medical Group in

     Sacramento, part of DIGNITY HEAL TH. Plaintiff had scheduled an appointment to discuss her
26
     recent back injury, which occurred in March, 2020.
27

28                                                    65
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 69 of 189 Page ID
                                   #:81




 2
     possible referral to an endocrinologist. Supit sent her for an x-ray of her back, and ordered blood
 3
     tests. Plaintiff received a referral to Andrew Linn, a pain management specialist, with whom she
 4

 5 met in a virtual visit on June 20, 2020. Linn claims he discussed results of the x-ray with
 6   plaintiff; she has no recollection of this discussion. Although Linn discussed an MRI, when she

 7   called to schedule it, she was told it would take six weeks to get an appointment. Plaintiff
 8
     declined to schedule an appointment at that time. Linn's records do not show an order.for an
 9
     MRI. No appointment for a MRI with Mercy was ever scheduled.
10

11   208. The records sent to plaintiff from Supit's office show a synthetized list of of blood tests

12   purportedly performed. This list was prepared on April 30, 2021, after plaintiff requested records,

13   on April 9, 2021. The blood test results from Quest Labs show high cholesterol values. Although
14
     Supit' s records show an order for fasting blood sugar test, Quest records show a non-fasting
15
     blood sugar glucose test reflecting high blood sugar content.
16

17   209. No one from Supit's office ever contacted plaintiff about blood test results, and there is no

18   indication these test results were ever reviewed by anyone in Supif s office, or anyone else

19
     working at Mercy Medical Group. Plaintiff gave up on Supit and instead schedule a visit with
20
     another doctor, Lawrence Cooper M.D in Santa Rosa.
21
     210. On information and belief, Supit became part of the "Health Care Fraud/attempted murder
22

23   conspiracy", accepting bribes not to offer any medical care. At a later time, Van Nguyen., a

24   physician's assistant, wrote a number of prescriptions for plaintiff, without any supervision from

25
     Supit. Nguyen's name does not appear anywhere in the Mercy Medical Group records. Nguyen
26
     accepted bribes to issue these prescriptions.
27

28                                                     66
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 70 of 189 Page ID
                                   #:82



 1 211. Sup it's records do not show he ever wrote any prescriptions himself. Instead, a Physician's

 2
     Assistant, Van Nguyen, issued prescriptions for levothyroxine.
 3
     212. In California, a physician's assistant may prescribe drugs under the supervision of a
 4
     physician. 11 A PA also acts under a "Practice Agreement" which defines the medical services the
 5

 6   physician assistant is authorized to perform, as part of an organized health care system. 12

 7   213. The PA involved in plaintiff's case prescribed medication without supervision by a medical
 8
     doctor, in violation of the law. 13 In addition, California law requires performance of a medical
 9
     examination before a PA prescribes medication. 14 Plaintiff never met this physician's assistant,
10

11   and this PA never performed any examination.

12   214. Mercy Medical Group billed Medicare for the office visit. Plaintiff got nothing out of this

13   visit, nor was any diagnosis ever rendered by Supit's office. Records reveal no one reviewed her
14
     blood test results, and Mercy's records do not include copies of Quest Lab reports.
15
     215. As a direct and proximate result of defendants' illegal conduct as alleged herein, plaintiff
16
17   suffered damages to her property in that defendants fraudulently billed Medicare benefits and

18   Medicare number (plaintiff's property), and plaintiffs premiums (also her property) \Vere used to

19
     finance access device fraud, and health care fraud, in violation of these statutes, both predicate
20
     act under RICO, instead of medical care. In short, defendants converted plaintiffs· Medicare
21
     premiums and benefits into health care fraud and access device fraud. Defendants also stole her
22

23
             11
                  B & P section 3502.l[c]
24
             12
25                B & P sections 3501(k); 3502.3.
             13
26                B & P section 3502.1 [c].
             14
27                B & P section 3502(c)(2).

28                                                     67
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 71 of 189 Page ID
                                   #:83



 1 personal property, including her pets, her car, flash drives, and intellectual property. These

 2
     crimes show an open-ended continuity of crime, with ongoing threats of continuing criminal
 3
     activity. Although not compensable in this litigation, plaintiff has also suffered a serious
 4
     permanent disability as a result of the "health care fraud and violent crimes in aid of racketeering
 5
 6 activity" enterprise.

 7                          RICO CONSPIRACY (18 USC SECTION l 962[d])
 8
     216. As set forth above, defendant DIGNITY HEALTH and other co-conspirators associated
 9
     with this enterprise agreed and conspired to violate 18 USC section 1962(c]; that is, agreed to
10

11   conduct and participate, directly and indirectly, in the conduct of the affairs of the enterprise

12   through a pattern of racketeering activity, and violent crimes in aid of racketeering activity, in

13   violation of 18 USC section l 962[d] and 18 USC section l 959(a).
14
     217. Defendants DIGNITY HEALTH, STANFORD HEALTH CARE, TENET CALIFORNIA,
15
     RAY STONE INC., DOCTORS MEDICAL CENTER OF MODESTO, REGENTS OF
16
l7   UNIVERSITY OF CALIFORNIA and co-conspirators committed and caused to be committed a

18   series of overt acts in furtherance of the conspiracy and to effect the objects thereof, including but
19
     not limited to the acts set forth above.
20
     218. As a result of defendants' and co-conspirators' violations of 18 USC section l 962[d],
21
     plaintiff was denied, and lost, all fraudulently billed benefits from Medi Cal and Medicare. In
22
23   addition, the premiums indirectly financed bribery, and the other predicate acts, including health

24   care fraud and access device fraud.
25
     219. As a direct and proximate result of the conspiracy, between and among Defendant
26
     DIGNITY HEAL TH, STANFORD HEAL TH CARE, TENET CALIFORNIA, RAY STONE
27

28                                                     68
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 72 of 189 Page ID
                                   #:84




 1 INC .. DOCTORS MFDTCAL CFNTFR OF MODFSTO RFGFNTS OF TTNTVFRSTTV OF
 2
     CALIFORNIA, and co-conspirators, plaintiff suffered damages, in an amount to be proven/
 3
     determined at the time of trial.
 4

 5 220. Pursuant to RICO, 18 USC section 1964[c], plaintiff is entitled to recover threefold her
 6 damages plus costs.

 7           WHEREFORE plaintiff prays judgment as set forth below.
 8
                SIXTH CAUSE OF ACTION-PROVIDENCE MEDICAL FOUNDATION
 9
               CIVIL RICO (18 USC §1964[c])-- BRIBERY, WIRE FRAUD, MAIL FRAUD
10
11    CIVIL RICO (18 USC §1964[c]): PREDICATE ACTS: BRIBERY, KIDNAPPING, USE OF

12   INTERSTATE COMMERCE FACILITIES IN THE COMMISSION OF MURDER FOR HIRE
13   [18 USC section l 958(a)]; AND CRIMINAL COPYRIGHT INFRINGEMENT 17 USC section
14
     106(3), 17 USC section 506(a)(l)(A); 18 USC section 1961, 18 USC section2319; MONEY
15
     LAUNDERING (18 USC section 1956); BANK FRAUD (18 USC section 1344)
16
17 221. Plaintiff repeats and realleges paragraphs 1 through 220 and incorporates same by reference

18   herein,, as though set forth in full.
19   222. During the relevant time periods, defendants and plaintiff were and are each a --person'', as
20
     this term is defined in 18 USC section 1961 [3]. During the relevant time periods, plaintiff was a
21
     person injured in her business or property, by reason of a violation of RICO ,vi thin the meaning
22
23   of 18 USC section 1964[c], and through the misuse of health care insurance funds, theft of health

24   care insurance funds, and theft of personal and intellectual property. Plaintiff further alleged that
25
     the co-conspirators and defendants herein accepted bribes from other co-conspirators, including
26
     Kevin Costner, Don Johnson, and Harrison Ford, as inducements to enter into the ''Kidnapping
27

28                                                    69
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 73 of 189 Page ID
                                   #:85




 1   Fntemrise" clesc.rihecl herein

 2
     PATTERN OF RACKETEERING ACTIVITY:
 3
     223. As set forth below, to carry out, or attempt to carry out, its scheme to defraud, and deprive
 4
     plaintiff of health care benefits, and health care, defendants have engaged in the following pattern
 5
 6   of racketeering activity:

 7   224. As alleged in paragraphs 107 through 139, and incorporated by reference herein, plaintiff
 8
     was a kidnap victim from August 30, 2019 to September 3, 2019, at a facility purportedly part of
 9
     DOCTOR.S MEDICAL CENTER of MODESTO, and owned by TENET CALIFORNIA.
10

11   225. As alleged in paragraph 209, incorporated herein by reference, plaintiff gave up on Supit

12   and instead scheduled a visit with another doctor, Lawrence Cooper M.D, a physician employed

13   by St. Joseph Health Medical Group, part of PROVIDENCE MEDICAL FOUNDATION, m
14
     Santa Rosa, California, on April 15, 2021.
15
     226. At the time of her office visit, Cooper ordered blood tests. When plaintiff went to Quest
16

17   Labs for the tests, the lab informed her that Cooper had used codes and diagnoses for two tests,

18   one a test for diabetes, and the other for Vitamin D, that Medicare would not cover. Plaintiff

19   declined these tests.
20
     227. On or about April 28, 2021, plaintiff obtained and reviewed the blood test results from
21
     Quest Labs. Quest records showed numerous abnormal test results, including high glucose, high

23   cholesterol, high triglycerides. high LDL-Cholesterol, high red blood cell count, high

24   hemoglobin, and high hematocrit. No one from Cooper's office ever contacted plaintiff about
25   these tests results. Plaintiff also had extreme difficulty obtaining thyroid medication prescriptions
26
     from Cooper's office, and wrote several letters regarding same.
27

28                                                    70
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 74 of 189 Page ID
                                   #:86




 l   228. On May 8. 202L plaintiff wrote to Rod Hochman. CEO of PROVIDENCE. informin2: him
 2
     of the problems plaintiff had encountered with Dr. Cooper and St. Joseph Health Medical Group.
 3
     This letter mentioned plaintiffs problems with obtaining a prescription for levothyroxine, which
 4

 5   Cooper had not then provided. Plaintiff never received a response, and believes USPS employees

 6   stole the letter to Hochman.

 7   229. On June 19, 2021, plaintiff filed a complaint against St. Joseph Health Medical Group, part
 8
     of PROVIDENCE HEALTH FOUNDATION, with the Department of Public Health in Santa
 9
     Rosa, CA. Plaintiff never received a response and believes USPS employees also stole this letter.
10

11   230. On June 20, 2021, plaintiff filed a complaint against Cooper with the California Medical

12   Board. As alleged infra, the Board has never ruled on this complaint.

13   231. As a direct and proximate result of defendants' illegal conduct as alleged herein, plaintiff
14
     suffered damages to her property in that defendants fraudulently billed Medicare benefits and
15
     Medicare number (plaintiffs property), and plaintiffs premiums (also her property) were used to
16
17   finance access device fraud, and health care fraud, in violation of these statutes, both predicate

18   act under RICO. In short, defendants converted plaintiffs' Medicare premiums and benefits into

19
     health care fraud and access device fraud. Defendants also stole her personal property, including
20
     flash drives, intellectual property, pets, and car. Plaintiff has also suffered permanent disability as
21
     a result of the "health care fraud and violent crimes in aid of racketeering activity'" enterprise.
22

23                           RICO CONSPIRACY (18 USC SECTION 1962[d])

24   232. As set forth above, defendant Defendants STANFORD HEAL TH CARE, TENET
25
     CALIFORNIA. RAY STONE INC.. DOCTORS MEDICAL CENTER OF MODESTO.
26
     REGENTS OF UNIVERSITY OF CALIFORNIA, DIGNITY HEALTH, PROVIDENCE, and
27
28                                                      71
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 75 of 189 Page ID
                                   #:87




     other co-conspirators associated with this enterorise agreed and consoired to violate 18 USC
 2
     section 1962[c]; that is, agreed to conduct and participate, directly and indirectly, in the conduct
 3
     of the affairs of the health care fraud and kidnapping/murder enterprises through a pattern of
 4
     racketeering activity, and violent crimes in aid of racketeering actvity, in violation of 18 USC
 5

 6   section 1962[d] and 18 USC section 1959(a).

 7   233. Defendants STANFORD HEALTH CARE,TENET CALIFORNIA, RAY STONE INC.,
 8
     DOCTORS MEDICAL CENTER OF MODESTO, REGENTS OF UNIVERSITY OF
 9
     CALIFORNIA, DIGNITY HEAL TH, PROVIDENCE, and other co-conspirators associated with
10

11   this enterprise committed and caused to be committed a series of overt acts in furtherance of the

12   conspiracy and to effect the objects thereof, including but not limited to the acts set forth above.

13   234. As a result of defendants' and co-conspirators' violations of 18 USC section l 962[d],
14
     plaintiff was denied, and lost, all fraudulently billed benefits from Medicare. In addition, the
15
     premiums indirectly financed bribery, and the other predicate acts, including health care fraud
16

17   and access device fraud. Defendants also stole plaintiffs personal property, including her car,

18   her flash drives, her pets, and her intellectual property.

19   235. As a direct and proximate result of the conspiracy, between and among Defendants
20
     STANFORD HEALTH CARE, DIGNITY, TENET CALIFORNIA, RA. Y STONE INC.,
21
     DOCTORS MEDICAL CENTER OF MODESTO, REGENTS OF UNIVERSITY OF
22
23   CALIFORNIA, DIGNITY HEAL TH, PROVIDENCE, and other co-conspirators associated with

24   this enterprise, plaintiff suffered damages, in an amount to be proven/ determined at the time of
25
     trial.
26
     236. Pursuant to RICO, 18 USC section 1964[c], plaintiff is entitled to recover threefold her
27

28                                                      72
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 76 of 189 Page ID
                                   #:88




 1 damages plus costs.
 2
             WHEREFORE plaintiff prays judgment as set forth below.
 3
                                      SEVENTH CAUSE OF ACTION
 4
     CIVIL RICO (18 USC §1964[c]): PREDICATE ACTS: BRIBERY, [Commercial bribery, Penal
 5

 6   Code section 641.3]; KIDNAPPING, MAIL FRAUD, ACCESS DEVICE FRAUD, USE OF

 7   INTERSTATE COMMERCE FACILITIES IN THE COMMISSION OF MURDER FOR HIRE
 8
     [18 USC section l 958(a)]; AND CRIMINAL COPYRIGHT INFRINGEMENT 17 USC section
 9
     106(3), 17 USC section 506(a)(l)(A); 18 USC section 1961, 18 USC section 2319, MONEY
10
ll   LAUNDERING (18 USC section 1956); BANK FRAUD (18 USC section 1344)

12   AGAINST DEFENDANTS WALMART, INC., DOCTORS MEDICAL CENTER OF

13   MODESTO, INC., TENET CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY
14
     OF CALIFORNIA, DIGNITY HEALTH, PROVIDENCE, STANFORD HEALTH CARE
15
     23 7. Plaintiff repeats and realleges paragraphs 1 through 23 6, inclusive, and incorporates same
16

17   by reference, as though set forth in full herein. Plaintiff further alleged that the co-conspirators

18   and defendants herein accepted bribes from other co-conspirators, including Kevin Costner, Don

19   Johnson, and Harrison Ford, as inducements to enter into the ·'Kidnapping /Murder for Hire,,
20
     and ·'Health Care Fraud" Enterprises described herein.
21
     238. This cause of action asserts claims against defendants for violations of 18 USC section
22
23   1962[c] for conducting the affairs of the "Health Care Fraud Enterprise" and ·•Kidnapping/

24   Murder" Enterprise through a pattern of racketeering activity. Plaintiff alleges a continuing
25
     conspiracy between and among all of the defendants, commencing in or about July, 2014, and
26
     continuing into 2023.
27

28                                                      73
  Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 77 of 189 Page ID
                                    #:89




   l   PATTERN OF RACKETEERING ACTIVITY:
  2
       239. On December 3, 2020, Walmart Pharmacy on Marconi Avenue in Sacramento, California,
  3
       by a pharmacist with the initials, "AH", filled a prescription for plaintiff for levothyroxine, a
  4
       thyroid medication. No refills were given for this prescription, which plaintiff requested from the
  5

  6    provider, Sidney Supit, M.D., of Sacramento. A physician's assistant, Van Nguyen, who worked

  7    for Supit, authorized the prescription. Plaintiff never had any contact with Nguyen.
  8
       240. On March 29, 2021, the pharmacy ("ASC") filled a prescription for the same drug. Again,
  9
       no refills were given, but Van Nguyen of Supit's office authorized the prescription.
 10

 11    241. On April 15, 2021, plaintiff saw a new doctor, Lawrence Cooper, M.D., of Santa Rosa,

 12    California. In a follow up letter to Dr. Cooper, plaintiff requested prescriptions for two

 13    medications, including levothyroxine.
 14
       242. On May 7, 2021, plaintiff phoned the pharmacy to check on the status of the new
 15
       prescription for levothyroxine from Dr. Cooper. The pharmacy told plaintiff they had the
 16
 17    prescription and would prepare it for pickup.

· 18   243. Upon plaintiffs arrival, a clerk in the pharmacy gave plaintiff three small boxes of a

 19
       medication. The clerk stated they were out of levothyroxine. However, the name of the
 20
       medication on the boxes was apparently '·Erythrox." Plaintiff told the clerk she did not want this
 21
       and stated she wanted the usual generic for levothryoxine. At the time, plaintiff thought this was
 22
       a different generic for levothyroxine, which is generic for synthroid. As alleged infra, plaintiff

 24    later learned this drug was not a generic for synthroid, but an antibiotic medication, deliberately
 25
       switched by the pharmacy.
 26
       244. The clerk stated he was giving plaintiff the three boxes because they were out of the other
 27

 28                                                      74
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 78 of 189 Page ID
                                   #:90




 1 medication, which comes in a plastic bottle. Plaintiff stated again she would not accept the three

 2
     boxes. The pharmacist ,"JT", then told plaintiff he would fill the prescription in the plastic bottle.
 3
     However, the prescriber for this medication was not Dr. Cooper, but Dr. Supit, who again had a
 4

 5   physician's assistant, Van Nguyen, issue the prescription. Plaintiff did not ask for another

 6   prescription from Dr. Supit, but asked specifically about a new prescription from Dr. Cooper.

 7   Although plaintiff saw the name of the drug on the three boxes, plaintiff does not know who
 8
     allegedly prescribed this drug; i.e., whether it was Cooper, or Supit, or Physicians Assistant Van
 9
     Nguyen. Plaintiff did not expect another prescription from Dr. Supit, but a new prescription
10

11   from Cooper.

12   245. Plaintiff later learned that the drug used may have been erythrox. Plaintiff conducted

13   research and learned ··erythrox" is not a generic for levothyroxine, but a separate medication
14
     used for a different purpose. The pharmacy made the switch deliberately, a pharmacy that had
15
     filled the same prescription correctly on two prior occasions. Further, despite the clerk's claims
16
17   that plaintiff take the three small boxes, the pharmacist promptly filled the prescription using the

18   small plastic bottle. The manufacturer of the levothyroxine plaintiff was given on all three

19
     occasions is Alvogen.
20
     246. Levothyroxine is an essential medication for thyroid replacement therapy. Plaintiff suffers
21
     from hypothryoidism, and without this medication would eventually die. The pharmacy switched
22

23   the drug intentionally, and had plaintiff agreed to accept it would have suffered fatal results.

24   247. Defendant WALMART, INC uses either the U.S. mail or some other means of interstate or

25
     foreign commerce to obtain the drugs it sells at their pharmacies. In this case. defendants
26
     intended plaintiff to die as a result of the intentional switching of her usual medication.
27

28                                                     75
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 79 of 189 Page ID
                                   #:91



 1   previously dispensed by this pharmacy. Through the use of interstate commerce, defendants and
 2
     each of them planned plaintiffs murder, in violation of 18 USC section 1958(a).

     248. The personnel in the WALMART pharmacy, whom plaintiff identified by initials to
 4
     WALMART herein and the PHARMACY BOARD (as reflected on the prescriptions) accepted
 5
 6   bribes to switch this medication, hoping she would take it. On information and belief, plaintiff

 7   alleges WALMART pharmacists, experts in pharmacology, came up with a drug to try to
 8
     substitute for the levothyroxine they had previously dispensed.
 9
     249. On May 10, 2021, plaintiff wrote to Doug Mc Millon, CEO of Walmart, sending the letter
10

11   via Priority Mail. Plaintiff received no response from McMillon, but instead got a letter from the

12   WALMART Claims Department, concluding WALMART Pharmacy made no errors. Plaintiff

13   alleges theft or diversion of the McMillon letter, in violation of postal laws, and someone within
14
     the WALMART claims department accepted a bribe or bribes to write a letter denying plaintiffs
15
     claim. Personnel within that department would not have the expertise to analyze a
16
17   pharmaceutical case.

18   250. On June 21, 2021, plaintiff filed a complaint with the California Board of Pharmacy.

19   Plaintiff also filed a complaint with the Physicians Assistant Board on the same date. Jessica
20
     Cudmore, Pharm.D, an expert with a doctoral degree in pharmacology and an Inspector with the
21
     Pharmacy Board,, became involved in the case. She identified two similar drugs: "euthyrox", and
22

23   "ery1hrox". Only one, euthrox, is a generic for synthroid. Although Dr. Cudmore correctly

24   identified the problem, Cudmore disappeared from the case.

     251. On April 15, 2022, plaintiff received a letter from the California Pharmacy Board closing
26
     the case. Joshua Monforte, an "Enforcement Analyst", signed the letter closing the case,
27

28                                                    76
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 80 of 189 Page ID
                                   #:92




 1   allegedlv on behalf of Julie Ensel. Chief of Enforcement. On information and belief. nlaintiff
 2
     alleges Monforte and other personnel with the Pharmacy Board accepted bribes not to prosecute
 3
     this case.
 4
     252. The Physicians' Assistant Board acknowledged plaintiff's complaint, but never ruled on it.
 5

 6   RICO CONSPIRACY (18 USC SECTION 1962[d])

 7   253. As set forth above, defendants WALMART, DOCTORS MEDICAL CENTER OF
 8
     MODESTO, TENET CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY OF
 9
     CALIFORNIA, STANFORD HEALTH CARE, DIGNITY HEALTH CARE, PROVIDENCE,
10

11   and other co-conspirators associated with this enterprise agreed and conspired to violate 18 USC

12   section 1962[c]; that is, agreed to conduct and participate, directly and indirectly, in the conduct

13   of the affairs of the health care fraud and kidnapping/murder enterprises through a pattern of
14
     racketeering activity in violation of 18 USC section 1962[ d].
15
     254. Defendants W ALMART, DOCTORS MEDICAL CENTER OF MODESTO, TENET
16

17   CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA,

18   STANFORD HEAL TH CARE, DIGNITY HEALTH CARE. PROVIDENCE. and the co-

19
     conspirators committed and caused to be committed a series of overt acts in furtherance of the
20
     conspiracy and to effect the objects thereof, including but not limited to the acts set forth above.
21
     255. As a result of defendants' and co-conspirators' violations of 18 USC section 1962[d].
22
23   defendant stole plaintiffs Medicare benefits, submitted fraudulent claims to Medicare; the

24   premiums indirectly financed bribery, and the other predicate acts, including health care fraud,
25
     kidnapping. wire fraud, mail fraud, money laundering, bank fraud, and access device fraud.
26
     Defendants stole plaintiffs personal property, including her pets, flash drives, car. and
27

28                                                     77
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 81 of 189 Page ID
                                   #:93



 1 intellectual property. WALMART employees also stole and adulterated plaintiffs prescriptions.

 2
     256. As a direct and proximate result of the conspiracy, between and among Defendants
 3
     WALMART, DOCTORS MEDICAL CENTER OF MODESTO, TENET CALIFORNIA, RAY
 4
     STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA, STANFORD HEAL TH
 5

 6 CARE, DIGNITY HEALTH CARE, PROVIDENCE, and co-conspirators, plaintiff suffered

 7 damages, in an amount to be proven/ determined at the time of trial. Pursuant to RICO, 18 USC

 8
     section 1964[ c], plaintiff is entitled to recover threefold her damages plus costs.
 9
              WHEREFORE plaintiff prays judgment against defendants, and each of them, as set forth
10

11   below.

12                                     EIGHTH CAUSE OF ACTION

13      CIVIL RICO (18 USC§ 1964[c]): PREDICATE ACTS: BRIBERY [California Penal Code
14
     section 641.3 (Commercial Bribery] KIDNAPPING, MAIL FRAUD, WIRE FRAUD, ACCESS
15
     DEVICE FRAUD, USE OF INTERSTATE COMMERCE FACILITIES IN THE COMMISSION
16

17   OF MURDER FOR HIRE [18 USC section l 958(a)]; AND CRIMINAL COPYRIGHT

18   INFRINGEMENT 17 USC section 106(3), 17 USC section 506(a)(l)(A); 18 USC section 1961,

19   18 USC section 2319; MONEY LAUNDERING (18 USC section 1956); BANK FRAUD (18
20
     USC section 1344)
21
       AGAINST CALIFORNIA BOARD OF PHARMACY, DEFENDANTS WALMART, INC.,
22
23   DOCTORS MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA, RAY STONE,

24   INC., REGENTS OF UNIVERSITY OF CALIFORNIA, DIGNITY HEAL TH, PROVIDENCE,

25
     STANFORD HEALTH CARE
26

27

28                                                      78
   Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 82 of 189 Page ID
                                     #:94




  Il    PATTERN OF RACKETEERING ACTIVITY:
  2
        257. Plaintiff repeats and realleges paragraphs 1 through 256 and incorporates same by reference

        herein, as though set forth in full. Plaintiff further alleged that the co-conspirators accepted bribes
  4l
        from other co-conspirators, including Kevin Costner, Don Johnson, and Harrison Ford, as

        inducements to enter into the "Kidnapping /Murder for Hire" and "Health Care Fraud"

        Enterprises described herein.

        RICO CONSPIRACY (18 USC SECTION 1962[d])

        258. As set forth above, defendants DOCTORS MEDICAL CENTER OF MODESTO, TENET

        CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA,

        DIGNITY HEALTH, PROVIDENCE, STANFORD HEALTH CARE, WALMART,

        PHARMACY BOARD, and the other co-conspirators associated with this enterprise agreed and

        conspired to violate 18 USC section 1962[c]; that is, agreed to conduct and participate, directly

        and indirectly, in the conduct of the affairs of the health care fraud and kidnapping/murder

        enterprises through a pattern of racketeering activity in violation of 18 USC section 1962[d].

        259. Defendants DOCTORS MEDICAL CENTER OF MODESTO, TENET CALIFORNIA

        RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA, STANFORD HEALTH

        CARE, DIGNITY HEAL TH, PROVIDENCE, W ALMART, PHARMACY BOARD and the co-

        conspirators committed and caused to be committed a series of overt acts in furtherance of the

        conspiracy and to effect the objects thereof, including but not limited to the acts set forth above.

2'41-   260. As a result of defendants' and co-conspirators' violations of 18 USC section l 962[d],
w;
        plaintiffs Medicare benefits were stolen, fraudulent claims submitted to Medicare. and the
~
        premiums indirectly financed bribery, and the other predicate acts, including health care fraud,


                                                           79
      Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 83 of 189 Page ID
                                        #:95




   ll   kidnaooin2:. wire fraud. mail fraud. use of interstate commerce facilities in the commission of
  2!
        murder for hire [18 USC section 1958(a)]; and access device fraud. Defendants also stole
  33
        plaintiffs personal property, including her pets, her car, flash drives, and intellectual property.
  41-
        WALMART employees stole and adulterated plaintiffs prescriptions.
  i
  «>    261. As a direct and proximate result of the conspiracy, between and among Defendants.

  11    DOCTORS MEDICAL CENTER OF MODESTO, INC.. TENET CALIFORNIA, RAY
  $
        STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA, STANFORD HEALTH
  ~

n@ CARE, DIGNITY HEALTH, PROVIDENCE, WALMART, PHARMACY BOARD, and co-
nn · conspirators, plaintiff suffered damages, in an amount to be determined at the time of trial.
@       Pursuant to RICO, 18 USC section l 964[c], plaintiff is entitled to recover threefold her damages

11]     plus costs.
114i
                 WHEREFORE plaintiff prays judgment against defendants, and each of them, as set forth
ru;
        below.
11(§)

U71                                        NINTH CAUSE OF ACTION

u~      CIVIL RICO (18 USC §1964[c]): PREDICATE ACTS: BRIBERY [California Penal Code

u~      section 641.3 (Commercial Bribery] KIDNAPPING, MAIL FRAUD, WIRE FRAUD, ACCESS
:m>
        DEVICE FRAUD, USE OF INTERSTATE COMMERCE FACILITIES IN THE COMMISSION
~11
        OF MURDER FOR HIRE [18 USC section 1958(a)]; AND CRIMINAL COPYRIGHT
11-
n       INFRINGEMENT 17 USC section 106(3), 17 USC section 506(a)(l)(A); 18 USC section 1961,

~       18 USC section 2319; MONEY LAUNDERING (18 USC section 1956); BANK FRAUD (18
~
        USC section 1344)
~
                 AGAINST DEFENDANTS CALIFORNIA PHYSICIANS ASSISTANT BOARD,
1J1
~                                                         80
  Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 84 of 189 Page ID
                                    #:96




  n    PHARMACY BOARD, WALMART, INC., DOCTORS MEDICAL CENTER OF MODESTO,
 2
       INC., TENET CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY OF

       CALIFORNIA, DIGNITY HEALTH, PROVIDENCE, STANFORD HEALTH CARE
 41-
 j     PATTERN OF RACKETEERING ACTIVITY:

 ~     262. Plaintiff repeats and realleges paragraphs 1 through 261 and incorporates same by reference

 71 herein, as though set forth in full. Plaintiff further alleged that the co-conspirators and defendants
 i
       herein accepted bribes from other co-conspirators, including Kevin Costner, Don Johnson, and

       Harrison Ford, as inducements to enter into the "Health Care Fraud", and "Kidnapping /Murder
n@
nn     for Hire " Enterprises described herein.

U2     263. On December 3, 2020, Walmart Pharmacy on Marconi Avenue in Sacramento, California

U]     filled a prescription by pharmacist "AH", for plaintiff for levothyroxine, a thyroid medication.
U41-
       No refills were given for this prescription, which I requested from the provider, Sidney Supit,

       M.D., of Mercy Medical Group, Sacramento. Although medical records from Mercy Medical
U<w
U7l    Group do not mention her name at all, a physician's assistant, Van Nguyen, authorized the

lli    prescription. Plaintiff never met, and had no contact with, Van Nguyen.

U<9>   264. On June 21, 2021. plaintiff filed a complaint with the California Board of Pharmacy.
~
       Plaintiff also filed a complaint with the Physicians Assistant Board on the same date. The

       Physicians Assistant Board acknowledged the complaint via a form letters. On

       and asked for medical authorization forms, which plaintiff had already provided. A "'control

       number" was assigned to the complaint. On June 29, 2021, Arn1ando E. Melendez, a --customer

       services analyst" asked for medical authorization, which plaintiff provided when she filed the

       complaint. Plaintiff heard nothing further from the Physicians Assistant Board.


                                                        81
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 85 of 189 Page ID
                                   #:97




 I        265. On April 15, 2022, plaintiff received a letter from the California Pharmacy Board closing
 2
     11   the case. The letter closing the case was signed by Joshua Monforte, an '·Enforcement Analyst",
 3
          allegedly on behalf of Julie Ensel, Chief of Enforcement. On information and belief, plaintiff
 4
          alleges that Monforte and other personnel with the Pharmacy Board, together with personnel
 5
 6        from the Physicians Assistant Board, including Armando E. Melendez, accepted bribes not to

 7        prosecute this case.
 8
          RICO CONSPIRACY (18 USC SECTION 1962[d])
 9
          266. As set forth above, defendants CALIFORNIA PHYSICIAN'S ASSISTANT BOARD,
10
          CALIFORNIA BOARD OF PHARMACY, DEFENDANTS WALMART, INC., DOCTORS
11

12        MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA, RAY STONE, INC.,

13        REGENTS OF UNIVERSITY OF CALIFORNIA, DIGNITY HEAL TH, PROVIDENCE,
14
          STANFORD HEAL TH CARE, and the other co-conspirators associated vvith this enterprise
15
          agreed and conspired to violate 18 USC section 1962[c]; that is, agreed to conduct and
16
          participate, directly and indirectly. in the conduct of the affairs of the health care fraud and
17
18        kidnapping enterprises through a pattern of racketeering activity in violation of 18 USC section

19        l 962[d].
20
          267. Defendants CALIFORNIA PHARMACY BOARD, CALIFORNIA PHYSICIANS
21
          ASSISTANT BOARD, DOCTORS MEDICAL CENTER OF MODESTO. TENET
22
23        CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA,

24        STANFORD HEALTH CARE, WALMART, DIGNITY HEALTH, PROVIDENCE, and the co-
25        conspirators committed and caused to be committed a series of overt acts in furtherance of the
26
          conspiracy and to effect the objects thereof, including but not limited to the acts set forth above.
27
28                                                           82
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 86 of 189 Page ID
                                       #:98




  11    268. As a result of defendants' and co-conspirators' violations of 18 USC section l 962[d],

 ~
  j;
        I
        plaintiffs Medicare benefits were stolen, fraudulent claims submitted to Medicare, and the

        premiums indirectly financed bribery, and the other predicate acts, including health care fraud,
 4i
 j      kidnapping, wire fraud, mail fraud, and access device fraud. Defendants also stole plaintiffs

 (ii    personal property, including prescriptions, flash drives, her pets, her car, and intellectual

 71     property.
 $
        269. As a direct and proximate result of the conspiracy, between and among Defendants
 CJ)
        PHYSICIAN'S ASSISTANT BOARD, CALIFORNIA BOARD OF PHARMACY,
11®
        DEFENDANTS WALMART, INC., DOCTORS MEDICAL CENTER OF MODESTO, INC ..
nu
ill     TENET CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA,

ll33    DIGNITY HEALTH, PROVIDENCE, STANFORD HEALTH CARE, and co-conspirators,
ll4i
        plaintiff suffered damages, in an amount to be proven/ determined at the time of trial. Pursuant to
11§
        RICO, 18 USC section l 964[c], plaintiff is entitled to recover threefold her damages plus costs.
ll{i5

1171              WHEREFORE plaintiff prays judgment against defendants, and each of them, as set forth

m~      below.

                                           TENTH CAUSE OF ACTION

            CIVIL RICO (18 USC§ l 964[c]): PREDICATE ACTS: BRIBERY [California Penal Code

            section 641.3 (Commercial Bribery] KIDNAPPING, MAIL FRAUD, WIRE FRAUD, ACCESS
n
:m,         DEVICE FRAUD, USE OF INTERSTATE COMMERCE FACILITIES IN THE COMMISSION

1Al-        OF MURDER FOR HIRE [18 USC section l 958(a)]; AND CRIMINAL COPYRIGHT

~           INFRINGEMENT 17 USC section 106(3), 17 USC section 506(a)(l )(A); 18 USC section 1961,

            18 USC section 2319; MONEY LAUNDERING (18 USC section 1956); BANK FRAUD (18


                                                           83
  Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 87 of 189 Page ID
                                    #:99




   Il   USC section 1344)
  ~
        (AGAINST CALIFORNIA DENTAL BOARD, PHYSICIAN'S ASSISTANT BOARD,
  33
        CALIFORNIA BOARD OF PHARMACY, DEFENDANTS WALMART, INC., DOCTORS
  ~

        MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA, RAY STONE, INC.,
  55

  (65   REGENTS OF UNIVERSITY OF CALIFORNIA, DIGNITY HEALTH, PROVIDENCE,

  11    STANFORD HEALTH CARE)
  i
        270. Plaintiff repeats and realleges paragraphs 1 through 269 and incorporates same by reference

        herein, as though set forth in full. Plaintiff further alleged that the co-conspirators and defendants
Il@

un      herein accepted bribes from other co-conspirators, including Kevin Costner, Don Johnson, and

ll      Harrison Ford, as inducements to enter into the "Kidnapping /Murder for Hire" and "Health

II.]    Care Fraud" Enterprises described herein.
n~
        271. This cause of action asserts claims against defendants for violations of 18 USC section

        1962[c] for conducting the affairs of the "Kidnapping/Murder for Hire" and "Health Care Fraud"

ll1I    Enterprises, through a pattern of racketeering activity. Plaintiff alleges a continuing conspiracy

lli     between and among all of the defendants, commencing in or about July, 2014, and continuing

ll<9>   into 2023.
:a©
        PATTERN OF RACKETEERING ACTIVITY:

        272. Plaintiff was under the care of Michael Lai, DDS, in San Ramon, California, for
1)2

n       approximately five years. Plaintiffs last visit with Lai took place in or about July, 2019. On

1'AI-   information and belief, plaintiff alleges that during the time plaintiff saw Lai, he accepted bribes

~       to conduct purported teeth cleaning himself, instead, deliberately scraping plaque into specified

        areas in the front teeth, ultimately resulting in severe tooth decay. intended to result in death.


                                                          84
  Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 88 of 189 Page ID
                                    #:100




  11   273. In March, 2020, plaintiff suffered a severe back injury which prevented her from seeking

  22.1 outside health care. On September 5, 2020, plaintiff consulted Emil Tanasse D.D.S. , in
  13
       Sacramento, California. Tanasse purportedly cleaned her teeth, instead again scraping plaque into
  4+
 S5    specified areas, worsening existing dental decay. Tanasse had specific recommendations for

 {6    several teeth. At the time of this appointment, plaintiff asked how soon the work was needed. He

 77 said it could wait.
 lH
       274. Tanasse deliberately made false recommendations. Plaintiff saw another dentist she had
 9)
       consulted in the past, Neil Green, DDS, who recommended major work including two root
lID
1111   canals. One of the root canals failed and the tooth fell out, resulting major work involving

1122   placement of a "bridge"' in the front teeth. According to Dr. Green, tooth #7 had decay which had

lIB    calcified and which built up over a period of time.
11#
       275. Tanasse failed to recommend what was actually needed. Instead, he minimized the problems
1155
       with tooth #7 and included recommendations for other teeth. Dr. Green did not recommend any
1¥15
lm     work on those teeth (numbers 5, 6, and 12.)

l~ 276. On information and belief, Lai and Tanasse accepted bribes to cause intentional dental

U})    harm, with the result that major and extensive restorative work was required. With regard to
2ID
       tooth# 11, Green informed plaintiff that the decay was almost to the bone, which vvould have

       required major oral surgery and resulted in possible facial disfigurement. Plaintiff was required to

       undergo bone replacement as part of the dental treatment.

:mt- 277. On May 24, 2021, plaintiff reported both Emil Tanasse D.D.S. and Michael Lai. D.D.S. to
255
       the California Dental Board. The Dental Board acknowledged only the complaint against Lai,
2rP
       assigning it a case number. Plaintiff received several form letters, unsigned. from the Dental
1JJ7
~                                                       85
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 89 of 189 Page ID
                                   #:101




 1    Board. Plaintiff never received an acknowledgment of the complaint against Tanasse .
 2
.    1278. On information and belief, plaintiff alleges employees of the Dental Board accepted bribes ·
 3
      to "drop" the complaint filed by plaintiff against Lai, not to process the complaint or create a
4
      complaint file, against Tanasse, and to '·bury" the case so that no Board members ever reviewed
 5
 6    either complaint. As of the filing of this complaint, the Dental Board has never ruled on the

 7    complaints, and the last correspondence plaintiff received was dated July 13, 2021. Plaintiff also
 8
      sent supplemental information to the Dental Board on August 18, 2021, never acknowledged by
9
      the Board.
10
      279. Tanasse and Lai engaged in a scheme to defraud plaintiff of her money, considered personal
11

12    property under California law, which plaintiff paid for dental examinations, dental cleanings, and

13    purported treatment, that led to permanent dental damage. Tanasse and Lai deliberately misled
14
      plaintiff as to her dental health, engaging in a scheme to defraud plaintiff through imposing fees
15
      and charges plaintiff would not otherwise have paid. Rather than take legal action against either
16

17    Tanasse or Lai, DENTAL BOARD accepted bribes, and acted as co-conspirators in the scheme

18    to defraud.

19     RICO CONSPIRACY (18 USC SECTION 1962(d])
20
       280. As set forth above, defendants CALIFORNIA DENT AL BOARD, CALIFORNIA
21
       PHYSICIANS ASSISTANT BOARD, PHARMACY BOARD,DEFENDANTS WALMART,
22

23     INC., DOCTORS MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA, RAY

24     STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA, DIGNITY HEALTH.

25     PROVIDENCE, STANFORD HEALTH CARE and other co-conspirators associated with this
26
       enterprise and agreed and conspired to violate 18 USC section l 962[c]; that is, agreed to conduct
27
28                                                      86
    Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 90 of 189 Page ID
                                      #:102




   Il    and participate, directly and indirectly, in the conduct of the affairs of the health care fraud and
  2
        1 kidnapping/murder enterprises through a pattern of racketeering activity in violation of 18 USC
  3l
         section 1962[ d], and commit violent crimes in aid of racketeering activity, in violation of 18
  41,
         USC 1959(a).
  5

  <m     281. Defendants CALIFORNIA'DENTAL BOARD, CALIFORNIA PHYSICIANS ASSISTANT

  7/     BOARD, PHARMACY BOARD, DEFENDANTS WALMART, INC., DOCTORS MEDICAL
  I
         CENTER OF MODESTO, INC., TENET CALIFORNIA, RAY STONE, INC., REGENTS OF

         UNIVERSITY OF CALIFORNIA, DIGNITY HEAL TH, PROVIDENCE, STANFORD
n@
nn       HEAL TH CARE, committed and caused to be committed a series of overt acts in furtherance of

ll       the conspiracy and to effect the objects thereof, including but not limited to the acts set forth

Il.]     above.
Il41-
         282. As a direct and proximate result of the conspiracy, between and among Defendants
ns
         Defendants CALIFORNIA DENTAL BOARD, CALIFORNIA PHYSICIANS ASSISTANT
n<m
Il7/     BOARD, PHARMACY BOARD, WALMART, INC., DOCTORS MEDICAL CENTER OF

Ill      MODESTO, INC .. TENET CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY

U<9J     OF CALIFORNIA, DIGNITY HEALTH, PROVIDENCE, STANFORD HEALTH CARE, and
1lID
         co-conspirators, plaintiff suffered damages, in an amount to be determined at the time of trial.
?2U
         Pursuant to RICO, 18 USC section 1964[c], plaintiff is entitled to recover threefold her damages
n
n        plus costs.

141-     283. As a result of defendants' and co-conspirators' violations of 18 USC section l 962[d],

~        plaintiff was denied, and lost, all benefits billed to and paid from Medi Cal and Medicare, and the

         premiums indirectly financed bribery, and other predicate acts, including health care fraud,


                                                           87
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 91 of 189 Page ID
                                   #:103




 1   access device fraud, and kidnapping. Plaintiff received no health care, and was placed in danger
 2
     of death, as a result of a murder for hire enterprise, including health care fraud and violent crimes
 J
     in aid of racketeering activity enterprise. As a result of defendants' and co-conspirators'
 4
     violations of 18 USC section 1962[d], plaintiff's Medicare benefits were stolen, fraudulent
 5
 6   claims submitted to Medicare, and the premiums indirectly financed bribery, and the other

 7   predicate acts, including health care fraud, kidnapping, wire fraud, mail fraud, and access device
 8
     fraud. Defendants also stole plaintiffs personal property, including prescriptions, flash drives,
 9
     her pets, her car, and intellectual property.
10

11           WHEREFORE, plaintiff prays judgment against defendants, and each of them, as set

12   forth below.

13                                    ELEVENTH CAUSE OF ACTION
14
             CIVIL RICO (18 USC§ 1964[c]): PREDICATE ACTS: BRIBERY [California Penal
15
     Code section 641.3 (Commercial Bribery] KIDNAPPING, MAIL FRAUD, WIRE FRAUD,
16
17   ACCESS DEVICE FRAUD, USE OF INTERSTATE COMMERCE FACILITIES IN THE

18   COMMISSION OF MURDER FOR HIRE [18 USC section l 958(a)]: AND CRIMINAL

19   COPYRIGHT INFRINGEMENT 17 USC section 106(3), 17 USC section 506(a)( 1)(A); 18 USC
20
     section 1961, 18 USC section 2319; MONEY LAUNDERING ( 18 USC section 1956); BANK
21
     FRAUD (18 USC section 1344)
22
23   AGAINST CALIFORNIA BOARD OF BARBERING AND COSMETOLOGY, CALIFORNIA

24   DENTAL BOARD, CALIFORNIA PHYSICIANS ASSISTANT BOARD, PHARMACY

2S   BOARD, DEFENDANTS WALMART, INC., DOCTORS MEDICAL CENTER OF
26
     MODESTO, INC., TENET CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY
21
28                                                    88
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 92 of 189 Page ID
                                   #:104




 1 OF CALIFORNIA, DIGNITY HEAL TH, PROVIDENCE, STANFORD HEAL TH CARE
 2
     1284. Plaintiff repeats and realleges paragraphs 1 through 283 and incorporates same by reference
 3
      herein, as though set forth in full. Plaintiff further alleged that the co-conspirators and defendants
 4

 5 herein accepted bribes from other co-conspirators, including Kevin Costner, Don Johnson, and
 6    Harrison Ford, as inducements to enter into the "Kidnapping /Murder for Hire" and "Health

 7    Care Fraud" Enterprises described herein.
 8
      285. This cause of action asserts claims against defendants for violations of 18 USC section
 9
      1962[c] for conducting the affairs of the "Kidnapping/Murder for Hire" and '·Health Care Fraud''
10

11    Enterprises, through a pattern of racketeering activity. Plaintiff alleges a continuing conspiracy

12    between and among all of the defendants, commencing in or about July, 2014. and continuing

13    into 2023.
14
      286. On May 26, 2021, plaintiff filed a formal complaint against Nona Zandinejad, a hairdresser
15
      who played a key role in the kidnaping of plaintiff. Plaintiff included a detailed statement, as set
16

17 forth below:
18           "STATEMENT OF FACTS REGARDING INVOLVEMENT OF NONA ZANDINEJAD
             IN KIDNAPING PLOT: ''This is an abbreviated version of events surrounding a
19           kidnapping plot which occurred over the Labor Day week-end, 2019. The information
20           here concerns beautician Nona Zandinejad's involvement which took place in a medivac
             van believed to be owned by Pro Transport 1. I have filed the enclosed complaint against
21           them. Nona Zandinejad has a current beautician's license under #490213. On Friday,
             August 30, 2019, my car stopped "cold" on the 1-5 Freeway somewhere in the Modesto.
22           California area. I got out of the car on the side of the road. As I remember it, a police
23           officer approached me and took the position that I was not in control of my faculties. I
             disagreed but said nothing as it was clear I was in no position to argue.
24           After being falsely told that my car had exploded, my next memory is finding myself in a
             medical van. I later realized that while in the van, I had been rendered unconscious the
25           entire time, and brainwashed to make certain statements. In addition, I was subjected to a
26           "•bikini wax" performed while I was unconscious. This constitutes a sexual battery in
             California. I was later told by actor Don Johnson, who was involved in the kidnapping.
21
2S                                                      89
  Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 93 of 189 Page ID
                                    #:105




  11           that "Nona" had performed the bikini wax in the van. Johnson also told me that in
               Nona's opm10n, l --needed. worK." l was unconsc10us the entire time. ill aaamon, sne
  ~
               performed some type of hair styling, all while I was unconscious. Nona was paid by
  ]            someone, and probabiy bribed, to perform these iilegal and unauthorized services.
               Nona provided hair styling services for me at two different locations of DiPietro Todd
  41-          Salon, in Walnut Creek, and San Francisco, California. She never performed a bikini
               wax ... The bikini wax was performed while I was unconscious and would have involved
  5
               removal ofmy underwear and jeans. I don't know who else was in the van when this was
 (6i           done but I believe several people may have witnessed her actions. I never saw Nona but
               the evidence of the biking wax were red marks on my thighs where pubic hair had been
  71           removed.
  $
               My two pets, which were in my car, were removed by unknown persons. Upon waking up
               in the van, I heard someone say, "Get those rabbits." The rabbits were never accounted
 <!)           for, nor returned. I was later told that they had been tortured and killed. Nona may have
               seen my pets and may have knowledge of what happened to them.
n@             There are other details of the kidnapping which are omitted here. I enclose a copy of my
nn             complaint to the Emergency Medical Service Authority.
               I never saw Nona and have no knowledge of any other activities in which she might have
@              been involved. However, she is part of a group of people who planned and carried out a
               kidnapping. All of Nona's activities were illegal and conducted without my authorization
Il]            or permission."
Il41-
        287. On June 18, 2021, plaintiff received a response from Jennifer Porcalla, of the ··Enforcement
Il:£
        Division·, of the Board of Barbering and Cosmetology. Porcalla informed plaintiff that the Board
1)(ID

Il7l    had no jurisdiction over the complaint, and suggested plaintiff report the matter to the police

Il$     department. Porcalla took no steps to do this herself, and ignored the serious crimes involved,

Il<!)   including kidnapping, probable rape, and animal torture leading to death.
2!ID
        288. Porcalla misrepresented the authority and jurisdiction of the Board, ignoring the fact that

        Zandinejad had no esthetician's license, and the fact that Zandinejad acted as a co-conpsirator in
212
1'33    a kidnapping. Porcalla also erroneously described Zandinejad as an ·'esthetician." Zandinejad

2241-   neither has nor had no such license. Of greater concern, Zandinejad is of Iranian descent, and

        may not be an American citizen, or possess a green card.

        289. On information and belief, Porcalla accepted bribes not to process or prosecute a case


                                                         90
  Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 94 of 189 Page ID
                                    #:106




 1 involving multiple violent crimes. Instead, the BOARD allowed Zandinejad to keep her

 2
       11   cosmetologist's license, the only license she had at the time. As of the time of the filing of this
 3
            complaint, Zandinejad had a current cosmetologist's license in the State of California.
 4
            RICO CONSPIRACY (18 USC SECTION 1962[ d])
 5
 6          290. As set forth above, defendants CALIFORNIA BOARD OF BARBERING AND

 7          COSMETOLOGY, CALIFORNIA DENTAL BOARD, CALIFORNIA PHYSICIANS
 8
            ASSISTANT BOARD, PHARMACY BOARD, DEFENDANTS WALMART, INC.,
 9
            DOCTORS MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA, RAY
IO
ll          STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA, DIGNITY HEAL TH,

12          PROVIDENCE, STANFORD HEALTH CARE and other co-conspirators associated with this

13          enterprise and agreed and conspired to violate 18 USC section 1962[ c]; that is, agreed to conduct
14
            and participate, directly and indirectly, in the conduct of the affairs of the health care fraud and
15
            kidnapping/murder enterprises through a pattern of racketeering activity in violation of 18 USC
16

11          section 1962[ d], and commit violent crimes in aid of racketeering activity, in violation of 18

IS          USC l 959(a).

19          291. Defendants CALIFORNIA BOARD OF BARBERING AND COSMETOLOGY,

            CALIFORNIA DENT AL BOARD, CALIFORNIA PHYSICIANS ASSISTANT BOARD,

            PHARMACY BOARD, DEFENDANTS WALMART, INC., DOCTORS MEDICAL CENTER
:n
D           OF MODESTO, INC., TENET CALIFORNIA, RAY STONE, INC., REGENTS OF

24          UNIVERSITY OF CALIFORNIA, DIGNITY HEAL TR PROVIDENCE, ST AN FORD

2.55        HEALTH CARE CALIFORNIA DENTAL BOARD REGENTS OF UNIVERSITY OF
2<6i
            CALIFORNIA, committed and caused to be committed a series of overt acts in furtherance of the


                                                               91
      Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 95 of 189 Page ID
                                        #:107




  l     conspiracy and to effect the objects thereof, including but not limited to the acts set forth above.
  2
  l
        I
        292. As a result of defendants' and co-conspirators' violations of 18 USC section 1962[d],

        plaintiff was denied, and lost, all benefits billed to and paid from Medi Cal and Medicare, and the
  4
        premiums indirectly financed bribery, and other predicate acts, including health care fraud and
  5
 6      access device fraud. Plaintiff received no health care, placed in constant danger of death, as a

  11    result of a murder for hire enterprise, including health care fraud and violent crimes in aid of
  s     racketeering activity enterprise. As a result of defendants' and co-conspirators' violations of 18

        USC section 1962[d], plaintiff's Medicare benefits were stolen, fraudulent claims submitted to
Il@
        Medicare, and the premiums indirectly financed bribery, and the other predicate acts, including
Ilil
Ill     health care fraud, kidnapping, wire fraud, mail fraud, bank fraud. money laundering, and access

Il]     device fraud. Defendants also stole plaintiff's personal property, including prescriptions, flash
Il41-
        drives, her pets, her car, and intellectual property.
Il$
        293. As a direct and proximate result of the conspiracy, between and among Defendants
Il<m
Il7/    CALIFORNIA BOARD OF BARBERING AND COSMETOLOGY, CALIFORNIA DENTAL

1l$     BOARD, CALIFORNIA PHYSICIANS ASSISTANT BOARD, PHARMACY BOARD,

1l<9>   WALMART, INC., DOCTORS MEDICAL CENTER OF MODESTO, INC., TENET
2:lID
            CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA,
2Il
            STANFORD HEAL TH CARE, DIGNITY HEAL TH, PROVIDENCE, PHARMACY BOARD,
212
D           PHYSICIANS ASSIST ANT BOARD, and co-conspirators, plaintiff suffered damages, in an

241-        amount to be proven/ determined at the time of trial. Pursuant to RI CO, 18 USC section 1964[ c],

]5;         plaintiff is entitled to recover threefold her damages plus costs.

                   WHEREFORE plaintiff prays judgment against defendants, and each of them, as set forth


                                                              92
     Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 96 of 189 Page ID
                                       #:108




 1     below.

                                        TWELFTH CAUSE OF ACTION

                CIVIL RICO (18 USC §1964[c]): PREDICATE ACTS: BRIBERY [California Penal

       Code section 641.3 (Commercial Bribery] KIDNAPPING, MAIL FRAUD, WIRE FRAUD,
 5
 6     ACCESS DEVICE FRAUD, USE OF INTERSTATE COMMERCE FACILITIES IN THE

 7     COMMISSION OF MURDER FOR HIRE [18 VSC section l 958(a)]; AND CRIMINAL
 s
       COPYRIGHT INFRINGEMENT 17 USC section 106(3), 17 USC section 506(a)(l)(A); 18 USC
 9
       section 1961, 18 USC section 2319; MONEY LAUNDERING ( 18 USC section 1956); BANK
10

11
       FRAUD (18 USC section 1344)

12              AGAINST DEFENDANTS CALIFORNIA MEDICAL BOARD, CALIFORNIA

13     BOARD OF BARBERING AND COSMETOLOGY, CALIFORNIA DENTAL BOARD,
14
       CALIFORNIA PHYSICIANS ASSISTANT BOARD, PHARMACY BOARD, WALMART,
15
       INC., DOCTORS MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA,
16
17     RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA, STANFORD

18     HEAL TH CARE, DIGNITY HEAL TH, PROVIDENCE

19     294. Plaintiff repeats and realleges paragraphs 1 through 293, inclusive, and incorporates same
20
       by reference, as though set forth in full herein.
21
       295. This cause of action asserts claims against defendants for violations of 18 USC section
22
23     1962[c] for conducting the affairs of the "Health Care Fraud Enterprise"" and

24     "Kidnapping/Murder Enterprise", through a pattern of racketeering activity. Plaintiff alleges a

15     continuing conspiracy between and among all of the defendants, commencing in or about July.
26
       2014. and continuing into 2023.
21
2#                                                         93
   Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 97 of 189 Page ID
                                     #:109




   I    PATTERN OF RACKETEERING:
  1
        296. On June 20, 2021, plaintiff filed a complaint against Lawrence Cooper, M.D., a physician in
   3
        Santa Rosa, California, who worked for PROVIDENCE MEDICAL GROUP, with Defendant
  4

  5
        MEDICAL BOARD OF CALIFORNIA. On June 25, 2021, plaintiff received a letter from the

  6     MEDICAL BOARD acknowledging her complaint, and assigning a "control number'' of

  71    8002021079137.
  s     297. On August 5, 2021, plaintiff received another letter from the MEDICAL BOARD,
  9
        informing her the complaint would be fonvarded to the Department of Consumer Affairs, Health
1(0)

n       Quality Investigations Unit, Concord, California, for further investigation. This letter also

ll2     referenced the same control number.

]lJ
        298. On February 1, 2022, two letters were sent to plaintiff from the Division of Health Quality
ll4
        Investigations Unit in San Bernardino, California. The letters were typed by sender Kathryn
15
        Ochi-Norman, and stated, '·I am an investigator working on behalf of the Medical Board of
16
]l7/    California. I would like to speak with you regarding the care you received from Dr. Lawrence

lll     Cooper. Please give me a call at _ _ _ ." The letter failed to reference a case number, but

19      included a business card from Ochi-Norman.
1(())
        299. In or about March, 2022, Staci Barerra, another investigator from the Division of Health
21
        Quality Investigations Unit, this time in Sacramento, contacted plaintiff by making a personal
22

n       visit to her home., both unscheduled and very intrusive. Plaintiff infonned Barerra she had

24 already provided all available information with her original complaint sent to the MEDICAL
25      BOARD.
~
        300. Barerra left a business card on plaintiffs front door, giving an address of 2535 Capitol Oaks
n
11                                                       94
            •
   Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 98 of 189 Page ID
                                     #:110




 11     Drive, Suite 225. Sacramento CA 95833. After this       visit nl::iintiff<.:Pnt ::in P-m~il to thP ,,,_m<>1l

 22
        address listed on the business card for Ochi-Norman. Plaintiff cannot locate this email and
 33
        believes it was hacked.
 44
        301. Thereafter, plaintiff received notification from the State Bar of California that Barerra had
 55
 (fJ    filed a complaint against her. Barerra had never been, and has never been. a client of plaintiff's.

 17     The alleged complaint with the State Bar failed to include the required form, and instead claimed
 ~
        that plaintiff had filed a frivolous lawsuit with the court at an earlier time. Plaintiff responded to
 cf)
        this bogus complaint, by writing to the State Bar. In December, 2022, plaintiff received
HP
        notification that the State Bar had closed this complaint, concluding it had no merit.
1111

1112    302. The MEDICAL BOARD never assigned a case number to the complaint plaintiff filed

1133    against Lawrence Cooper M.D. and contact from Barerra and Ochi-Norman constituted sheer
1~
        harassment. These representative of the Department of Consumer Affairs never any intention of
1155
        actually investigating this case; they never assigned a no case number, and in the nineteen
116>
        months since plaintiff filed the complaint, the MEDICAL BOARD has never ruled on it.
11'17
11§     303. Consistent with other conspiracies, these employees accepted bribes, not to investigate the

11~     complaint against Cooper, a physician with a previous record of discipline by the BOARD. Since
1'§)
        the February 1, 2022 letters sent to plaintiff, she has heard nothing further from the MEDICAL
:2~
        BOARD OF CALIFORNIA, and the Board has never ruled on plaintiffs complaint.
22
        RICO CONSPIRACY (18 USC SECTION 1962[d])
ii
u       304. As set forth above, defendants CALIFORNIA MEDICAL BOARD. CALIFORNIA

1§      BOARD OF BARBERING AND COSMETOLOGY, CALIFOR.i'\!IA DENTAL BOARD,
 ~
        CALIFORNIA PHYSICIANS ASSISTANT BOARD, PHARMACY BOARD, WAL MART,
1:1
 ZI                                                        95
   Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 99 of 189 Page ID
                                     #:111




   11    INC., DOCTORS MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA, RAY
  22
        1STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA, DIGNITY HEALTH,
  3.3
         PROVIDENCE, STANFORD HEAL TH CARE and other co-conspirators associated with this
  41-
  :D     enterprise and agreed and conspired to violate 18 USC section 1962[c]; that is, agreed to conduct

  ffi and participate, directly and indirectly, in the conduct of the affairs of the health care fraud
  17     enterprise through a pattern of racketeering activity in violation of 18 USC section 1962[d], and
  $
         commit violent crimes in aid of racketeering activity, in violation of 18 USC 1959(a).
  9)
         305. Defendants CALIFORNIA MEDICAL BOARD, CALIFORNIA BOARD OF BARBERING
lID
llll     AND COSMETOLOGY, CALIFORNIA DENTAL BOARD, CALIFORNIA PHYSICIANS

lill     ASSISTANT BOARD, PHARMACY BOARD, WALMART, INC., DOCTORS MEDICAL

ll33     CENTER OF MODESTO, INC., TENET CALIFORNIA, RAY STONE, INC., REGENTS OF
00
        UNIVERSITY OF CALIFORNIA, DIGNITY HEAL TH, PROVIDENCE, ST AN FORD

         HEAL TH CARE, committed and caused to be committed a series of overt acts in furtherance of
ll(fi

1177 the conspiracy and to effect the objects thereof, including but not limited to the acts set forth
11$     above.

ll<})    306. As a result of defendants' and co-conspirators' violations of 18 USC section 1962[ d],

        plaintiff was denied, and lost, all benefits billed to and paid from Medi Cal and Medicare, and the

         premiums indirectly financed bribery, and other predicate acts, including health care fraud and
~

233      access device fraud. Plaintiff received no health care, and was placed in danger of death. as a

~        result of a murder for hire enterprise, including health care fraud and violent crimes in aid of

~        racketeering activity enterprise. Defendants also stole plaintiffs personal property, including
2l'f5
         prescriptions, flash drives, her pets, her car, and intellectual property.


                                                            96
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 100 of 189 Page ID
                                   #:112




  11   307. As a direct and proximate result of the conspiracy, between and among Defendants

  ~
  };
       I
       CALIFORNIA MEDICAL BOARD, CALIFORNIA BOARD OF BARBERING AND

       COSMETOLOGY, CALIFORNIA DENTAL BOARD, CALIFORNIA PHYSICIANS
 41-
  35 ASSISTANT BOARD, PHARMACY BOARD, WALMART, INC., DOCTORS MEDICAL

 ({>   CENTER OF MODESTO, INC., TENET CALIFORNIA, RAY STONE, INC., REGENTS OF

 7l UNIVERSITY OF CALIFORNIA, DIGNITY HEALTH, PROVIDENCE, STANFORD

       HEAL TH CARE, and co-conspirators, plaintiff suffered damages, in an amount to be proven/

       determined at the time of trial. Pursuant to RICO, 18 USC section 1964[c], plaintiff is entitled to
11@
1111   recover threefold her damages plus costs.

12              WHEREFORE plaintiff prays judgment against defendants, and each of them, as set forth

13     below.
14
                                     THIRTEENTH CAUSE OF ACTION
15
                 CIVIL RICO (18 USC §1964[c])-- BRIBERY, WIRE FRAUD, MAIL FRAUD
16
17         CIVIL RICO (18 USC §1964[c]): PREDICATE ACTS: BRIBERY, KIDNAPPING, USE OF

18     INTERS TA TE COMMERCE FACILITIES IN THE COMMISSION OF MURDER FOR HIRE

19     [18 USC section l 958(a)); AND CRIMINAL COPYRIGHT INFRINGEMENT 17 USC section
20
       106(3), 17 USC section 506(a)( 1)(A); 18 USC section 1961, 18 USC section 2319; MONEY
21
~      LAUNDERING (18 USC section 1956); BANK FRAUD (18 USC section 1344)

l)     (AGAINST MCNAUGHTON NEWSPAPERS, INC., CALIFORNIA MEDICAL BOARD,

14     CALIFORNIA BOARD OF BARBERING AND COSMETOLOGY, CALIFORNIA DENTAL

~      BOARD, CALIFORNIA PHYSICIANS ASSIST ANT BOARD, PHARMACY BOARD,

       W ALMART, INC., DOCTORS MEDICAL CENTER OF MODESTO, INC., TENET


                                                        97
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 101 of 189 Page ID
                                   #:113




  11 CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA,

  :221 IGNITY HEALTH, PROVIDENCE, STANFORD HEALTH CARE)
  33
        308. Plaintiff repeats and realleges paragraphs 1 through 307, inclusive, and incorporates same
  41-
         y reference, as though set forth in full herein.

  (fj 309. This cause of action asserts claims against defendants for violations of 18 USC section

  71 l 962[c] for conducting the affairs of the "Health Care Fraud Enterprise" and
  I
        "Kidnapping/Murder Enterprise" through a pattern of racketeering activity. Plaintiff alleges a

        continuing conspiracy between and among all of the defendants, commencing in or about July,
Jl(O)
nn.     2014, and continuing into 2023, a continuing pattern of organized crime, and open-ended

12 continuity of crime, with the ongoing threat of continuing criminal activity.

13 310. Plaintiff further alleged that the co-conspirators and defendants herein accepted bribes from

14
        other co-conspirators, including Kevin Costner, Don Johnson, and Harrison Ford, as inducements
15
        to enter into the "·Health Care Enterprise" and ·'Kidnapping /Murder for Hire ., Enterprise
16
17 described herein.
18 311. During the relevant time periods, defendants and plaintiff were and are each a ··person'', as
19 this term is defined in 18 USC section 1961 [3]. During the relevant time periods, plaintiff was a

20
        person injured in her business or property, by reason of a violation of RICO within the meaning
21
        of 18 USC section 1964[c]. The overarching purpose of the "•Kidnapping Enterprise'·, as part of
22
23 the '·Health Care Fraud Enterprise'': to murder plaintiff, and place plaintiffs life in constant

24 jeopardy, while billing Medicare for services purportedly rendered. billing and using plaintiffs

lS Medicare benefits for procedures and tests never performed, and services never provided.
26
        Plaintiff alleges a continuing conspiracy between and among these defendants, pursuant to 18


                                                            98
  Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 102 of 189 Page ID
                                    #:114




  11    USC section 1964fdl, commencing in or about 2014 and continuing, and suspected by plaintiff in

  221   or about 2022.
  33
        PATTERN OF RACKETEERING ACTIVITY:
 44
 55     312. As set forth below, to carry out, or attempt to carry out, its scheme to defraud, and deprive

 (6     plaintiff of health care benefits, and health care, and as part of the murder/kidnapping enterprise,

 77     defendants have engaged in the following pattern of racketeering activity:
 ffi
        313. As alleged in paragraphs 107 through 139, and incorporated by reference herein, plaintiff
 CJ)
        was a kidnap victim from August 30, 2019 to September 3, 2019, at a facility purportedly part of
lID
1111    DOCTORS MEDICAL CENTER of MODESTO, and owned by TENET CALIFORNIA.

1122    314. On August 4, 2022, plaintiff met with journalist Glen Faison in Fairfield, California, near

1133    Travis AFB. Faison is and or was, at all material times alleged herein, a managing editor of The
rm
        Daily Republic, a newspaper owned by defendant MCNAUGHTON NEWSPAPERS, INC.
1155
        Plaintiff asked this journalist to contact Travis AFB to report the kidnapping crimes, and gave
rns
1!77    this journalist a number of documents. Faison stated he would talk to Matt Miller, a reporter,

1~      about the story. According to their website, Miller covered Travis AFB, which is why plaintiff

lW      contacted this newspaper.
2W
        315. Plaintiff first handed Faison a letter addressed to Scott Le bar, Managing Editor of the
22!1
        Sacramento Bee. Plaintiff told Faison she had not been able to reach Lebar. Plaintiffs many
:mi
2W      attempts to reach Lebar via U.S. mail had failed, the result of numerous counts of federal mail

~       theft.

~
        316. Plaintiff has never heard from Faison, and he never returned the documents she gave him.
22P
        On information and belief, plaintiff alleged this journalist accepted a bribe, or series of bribes,
1!17
:?l8                                                      99
  Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 103 of 189 Page ID
                                    #:115




  11    not to pursue the story. Wire transfers paid the bribes.
 2
        317. On information and belief, Faison sent the documents plaintiff gave him to Kevin Costner,
 33
        via U.S. mail, committing federal mail fraud.
 44
        RICO CONSPIRACY ( 18 USC SECTION 1962[ d])
 55

 66     318. As set forth above, defendants MCNAUGHTON NEWSPAPERS, INC., dba Daily

 77     Republic Newspaper, CALIFORNIA MEDICAL BOARD, CALIFORNIA BOARD OF
 88
        BARBERING AND COSMETOLOGY, CALIFORNIA DENTAL BOARD, CALIFORNIA
 99
        PHYSICIANS ASSISTANT BOARD, PHARMACY BOARD, WALMART, INC., DOCTORS
100
ll l    MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA, RAY STONE, INC.,

Ir2     REGENTS OF UNIVERSITY OF CALIFORNIA, DIGNITY HEAL TH, PROVIDENCE,

1] 3    STANFORD HEALTH CARE, and the other co-conspirators associated with this enterprise
IM
        agreed and conspired to violate 18 USC section l 962[c]; that is, agreed to conduct and
1£5
        participate, directly and indirectly, in the conduct of the affairs of the kidnapping enterprise
166

1y7 through a pattern of racketeering activity in violation of 18 USC section l 962[d], including the

188     acceptance of bribes.

l 9<J   319. Defendants MCNAUGHTON NEWSPAPERS, INC., dba Daily Republic Newspaper,
200
        CALIFORNIA MEDICAL BOARD, CALIFORNIA BOARD OF BARBERING AND
221
2l2     COSMETOLOGY, CALIFORNIA DENTAL BOARD, CALIFORNIA PHYSICIANS

223     ASSISTANT BOARD, PHARMACY BOARD, WALMART, INC., DOCTORS MEDICAL

2M CENTER OF MODESTO, INC .. TENET CALIFORNIA, RAY STONE. INC., REGENTS OF
235
        UNIVERSITY OF CALIFORNIA, DIGNITY HEAL TH. PROVIDENCE, STANFORD
2M
        HEAL TH CARE, and co-conspirators committed and caused to be committed a series of overt
m
2)8                                                       100
  Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 104 of 189 Page ID
                                    #:116




  11    acts in· furtherance of the conspiracy and to effect the objects thereof, including but not limited to
  22
        the acts set forth above.
  33
        320. As a result of defendants' and co-conspirators' violations of 18 USC section 1962[ d].
 44
 55     plaintiffs Medicare benefits were stolen, fraudulent claims submitted to Medicare, and the

 66 premiums indirectly financed bribery, and the other predicate acts, including health care fraud,

 77     kidnapping, wire fraud, mail fraud, bank fraud, money laundering, and access device fraud.
 88
        Defendants also stole plaintiffs personal property, including letters and other documents,
 (j)
        prescriptions, flash drives, her pets, her car, and intellectual property.
100
Hl      321. As a direct and proximate result of the conspiracy, between and among Defendants

1J22    MCNAUGHTON NEWSPAPERS, INC., dba Daily Republic Newspaper, CALIFORNIA

1B3     MEDICAL BOARD, CALIFORNIA BOARD OF BARBERING AND COSMETOLOGY.
1114
        CALIFORNIA DENT AL BOARD, CALIFORNIA PHYSICIANS ASSIST ANT BOARD,
lo.5
        PHARMACY BOARD, W ALMART, INC., DOCTORS MEDICAL CENTER OF MODESTO,
1115
1117    INC.. TENET CALIFORNIA, RAY STONE, INC .. REGENTS OF UNIVERSITY OF

1~      CALIFORNIA, DIGNITY HEAL TH, PROVIDENCE, STANFORD HEAL TH CARE, and
UJ)
        co-conspirators, plaintiff suffered damages, in an amount to be proven/ detennined at the time of
2Jj)
        trial. Pursuant to RICO. 18 USC section 1964[c]. plaintiff is entitled to recover threefold her
:?Al
        damages plus costs.
~

2Z,.3            WHEREFORE plaintiff prays judgment against defendants, and each them. as set forth

~       below.

~

22f>

1Jfl

~                                                          101
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 105 of 189 Page ID
                                  #:117




  ~,
  ~
   11


  jj
                                         FOURTEENTH CAUSE OF ACTION

           CIVIL RICO (18 USC §1964[c]): PREDICATE ACTS: BRIBERY, KIDNAPPING, USE OF

          INTERSTATE COMMERCE FACILITIES IN THE COMMISSION OF MURDER FOR HIRE
  41-
  .'.15   [18 USC section 1958(a)]; AND CRIMINAL COPYRIGHT INFRINGEMENT 17 USC section

  (fj     106(3 ), 17 USC section 506( a)( 1)(A); 18 USC section 1961, 18 USC section 2319; MONEY

  7l LAUNDERING (18 USC section 1956); BANK FRAUD (18 USC section 1344)
  ffi
          (AGAINST DEFENDANTS ANIMAL LEGAL DEFENSE FUND, MCNAUGHTON

          NEWSPAPERS, INC., CALIFORNIA MEDICAL BOARD, CALIFORNIA BOARD OF
ll@
llll      BARBERING AND COSMETOLOGY, CALIFORNIA DENTAL BOARD, CALIFORNIA

@         PHYSICIANS ASSISTANT BOARD, PHARMACY BOARD, WALMART, INC., DOCTORS

Il33      MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA, RAY STONE, INC..
ll4J.
          REGENTS OF UNIVERSITY OF CALIFORNIA, DIGNITY HEAL TH, PROVIDENCE,
115,
          STANFORD HEALTH CARE)
Il<ID

1171      322. Plaintiff repeats and realleges paragraphs 1 through 321, inclusive, and incorporates same

Ill       by reference, as though set forth in full herein.

Il<.9>    323. This cause of action asserts claims against defendants for violations of 18 USC section
N
          l 962[c] for conducting the affairs of the "Health Care Fraud Enterprise" and
211
          "Kidnapping/Murder Enterprise" through a pattern of racketeering activity. Plaintiff alleges a
n
D         continuing conspiracy between and among all of the defendants, commencing in or about July,

141-      2014, and continuing into 2023, a continuing pattern of organized crime, and open-ended

15        continuity of crime, with the ongoing threat of continuing criminal activity.
26
          324. Plaintiff further alleged that the co-conspirators and defendants herein accepted bribes from
21
28                                                            102
  Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 106 of 189 Page ID
                                    #:118




 11     other co-conspirators, including Kevin Costner, Don Johnson, and Harrison Ford, as inducements
 22     to enter into the "Health Care Fraud" and"Kidnapping /Murder for Hire " enterprises described
 33
        herein.
 44
        325. During the relevant time periods, defendants and plaintiff were and are each a "person", as
 55
 ffi this term is defined in 18 USC section 1961 [3]. During the relevant time periods, plaintiff was a

 11     person injured in her business or property, by reason of a violation of RICO within the meaning
 88
        of 18 USC section l 964[c]. The overarching purpose of the "Kidnapping Enterprise", as part of
 g)
        the Health Insurance Enterprise": to murder plaintiff, and place plaintiffs life in constant

        jeopardy, while billing Medicare for services purportedly rendered, billing and using plaintiffs

        Medicare benefits for procedures and tests never performed, and services never provided.

        Plaintiff alleges a continuing conspiracy between and among these defendants. pursuant to 18
1ij1.
        USC section l 964[d], commencing in or about 2014 and continuing into 2023.
1155
        PATTERN OF RACKETEERING ACTIVITY:
llP
1.q7    326. As set forth below, to carry out, or attempt to carry out, its scheme to defraud, and deprive

1~      plaintiff of health care benefits, and health care, and as part of the murder/kidnapping enterprise,

1W      defendants have engaged in the following pattern of racketeering activity:
:fil)
        327. As alleged in paragraphs 107 through 139, and incorporated by reference herein, plaintiff
~1
        was a kidnap victim from August 30, 2019 to September 3, 2019, at a facility purportedly part of
ii-
jJ,     DOCTORS MEDICAL CENTER of MODESTO, and owned by TENET CALIFORJ.'\JIA.

24      328. On February 29, 2021, plaintiff sent a letter to Steven Wells, Director, Animal LEGAL

2§      DEFENSE FUND, in Cotati, California. The letter described several animal torture and animal
j{y
        cruelty crimes committed against plaintiffs   O\vTI   pets, two rabbits. Plaintiff send this letter via
'l-7
 j§                                                      103
   Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 107 of 189 Page ID
                                     #:119




  11   Priority Mail, with tracking, but received no response.
 22
       329. According to actor Don Johnson, plaintiffs two pets had been tortured to death, as part of a
 33
       kidnapping committed against plaintiff over the Labor Day week-end, August 30, 2019 to
 44
       September 3, 2019.
 55
 66    330. On August 4, 2022, plaintiff hand-delivered another copy of the February 29, 2021 letter to

 Tl    the ALDF and gave this copy to an employee, Eliot Cirivello. At the same time, plaintiff gave
 88
       Cirivello a copy of her March 7, 2022 letter to the Cotati Police Department, reporting the
 g:)
       apparent theft of the February 29, 2021 letter.
100
1Il 1 331. Defendant ANIMAL LEGAL DEFENSE FUND is a non-profit California corporation

1122   allegedly dedicated to animal rights and animal welfare. Their extensive website includes the

1B3    following language: "In order to maximize the impact of donations from our supporters, the
1114
       Animal Legal Defense Fund staff focuses our resources on programs to protect the lives and
1155
       advance the interests of animals through the legal system."
1lli
lV7    332. The ALDF website also states: "The Animal Legal Defense Fund's mission is to protect the

1B8    lives and advance the interests of animals through the legal system. The ALDF accomplishes this

l:W    mission by filing high impact lawsuits to protect animals from harm, providing free legal

       assistance and training to prosecutors to assure that animal abusers are held accountable for their

       crimes, supporting tough animal protection legislation, and providing resources and opportunities

       to law students and professionals to advance the emerging field of animal law."

       333. ALDF actively solicits extensive donations, and on information and belie±: has been heavily

       supported by the ''Hollywood" community, including actors and others within the entertainment

       industry.


                                                         104
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 108 of 189 Page ID
                                   #:120




 I   334. On behalf of the ALDF, in the recent past, actor Joaquin Phoenix conducted investigations

 ~ II into abuses suffered by farm animals. Phoenix knows nothing about these crimes, which plaintiff
 j
     repeatedly attempted to report to the Academy, SAG/AFTRA, and the DGA.
 4
     335. ALDF's website also touts an "Anti-Cruelty and Environmental Policy", reading in part as
 5
 6   follows: "It is the mission of the Animal Legal Defense Fund to protect the lives and advance the

 7   interests of animals through the legal sytem .. .It is our goal through this policy to minimize actual
 8
     harm done to all animals ... "
 9
     336. According to the 2021 "Return of Organization Exempt from Income Tax" IRS form, filed
10
II   in 2022, as appears on their website, the ALDF obtained donations of approximately fourteen

12   million dollars. Executive Director Stephen Wells signed this federal income tax form.

13   337. Using August 30, 2019 as the date plaintiff's pets were tortured to death, the three-year
14
     statute of limitations for animal torture crimes under California Penal Code section 597 ran on
15
     August 30, 2019. Plaintiff's visit to the ALDF in early August of last year took place
16
17   approximately three weeks before the running of this statute of limitations.

18   338. Following her in person visit to the ALDF on August 4, 2019, plaintiff heard nothing further

19   from the ALDF. A follow-up letter she sent to them on September 15, 2019 received no
20
     response.
21
     339. On information and belief, someone within the ALDF accepted a bribe or bribes not to act
22
23   on plaintiff's hand-delivered letter. As a result, the California statute of limitations ran on the

24   animal cruelty crimes committed against plaintiff's pets.
25   340. The ALDF has made ongoing false representations to the public by falsely claiming on its
26
     website that it is in the business of protecting animals. Plaintiff's experiences prove otherwise.
27
28                                                     105
   Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 109 of 189 Page ID
                                     #:121




    1 By acting against the interests of animals, and failing to take any legal action before the statutes

    ~
    .,
         I
         of limitations ran on the animal cruelty crimes committed against plaintiff and her pets, the
                                                                                                              II
         ALDF has falsely represented that donations are used to advance animal rights.
    4

    5 341. Because plaintiff's letters to California authorities have been ignored, plaintiff has no other
   6 recourse in this case except to bring suit against the ALDF and other defendants for civil RICO

   7     violations. The ALDF aided and abetted the killers of plaintiff's pets by failing to take
   8
         immediate action to prosecute the case. Plaintiff's pets, her personal property, were deliberately
   9
         and maliciously tortured and killed by a group of co-conspirators led by actors Johnson, Ford,
 10
 ll      and Costner.

 12      RICO CONSPIRACY (18 USC SECTION 1962[d])

 l3      342. As set forth above, defendants ANIMAL LEGAL DEFENSE FUND, MCNAUGHTON
 14
         NEWSPAPERS, INC., CALIFORNIA MEDICAL BOARD, CALIFORNIA BOARD OF
15
         BARBERING AND COSMETOLOGY, CALIFORNIA DENTAL BOARD, CALIFORNIA
16
11       PHYSICIANS ASSISTANT BOARD, PHARMACY BOARD, WALMART, INC., DOCTORS

IS       MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA, RAY STONE, INC.,

n9       REGENTS OF UNIVERSITY OF CALIFORNIA, DIGNITY HEALTH, PROVIDENCE,
2(())
         STANFORD HEALTH CARE), MONEY LAUNDERING (18 USC section 1956); BANK
in
         FRAUD (18 USC section 1344) and the other co-conspirators associated with this enterprise
n
n        agreed and conspired to violate 18 USC section 1962[ c]; that is, agreed to conduct and

~41-     participate, directly and indirectly, in the conduct of the affairs of the murder/kidnapping

~ enterprise through a pattern of racketeering activity in violation of 18 USC section 1962[d],
:m,
         including the acceptance of bribes.
'J.1J7
2}B                                                       106
   Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 110 of 189 Page ID
                                     #:122




  11     343. Defendants ANIMAL LEGAL DEFENSE FUND, MCNAUGHTON NEWSPAPERS, INC.,
  22
        II CALIFORNIA MEDICAL BOARD, CALIFORNIA BOARD OF BARBERING AND
  33
         COSMETOLOGY, CALIFORNIA DENTAL BOARD, CALIFORNIA PHYSICIANS
  4t
  5.5    ASSISTANT BOARD, PHARMACY BOARD, WALMART, INC., DOCTORS MEDICAL

  ffi    CENTER OF MODESTO, INC., TENET CALIFORNIA, RAY STONE, INC., REGENTS OF

  77     UNIVERSITY OF CALIFORNIA, DIGNITY HEALTH, PROVIDENCE, STANFORD
  ffi
         HEALTH CARE), and co-conspirators committed and caused to be committed a
  CJ)
         series of overt acts in furtherance of the conspiracy and to effect the objects thereof, including but
IID
1111     not limited to the acts set forth above.

1!?2     344. As a result of defendants' and co-conspirators' violations of 18 USC section 1962[d],

lill     As a result of defendants' and co-conspirators' violations of 18 USC section 1962[ d], plaintiff's
ll:14
         Medicare benefits were stolen, fraudulent claims submitted to Medicare, and the premiums
1155
         indirectly financed bribery, and the other predicate acts, including health care fraud, kidnapping,
lffi
1177     wire fraud, mail fraud, and access device fraud. Defendants also stole plaintiff's personal

l~       property, including prescriptions, flash drives, her pets, her car, and intellectual property.

l::W 345. As a direct and proximate result of the conspiracy, between and among Defendants
2ID
         ANIMAL LEGAL DEFENSE FUND, MCNAUGHTON NEWSPAPERS, INC., CALIFORNIA
2211
2?22     MEDICAL BOARD, CALIFORNIA BOARD OF BARBERING AND COSMETOLOGY,

~        CALIFORNIA DENTAL BOARD, CALIFORNIA PHYSICIANS ASSISTANT BOARD,

2l1:l    PHARMACY BOARD, WALMART, INC., DOCTORS MEDICAL CENTER OF MODESTO,

25'5 INC., TENET CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY OF
216
         CALIFORNIA, DIGNITY HEALTH, PROVIDENCE, STANFORD HEALTH CARE), and co-
Wl
~                                                          107
   Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 111 of 189 Page ID
                                     #:123




   Il        conspirators, plaintiff suffered damages, in an amount to be proven/ determined at the time of
  2
        11   trial. Pursuant to RICO, 18 USC section 1964[c], plaintiff)s entitled to recover threefold her
  ]
             damages plus costs.
  41-

  j
                      WHEREFORE plaintiff prays judgment against defendants, and each them, as set forth

  (6>        below.

                                            FIFTEENTH CAUSE OF ACTION

              CIVIL RICO (18 USC §1964[c]): PREDICATE ACTS: BRIBERY, KIDNAPPING, USE OF

             INTERSTATE COMMERCE FACILITIES IN THE COMMISSION OF MURDER FOR HIRE

             [18 USC section 1958(a)]; AND CRIMINAL COPYRIGHT INFRINGEMENT 17 USC section

             106(3), 17 USC section 506(a)(l)(A); 18 USC section 1961, 18 USC section 2319, MONEY

Il]          LAUNDERING (18 USC section 1956); BANK FRAUD (18 USC section 1344) ·
ll4
             (AGAINST DEFENDANTS THE UPS STORE, ANIMAL LEGAL DEFENSE FUND,

             MCNAUGHTON NEWSPAPERS, INC., CALIFORNIA MEDICAL BOARD, CALIFORNIA
ll6
llJ          BOARD OF BARBERING AND COSMETOLOGY, CALIFORNIA DENTAL BOARD,

ll~          CALIFORNIA PHYSICIANS ASSISTANT BOARD, PHARMACY BOARD, WALMART,

ll9          INC., DOCTORS MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA, RAY
2(())
             STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA, DIGNITY HEALTH,
2n
2:2          PROVIDENCE, STANFORD HEALTH CARE)

23           346. Plaintiff repeats and realleges paragraphs 1 through 345, inclusive, and incorporates same

24 by reference, as though set forth in full herein.

:2, 34 7. This cause of action asserts claims against defendants for violations of 18 USC section
             1962[c] for conducting the affairs of the "Health Care Fraud Enterprise" and


                                                             108
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 112 of 189 Page ID
                                   #:124




 11 "Kidnapping/Murder Enterprise" through a pattern of racketeering activity. Plaintiff alleges a

 ~
 33
       I
       continuing conspiracy between and among all of the defendants, commencing in or about July,

       2014, and continuing into 2023, a continuing pattern of organized crime, and open-ended
 41-
       continuity of crime, with the ongoing threat of continuing criminal activity.
 55
 «5 348. During the relevant time periods, defendants and plaintiff were and are each a "person", as

 71 this term is defined in 18 USC section 1961 [3]. During the relevant time periods, plaintiff was a
 $
       person injured in her business or property, by reason of violations of RICO within the meaning of

       18 USC section 1964[c].
n@
nn     349. The overarching purpose of the "Kidnapping Enterprise", as part of the "Health Care

@      Enterprise": to murder plaintiff, and place plaintiffs life in constant jeopardy, while billing

Il]    Medicare for services purportedly rendered, billing and using plaintiffs Medicare benefits for
Il4
       procedures and tests never performed, and services never provided. Plaintiff alleges a continuing
Il5
       conspiracy between and among these defendants, pursuant to 18 USC section 1964[d],
Il6
Il7!   commencing in or about 2014 and continuing until 2023. Plaintiff further alleged that the co-

Ill    conspirators and defendants herein accepted bribes from other co-conspirators, including Kevin

Il9    Costner, Don Johnson, and Harrison Ford, as inducements to enter into the "Kidnapping
10
       Enterprise" described herein.
21
       PATTERN OF RACKETEERING ACTIVITY:
22
23     350. As set forth below, to carry out, or attempt to carry out, its scheme to defraud, and deprive

24     plaintiff of health care benefits, and health care, defendants have engaged in the following pattern

25     of racketeering activity:
26
       351. As alleged in paragraphs 107 through 139 plaintiff was a kidnap victim from August 30,
27

28                                                      109
  Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 113 of 189 Page ID
                                    #:125




   Il   2019 to September 3, 2019, at a facility purportedly part of DOCTORS MEDICAL CENTER of
  2
        IIMODESTO.
  ]
        352. On November 28, 2022, at a UPS STORE located at 3308 El Camino A venue, #300,
  41-
  5     Sacramento CA 95821, plaintiff attempted a facsimile transmission to Jon Lawhead, General

  6     Manager, WKRC-TV Cincinnati, a CBS affiliate, through a local UPS STORE. Plaintiff had

  71    attempted facsimile transmissions from her home, which were jammed. Although the owner of
  s
        this location of THE UPS STORE represented that the transmission had been successful, the

        facsimile confirmation showed a diversion to an e-mail address, and plaintiff has never heard
Il(O)
Ilil    from Lawhead or anyone else, including anyone with CBS. On information and belief, plaintiff

Ill     alleges that the owner of this UPS STORE, located at 3308 El Camino Avenue, Suite 300,

Il]     Sacramento CA 95821, accepted a bribe or series of bribes to divert the facsimile to an e-mail
Il4l-
        address, believed to belong to actor Kevin Costner, knowing WKRC Cincinnati would never
Il5
        receive the transmission.
Il6
Il7/    353. The WKRC fax followed plaintiffs several earlier attempts to reach Lawhead by mail,

IlS     attempts made because Nick Clooney, father of George Clooney and father-in-law to Amal

:n 9    Clooney, might be able to reach the Clooneys about the kidnapping crimes which plaintiff had
20
        attempted to report to Amal Clooney at earlier times. Plaintiffs investigation showed that Nick
21
        Clooney had worked for this CBS affiliate at one time; plaintiff also wanted CBS to investigate
22
n       the case, and had made numerous attempts to reach them via U.S. mail, without success.

24      RICO CONSPIRACY (18 USC SECTION l 962[d])
25      354. As set forth above, defendants THE UPS STORE, ANIMAL LEGAL DEFENSE FUND,
26
        MCNAUGHTON NEWSPAPERS, INC., CALIFORNIA MEDICAL BOARD, CALIFORNIA
21
28                                                     110
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 114 of 189 Page ID
                                   #:126




 1    BOARD OF BARBERING AND COSMETOLOGY, CALIFORNIA DENTAL BOARD,
 2
     ~ CALIFORNIA PHYSICIANS ASSISTANT BOARD, PHARMACY BOARD, WALMART,
 3
      INC., DOCTORS MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA, RAY
 4
      STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA, DIGNITY HEALTH,
 5
 6    PROVIDENCE, STANFORD HEALTH CARE, and the other co-conspirators associated with

 7    this enterprise agreed and conspired to violate 18 USC section 1962[c]; that is, agreed to conduct
 8
      and participate, directly and indirectly, in the conduct of the affairs of the kidnapping enterprise
 9
      through a pattern of racketeering activity in violation of 18 USC section 1962[d].
IO

11    355. Defendants THE UPS STORE, ANIMAL LEGAL DEFENSE FUND, MCNAUGHTON

12   NEWSPAPERS, INC., CALIFORNIA MEDICAL BOARD, CALIFORNIA BOARD OF

l3    BARBERING AND COSMETOLOGY, CALIFORNIA DENTAL BOARD, CALIFORNIA
14
      PHYSICIANS ASSIST ANT BOARD, PHARMACY BOARD, WALMART, INC., DOCTORS
15
      MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA, RAY STONE, INC.,
16
11    REGENTS OF UNIVERSITY OF CALIFORNIA, DIGNITY HEALTH, PROVIDENCE,

18    STANFORD HEALTH CARE, and co-conspirators committed and caused to be committed a

19    series of overt acts in furtherance of the conspiracy and to effect the objects thereof, including but
20
      not limited to the acts set forth above.
21
      356. As a result of defendants' and co-conspirators' violations of 18 USC section 1962[d],
22
23    plaintiffs Medicare benefits were stolen, fraudulent claims submitted to Medicare, and the

24    premiums indirectly financed/bribery, and other predicate acts, including health care fraud,
25    kidnapping, attempted murder through the use of interstate commerce, wire fraud, mail fraud,
26
      access device fraud, bank fraud, and money laundering.
27
28                                                     111
  Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 115 of 189 Page ID
                                    #:127




  l    357. As a direct and oroximate result of the consoiracv. between and among Defendants

  l
  3
       I   THE UPS STORE, ANIMAL LEGAL DEFENSE FUND, MCNAUGHTON NEWSPAPERS,

       INC., CALIFORNIA MEDICAL BOARD, CALIFORNIA BOARD OF BARBERING AND
  4
  S    COSMETOLOGY, CALIFORNIA DENTAL BOARD, CALIFORNIA PHYSICIANS

  6 ASSISTANT BOARD, PHARMACY BOARD, WALMART, INC., DOCTORS MEDICAL

  7/ CENTER OF MODESTO, INC., TENET CALIFORNIA, RAY STONE, INC., REGENTS OF
  s    UNIVERSITY OF CALIFORNIA, DIGNITY HEAL TH, PROVIDENCE, STANFORD

       HEALTH CARE, and co-conspirators, plaintiff suffered damages, in an amount to be proven/
l@
U determined at the time of trial. Pursuant to RICO, 18 USC section 1964[c], plaintiff is entitled to

ll recover threefold her damages plus costs.

               WHEREFORE plaintiff prays judgment as set forth below.

                                    SIXTEENTH CAUSE OF ACTION

           CIVIL RICO (18 USC §1964[c]): PREDICATE ACTS: BRIBERY, KIDNAPPING, USE OF

1177   INTERSTATE COMMERCE FACILITIES IN THE COMMISSION OF MURDER FOR HIRE

11&    [18 USC section 1958(a)]; AND CRIMINAL COPYRIGHT INFRINGEMENT 17 USC section

11~    106(3), 17 USC section 506(a)(l)(A); 18 USC section 1961, 18 USC section 2319; MONEY

       LAUNDERING (18 USC section 1956); BANK FRAUD (18 USC section 1344)

2?22 (AGAINST DEFENDANTS LOS ANGELES TIMES, THE UPS STORE, ANIMAL LEGAL

2233   DEFENSE FUND, MCNAUGHTON NEWSPAPERS, INC., CALIFORNIA MEDICAL

~      BOARD, CALIFORNIA BOARD OF BARBERING AND COSMETOLOGY, CALIFORNIA

2?15   DENT AL BOARD, CALIFORNIA PHYSICIANS ASSIST ANT BOARD, PHARMACY

       BOARD, DEFENDANTS WALMART, INC., DOCTORS MEDICAL CENTER OF


                                                    112
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 116 of 189 Page ID
                                   #:128




 Il         MODESTO. INC .. TENET CALIFORNIA. RAY STONE. INC .. REGENTS OF UNIVERSITY
 1
      Ill   OF CALIFORNIA, DIGNITY HEALTH, PROVIDENCE, STANFORD HEALTH CARE)
 ]
            358. Plaintiff repeats and realleges paragraphs 1 through 357 and incorporates same by reference
 4
 5          herein, as though set forth in full.

 6          359. During the relevant time periods, defendants and plaintiff were and are each a "person", as

 7/ this term is defined in 18 USC section 1961 [3]. During the relevant time periods, plaintiff was a
 s          person injured in her business or property, by reason of a violation of RICO within the meaning
 9
            of 18 USC section 1964 [c], and through the misuse of health care insurance funds. The
IlO

u           overarching purpose of the "Kidnapping/Murder Enterprise", as part of the Health Care Fraud

tl Enterprise": to place plaintiffs life in jeopardy, while billing Medicare for services purportedly

B           rendered, billing and using plaintiffs Medicare benefits for procedures and tests never
14
            performed, and services never provided. Plaintiff alleges a continuing conspiracy between and
15
            among these defendants, pursuant to 18 USC section 1964[d], commencing in or about 2014 and
16
l 7/ continuing. Plaintiff further alleged that the co-conspirators and defendants herein accepted

18          bribes from other co-conspirators, including Kevin Costner, Don Johnson, and Harrison Ford, as

19 inducements to enter into the "Health Care Fraud" and "Kidnapping/Murder" Enterprises
20
            described herein.
21
            PATTERN OF RACKETEERING ACTIVITY:
22
23          360. As set forth below, to carry out, or attempt to carry out, its scheme to defraud, and deprive

24 plaintiff of health care benefits, and health care, and subject plaintiff to a kidnapping, defendants
25          have engaged in the following pattern of racketeering activity:
26
            361. As alleged in paragraphs 107 through 139, and incorporated by reference herein, plaintiff
21
28                                                          113
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 117 of 189 Page ID
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  1 was a kicln:m vidim from Ammst 10_ ?.019 to Sentemher '.t 2019. at a facilitv nurnortedlv nart of
 2
      II DOCTORS MEDICAL CENTER OF MODESTO.
 3
       362. On October 10, 2022, plaintiff joined the Sacramento Press Club, also open to members of
 4
       the public, for the purpose of facilitating attempts to meet with members of the press, and ask
 5
 6    them to investigate the crimes committed against her. Prior to joining the Press Club, plaintiff

 7    made extensive efforts to contact Scott Pelley of CBS News, via U.S. Mail, beginning on March
 8
      6, 2020. Plaintiff also sent a series of letters to others with CBS News, including anchor Norah
 9
      O'Donnell, as well as CBS corporate executives, and never got a response. In addition, plaintiffs
10
      efforts to successfully meet with Glen Faison of the Daily Republic Newspaper had failed.
11
12    363. Plaintiff also sent letters to other journalists, including Scott Lebar of the Sacramento Bee,

13    former CNN Anchor Jeanne Meserve, [a former college friend of plaintiffs] and CNN
14
      commentator and consultant, journalist Miles O'Brien, but received no responses. Plaintiff
15
      alleges all of this correspondence became the subjects of federal mail theft.
16

17    364. In November, 2022, plaintiff received an e-mail informing her of Sacramento Press Club's

18    annual meeting, held at a local bar. Plaintiff received notification of this event as a member of the

19    Club. Plaintiff hoped to have the opportunity to speak personally with one or more journalists.
                                   I



20
       Plaintiff had already attempted to reach two journalists with the Los Angeles Times via e-mail;
21
       she believes her e-mails were hacked.
22
23     365. On March 4, 2021, plaintiff had also sent e-mails to LA TIMES editors Scott Kraft and

24     Chris Argentieri in Los Angeles, and received no response. Again, she believes these e-mails
25     were hacked. Plaintiff also sent e-mails to other journalists, including Cameron Barr at the
16
       Washington Post, and Katie Dowd of the San Francisco Chronicle (both sent on 3-4-2021). On
111

1S                                                     114
  Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 118 of 189 Page ID
                                    #:130




  1 _ Octoher 1 S_ 2022_ Pl:ciintiff also sent :cine-mail to Sonhia Rollag in the Sacramento Bureau of the
  2

  J
        I
        Chronicle. All e-mails were hacked; plaintiff received no responses.

        366. On December 4, 2022, plaintiff met with Lauren Rosenhall, a journalist then employed as
  41-
  5     LOS ANGELES TIMES Sacramento Bureau Chief, while Rosenhall attended the annual

  6     "mixer". Plaintiff learned about Rosenhall through an on-line seminar offered by the Press Club,

 1      presented by Rosenhall and other journalists. Rosenhall acknowledged receiving plaintiff's e-
  s     mail, sent to another journalist, and seemed enthusiastic about the story. Rosenhall stated they
 9
        had responded to plaintiff's e-mail, but plaintiff did not receive this communication.
l«»
ll      367. Plaintiff had prepared a lengthy letter to Rosenhall, together with a number of documents.

11      Among other requests, because plaintiff had been unable to do so, plaintiff's cover letter asked

]!J     this journalist to contact the U.S. Military, and Attorney Jeffrey Baraban. Plaintiff has never
141-
        heard from this journalist, and documents given to her never returned. On information and belief,
15
        plaintiff alleges that this journalist accepted a bribe or series of bribes, not to pursue this story.
16

11      3 68. On information and belief, plaintiff also alleges that the documents given to Rosenhall were

lll     in fact returned to co-conspirator Kevin Costner via U.S. mail, as part of an extensive pattern of

19      federal mail fraud. Documents addressed and/or intended for another addressee were redirected
2(0)
        to Costner instead.
21
Zl      RICO CONSPIRACY (18 USC SECTION 1962[d])

231     369. As set forth above, LOS ANGELES TIMES, THE UPS STORE, ANIMAL LEGAL

24      DEFENSE FUND, MCNAUGHTON NEWSPAPERS, INC., CALIFORNIA MEDICAL

2§      BOARD, CALIFORNIA BOARD OF BARBERING AND COSMETOLOGY, CALIFORNIA
~
        DENTAL BOARD, CALIFORNIA PHYSICIANS ASSISTANT BOARD, PHARMACY
271
2$                                                         115
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 119 of 189 Page ID
                                   #:131




 1 HOARD_ DFFFNDANTS WAT,MART. TNr. norTORS MFnTrALrFNTFR OF
 2
     II MODESTO, INC., -TENET CALIFORNIA,             RAY STONE, INC., REGENTS OF UNIVERSITY
 3
      OF CALIFORNIA, DIGNITY HEALTH, PROVIDENCE, STANFORD HEALTH CARE,
 4
      and the other co-conspirators associated with this enterprise agreed and conspired to violate 18
 5
 6    USC section 1962[c ]; that is, agreed to conduct and participate, directly and indirectly, in the

 7    conduct of the affairs of the health care and kidnapping enterprises through a pattern of
 8
      racketeering activity in violation of 18 USC section 1962[d].
 9
      370. LOS ANGELES TIMES, THE UPS STORE, ANIMAL LEGAL DEFENSE FUND,
10
ll    MCNAUGHTON NEWSPAPERS, INC., CALIFORNIA MEDICAL BOARD, CALIFORNIA

12    BOARD OF BARBERING AND COSMETOLOGY, CALIFORNIA DENTAL BOARD,

l3    CALIFORNIA PHYSICIANS ASSISTANT BOARD, PHARMACY BOARD, DEFENDANTS
14
      W ALMART, INC., DOCTORS MEDICAL CENTER OF MODESTO, INC., TENET
1,
      CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA,
16
17 DIGNITY HEALTH, PROVIDENCE, STANFORD HEALTH CARE, and co-conspirators
18 committed and caused to be committed a series of overt acts in furtherance of the conspiracy and
19 to effect the objects thereof, including but not limited to the acts set forth above.
20
      371. As a result of defendants' and co-conspirators' violations of 18 USC section 1962[d],
21
      plaintiffs Medicare benefits were stolen, fraudulent claims submitted to Medicare, and the
22
23 premiums indirectly financed bribery, and the other predicate acts, including health care fraud,

24 kidnapping, wire fraud, mail fraud, money laundering, bank fraud, and access device fraud.
25 Defendants also stole plaintiffs personal property, including letters and other documents,
26
      prescriptions, flash drives, her pets, her car, and intellectual property.
27
2$                                                      116
  Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 120 of 189 Page ID
                                    #:132




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  2
          Ill LOS ANGELES TIMES, THE UPS STORE, ANIMAL LEGAL DEFENSE FUND,
  ]
           MCNAUGHTON NEWSPAPERS, INC., CALIFORNIA MEDICAL BOARD, CALIFORNIA
  41-
           BOARD OF BARBERING AND COSMETOLOGY, CALIFORNIA DENTAL BOARD,
  5
  <6>      CALIFORNIA PHYSICIANS ASSISTANT BOARD, PHARMACY BOARD, DEFENDANTS

  71 WALMART, INC., DOCTORS MEDICAL CENTER OF MODESTO, INC., TENET
  $
           CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA,
  C9)
           DIGNITY HEALTH, PROVIDENCE, STANFORD HEALTH CARE; and co-conspirators,
Il@
nll        plaintiff suffered damages, in an amount to be proven/ determined at the time of trial. Pursuant to

ll2        RICO, 18 USC section 1964[ c], plaintiff is entitled to recover threefold her damages plus costs.

ll]                 WHEREFORE plaintiff prays judgment as set forth below.
ll41-
                                             SEVENTEENTH CAUSE OF ACTION
ll55
           CIVIL RICO (18 USC §1964[c]): PREDICATE ACTS: BRIBERY, KIDNAPPING, USE OF
ll<ID
ll7/ INTERSTATE COMMERCE FACILITIES IN THE COMMISSION OF MURDER FOR HIRE

ll$        [18 USC section 1958(a)]; AND CRIMINAL COPYRIGHT INFRINGEMENT 17 USC section

ll(9)      106(3), 17 USC section 506(a)(l)(A); 18 USC section 1961, 18 USC section 2319; MONEY
2lID
      1
           LAUNDERING (18 USC section 1956); BANK FRAUD (18 USC section 1344)
2ll
:ll (AGAINST LOS ANGELES TIMES, THE UPS STORE, ANIMAL LEGAL DEFENSE FUND,

:m3 MCNAUGHTON NEWSPAPERS, INC., CALIFORNIA MEDICAL BOARD, CALIFORNIA

2'41- BOARD OF BARBERING AND COSMETOLOGY, CALIFORNIA DENTAL BOARD,

~ CALIFORNIA PHYSICIANS ASSISTANT BOARD, PHARMACY BOARD, DEFENDANTS
2lfi
           WALMART, INC., DOCTORS MEDICAL CENTER OF MODESTO, INC., TENET
il7l
~                                                                   117
    Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 121 of 189 Page ID
                                      #:133




   n      CAT.TFnRNTA        RAVSTONF TNC RFGFNTSnFTTNTVFRSTTVOFCAT.TFnRNTA

   2
         Ill DIGNITY HEALTH, PROVIDENCE, STANFORD HEALTH CARE)
   ]
          373. Plaintiff repeats and realleges paragraphs 1 through 3 72 and incorporates same by reference
   41-
   j      herein, as though set forth in full.

   (6i    374. During the relevant time periods, defendants and plaintiff were and are each a "person", as

  71 this term is defined in 18 USC section 1961 [3]. During the relevant time periods, plaintiff was a
   lE
          person injured in her business or property, by reason of a violation of RICO within the meaning

          of 18 USC section 1964 [c], and through the misuse of health care insurance funds and theft of
ll@
llil      personal property including pets, her car, flash drives, and intellectual property.

ll2       375. The overarching purpose of the "Kidnapping/Murder Enterprise", as part of the "Health

ll]       Care Fraud Enterprise": to place plaintiffs life in jeopardy, and ultimately murder plaintiff,
ll41-
          while billing Medicare for services purportedly rendered, billing and using plaintiffs Medicare

          benefits for procedures and tests never performed, and services never provided. Plaintiff alleges
n~
ll7/ a continuing conspiracy between and among these defendants, pursuant to 18 USC section

ll~       1964[d], commencing in or about 2014 and continuing. Plaintiff further alleged that the co-

ll~ conspirators and defendants herein accepted bribes from other co-conspirators, including Kevin
1}ID
          Costner, Don Johnson, and Harrison Ford, as inducements to enter into the "Kidnapping/Murder
111
          Enterprise" described herein.
1)2

23,       PATTERN OF RACKETEERING ACTIVITY:

1AI- 376. As alleged in paragraphs 107 through 139, plaintiff was a kidnap victim from August 30,

2'.'.§    2019 to September-3, 2019, at a facility purportedly part of Defendant DOCTORS MEDICAL
~
          CENTER OF MODESTO.


                                                           118
   Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 122 of 189 Page ID
                                     #:134




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        searching for the name of journalist Lowell Bergman. Plaintiff learned about Bergman via the

        1999 film "The Insider", which dramatized Bergman's attempts to air a story involving 'Big

        Tobacco." At the time, Bergman worked as a producer for CBS 60 Minutes, a television show

  <m    plaintiff frequently watched.

  71    378. At some point plaintiff learned of Bergman's association with the UC Berkeley School of
  ffi
        Journalism. Bergman joined the UC Berkeley School of Journalism as a faculty member in or
  ~
        about 1998, and became the founder of their "Investigative Journalism" program. Bergman is
Il@
        still prominently figured on the school's website, and plaintiff believed he might still be actively
nn
~       teaching at UC Berkeley. The title of "Distinguished Chair in Investigative Journalism" was

Il33    bestowed on him by Chicago philanthropists David and Reva Logan.
Il4l
        379. In or about 2015, Bergman vacated this position. At that time, David Barstow, allegedly a
1lj;
        four-time Pulitzer Prize winner formerly with the New York Times, assumed the position of
Il<i>
ll71    Distinguished Chair, again given by David and Reva Logan. Plaintiffs research also disclosed

llffi   that David Barstow currently manages the Investigative journalism program, with Bergman

n~      apparently still active even though on emeritus status.
:ID)
        380. Despite plaintiffs extensive attempts, over a period of nearly three years, to report the
~n
        violent crimes, all of her efforts failed. She wanted to contact Bergman because of his reputation
~

1)33    as an ethical journalist, and because of his previous employment with CBS News. Plaintiff

1W prepared a letter, addressed to Barstow and Bergman, for delivery to the Investigative
~
        Journalism Program. A class in Investigative Journalism, possibly taught by Bergman, was to
2¥i5
        start on January 18, 2023 at 2:00 p.m.
1!Jl
]$                                                           119
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 123 of 189 Page ID
                                   #:135




 1 181. On that cfatP. ..farnrnrv 18. ?.021. nlaintifftraveled to the l Jr, Rerkelev. School of Journalism.
 2

 3
     I
     Investigative Journalism Program, in the hopes of meeting with the head of that program, David

     Barstow. Plaintiff prepared a letter addressed to both Barstow and Bergman. In this letter,
 4
     plaintiff again attempted to report the kidnapping and other crimes, with a request that Barstow
 5
 6 contact the U.S. Military. Plaintiff arrived early and spoke briefly with a few of the students. She

 7 then met briefly with Barstow, who asked her to leave the letter with the front desk, stating he
 8
     would take a look at it. Plaintiff handed her letter to an employee, who gave it to another
 9
     employee, "Ayesha." A name plate with this name was placed on the front desk within this
10
ll   building.

12 382. As of the filing of this complaint, plaintiff has heard nothing from Barstow, nor was the

13   letter she left returned to her. On information and belief, plaintiff alleges Barstow accepted a
14
     bribe or series of bribes, not to respond to or help plaintiff, and returned the letter to the briber,
15
     Kevin Costner, via U.S. mail, instead. She has also never heard from Lowell Bergman, and has
16

17 no way of reaching him.
18 RICO CONSPIRACY (18 USC SECTION 1962[d])

19 383. As set forth above, defendants LOS ANGELES TIMES, THE UPS STORE, ANIMAL

20
     LEGAL DEFENSE FUND, MCNAUGHTON NEWSPAPERS, INC., CALIFORNIA MEDICAL
21
     BOARD, CALIFORNIA BOARD OF BARBERING AND COSMETOLOGY, CALIFORNIA
22
23   DENTAL BOARD, CALIFORNIA PHYSICIANS ASSISTANT BOARD, PHARMACY

24 BOARD, DEFENDANTS WALMART, INC., DOCTORS MEDICAL CENTER OF
25   MODESTO, INC., TENET CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY
26
     OF CALIFORNIA, DIGNITY HEALTH, PROVIDENCE, STANFORD HEALTH CARE,
27
28                                                     120
  Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 124 of 189 Page ID
                                    #:136




  1 ::me! thP. othP.r r.o-r.on<;nir::itor<; ::i<;<;or.i::itP.cl with thi" entemri<;e :::ioTeecl :::ind consnired to violate 18
  2
       II USC section 1962[c]; that is, agreed to conduct and participate, directly and indirectly, in the
  3
        conduct of the affairs of the kidnapping/murder and health care fraud enterprises through a
  4
        pattern of racketeering activity in violation of 18 USC section 1962[d].
  5
  6     384. LOS ANGELES TIMES, THE UPS STORE, ANIMAL LEGAL DEFENSE FUND,

  7     MCNAUGHTON NEWSPAPERS, INC., CALIFORNIA MEDICAL BOARD, CALIFORNIA
  8
        BOARD OF BARBERING AND COSMETOLOGY, CALIFORNIA DENTAL BOARD,
  9
        CALIFORNIA PHYSICIANS ASSIST ANT BOARD, PHARMACY BOARD, DEFENDANTS
10
        WALMART, INC., DOCTORS MEDICAL CENTER OF MODESTO, INC., TENET
11
12      CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA,

l3      DIGNITY HEALTH, PROVIDENCE, STANFORD HEALTH CARE, and the co-conspirators
14
        committed and caused to be committed a series of overt acts in furtherance of the conspiracy and
15
        to effect the objects thereof, including but not limited to the acts set forth above.
16

17      385. As a result of defendants' and co-conspirators' violations of 18 USC section 1962[d],

18      plaintiffs Medicare benefits were stolen, fraudulent claims submitted to Medicare, and the

19 premiums indirectly financed bribery, and the other predicate acts, including health care fraud,
20
        kidnapping, wire fraud, mail fraud, and access device fraud. Defendants also stole plaintiffs
21
        personal property, including letters and other documents, prescriptions, flash drives, her pets, her
22
23      car, and intellectual property.

241-    386. As a direct and proximate result of the conspiracy, between and among Defendants

25       LOS ANGELES TIMES, THE UPS STORE, ANIMAL LEGAL DEFENSE FUND,
26
        MCNAUGHTON NEWSPAPERS, INC., CALIFORNIA MEDICAL BOARD, CALIFORNIA
271
28                                                                121
   Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 125 of 189 Page ID
                                     #:137




   ll    BOARD OF BARBERING AND COSMETOLOGY, CALIFORNIA DENTAL BOARD,
  2
        Ill CALIFORNIA PHYSICIANS ASSISTANT BOARD, PHARMACY BOARD, DEFENDANTS
  ]
         WALMART, INC., DOCTORS MEDiCAL CENTER OF MODESTO, INC., TENET
  41-
  5      CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA,

  6     DIGNITY HEALTH, PROVIDENCE, STANFORD HEALTH CARE, and co-conspirators,

  1 plaintiff suffered damages, in an amount to be determined at the time of trial. Pursuant to RICO,
  $
         18 USC section 1964[c], plaintiff is entitled to recover threefold her damages plus costs.
  9
                WHEREFORE plaintiff prays judgment as set forth below.
ll(O)

                                        EIGHTEENTH CAUSE OF ACTION
n
Il2                                      FRAUD-SUPPRESSION OF FACT

IlJ                (AGAINST DEFENDANT GAGNON VISION MEDICAL GROUP, INC.,
Il41-
                                               dba VALLEY EYE CARE)
ll:5
        387. Plaintiff repeats and realleges paragraphs 1 through 81, and incorporates same by reference
ll6
n,      herein, as though set forth in full.

llS 388. Plaintiff is informed and believes that at all times herein mentioned, defendant GAGNON

ll9 VISION MEDICAL GROUP, dba VALLEY EYE CARE INC., acted and as agent for co-
20
        conspirators Don Johnson, Harrison Ford, and Kevin Costner, and in doing the things hereinafter
21
        alleged was acting within the course and scope of said agency and with the permission and
22
231 knowledge of co-defendant GAGNON VISION MEDICAL GROUP, dba VALLEY EYE CARE

24 INC.                                                 •

lS 389. At all times herein mentioned, Defendant GAGNON VISION MEDICAL GROUP INC.,
26
        doing business as Valley Eye Care, was and is a business incorporated in California, and is a
21
2$                                                          122
   Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 126 of 189 Page ID
                                     #:138




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         I
  :::2 contact lenses, and doing business in Livermore and Pleasanton, Alameda County, California.
  33
       390. In 2020, plaintiff ordered a replacement contact lens through Gina Trentacosti, O.D., of
  4f
       Valley Eye Care. Plaintiff did not immediately check this lens. When plaintiff finally did so, she
  35
  (f>    discovered the lens was unwearable. Because this left plaintiff without a usable spare, she

  71 contacted the Livermore office and requested the earliest appointment. Plaintiff was seen by Dr.
  ffi
         Trentacosti on Friday, January 14, 2022 at 12: 15 p.m. at the Pleasanton office. Plaintiff ordered a

         replacement contact lens during the course of her visit.
110)
         391. At the front desk, plaintiff spoke with a young male, at the #2 position, and asked for the

11:::2   AARP discount, which plaintiff had been given before. This young man stated the discount was

ltl3     no longer being offered. He checked with someone else, and then stated they would give me a
lW
         $5 .00 discount. He never gave plaintiff a receipt, but charged plaintiff $204.00 for a visit which

         included a vision exam, a contact lens exam, and a $39.00 fee for special photographs of the eye
1165

1171     (in lieu of dilation).

llffi    392. Plaintiff then spoke with the optician, who told plaintiff the lab would send the lens directly

ll9)     to plaintiff, free of charge. Although plaintiff paid $100 in 2020 for a replacement lens, Valley
2W
         Eye Care charged plaintiff $165.00 for this lens.

         393. The replacement lens was not sent from the lab, but from the Pleasanton location of Valley

         Eye Care. When plaintiff received the replacement lens, she noticed the lens was stored in a

         brown liquid within the case. Plaintiff tried the lens on and found it extremely uncomfortable.

         She had extreme difficulty removing it. Plaintiff decided to return to the office to talk to Dr.

         Trentacosti, because of plaintiffs concern that two different contact lenses were unwearable.


                                                              123
   Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 127 of 189 Page ID
                                     #:139




   11    Pbintiffh~rl nrnhlPrn<;: urith ~n P~rliPr Jpn<;: frnrn TrPnfarndi   Pbintiffh~" hPPn urP~rino rnnt~rt

  2
        Ill 1ens since 1965, and had never experienced this type of problem. Plaintiff scheduled an
  ]
         appointment for Friday, January 28, 2022, at 11 :00 a.m.
  41-
         394. After making the appointment, plaintiff contacted Eyemed Vision Care, the company that
  5
  (ID    provides the discount to AARP, who informed her the Pleasanton office of Valley Eye Care was

  71 a party to this agreement, under Plan #3209160. Under this plan, there is a $55.00 co-pay for the
  $
         exam; and a ten percent discount on contact lenses. Plaintiff did not ask about the co-pay for the

         contact lens exam. Plaintiff was given no receipt for the contact lenses.
Il®
nn       395. Upon arrival on Friday, January 28, 2022, Dr. Trentacosti informed plaintiff she wanted to

112 talk to the optician, to get a copy of the contact lens order form. She was gone at least ten

Il]      minutes. When she returned, without a copy of the contact lens order form, plaintiff had extreme
Il41-
         difficulty in her communications with Dr. Trentacosti as plaintiff explained the problem. She
]ljj
         tried to get plaintiff to put the defective lens in her eye. Plaintiff did not want to do this, because
Il<ID
Il7/ of extreme difficulty in removal, and extreme discomfort. Plaintiff brought the other lens with

Ill her. Trentacosti used optical equipment, not a microscope, to look at the contact lens most

n,       recently prescribed. She stated she saw nothing wrong with it. Trentacosti acted angry, annoyed,
:m
         and as if she did not want to be bothered. She also appeared unfamiliar with the most recent
2Il
         history, and claimed plaintiff had replaced both lenses. Trentacosti made no definite commitment
n
233      about replacing this lens again, and plaintiff left the lens in the original mailing envelope, with

24       Trentacosti.

1:§i     396. On January 31, 2022, plaintiff reported the above facts to Michael Gagnon, M.D., and sent a
~
         letter to the corporate office for Gagnon Vision Medical Group.


                                                            124
   Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 128 of 189 Page ID
                                     #:140




   l     397. On Februarv 8. 2022. olaintiff again wrote to Michael Gagnon. M.D. Although she had no

  l     ~ discussion with Trentacosti about replacing the lens at the time of plaintiff's office visit of
  ]
         January 28, 2022, Plaintiff received another lens from Valley Eye Care via U.S. mail. Plaintiff
  ~
  $      did not open the envelope and sent it to Gagnon instead. Plaintiff has never heard from Gagnon.

  (6,    398. At each of plaintiff's visits to Valley Eye Care, most recently January 14, and January 28,

  71 2022, Trentacosti failed to inform plaintiff and suppressed the fact that Valley Eye Care would
  $
         not sell plaintiff wearable contact lenses, and that any lens she received would be adulterated.

         Trentacosti further failed to inform plaintiff and suppressed the fact that any vision prescriptions
n@
llll     would not be accurate. These suppressions of fact were made with the intention that plaintiff

@        would order contact lenses from Valley Eye Care which would be unwearable and a danger to the

ll]      eye, and make the mistake of relying on vision prescriptions from Trentacosti. Plaintiff had been
ll41-
         a patient of Valley Eye Care since 2006, seeing other doctors, and therefore had no way of
ll5
         knowing she would be treated differently, or be sold adulterated lenses.
ll€65
ll7l     399. The failures to disclose information and suppressions of information were made with the

ll$      intent to induce plaintiff to act in the manner herein alleged in reliance thereon.

1W 400. Plaintiff, at the time these failures to disclose and suppressions of fact occurred, and at the
2W
         time plaintiff took the actions herein alleged, was ignorant of the existence of the facts which
22l1
         defendant suppressed and failed to disclose. If plaintiff had been aware of the existence of these
~

:zm      facts not disclosed by defendant, plaintiff would not have, as she did, made an appointment with

ml- this practitioner, or relied on VALLEY EYE CARE or in particular, Gina Trentacosti, O.D., for

25;      optical or vision care. Plaintiff had been a patient of this business since 2006, under the care of
2I6
         other practitioners. Plaintiff obtained superb care under these other optometrists, and had no
'J1J7
2lR                                                        125
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 129 of 189 Page ID
                                   #:141




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 2
     11401. As a proximate result of the fraudulent conduct of the defondants as herein alleged,                     plaintiff II
 3
      has been forced to forego the regular use of contact lenses because of the loss of one of the
 4
      lenses, and wears the contact lenses for driving only, leaving them off at home, and foregoing all
 5
 6 vision correction at home, since she does !]-Ot have eyeglasses she can wear, and suffers a chronic

 7    disability as a result of the failure of GAGNON to provide either a contact lens, or a current and
 8
      accurate prescription for contact lenses.
 9
      402. As a further proximate result of the fraudulent conduct of the defendants as herein alleged,
10

11    plaintiff has been forced to expend time and energy in an attempt to find another eye care

12    practitioner who can assist plaintiff with her vision care needs. Plaintiff has also been forced to

13    file this lawsuit, since this is part of a pattern of interference with attempts to obtain vision care
14
      from a licensed eye care professional, due to the commission of bribery.
15
      403. On October 3, 2022, plaintiff mailed a letter to Robert Califf, M.D., Commissioner, FDA, in
16
17    Silver Spring, M.D., with a copy also addressed to Hilary Marston, M.D., also of the FDA. This

18    letter did not include plaintiff's e-mail address. The e-mail concerned the adulterated lens sold

19    by VALLEY EYE CARE. A contact lens is considered a "medical device", under the
20
      supervision of the FDA.
21
      404. On October 14, 2022, plaintiff received an e-mail purportedly from the FDA, suggesting
22
      that plaintiff write to someone else within the FDA. On information and belief, plaintiff alleges

      this e-mail was a forgery, prepared co-conspirators Johnson, and/or Ford, and/or Costner, who

      used computer hacking to send this e-mail to plaintiff.

      405. The actual letter to the FDA may have been stolen from the mailstream, and never received


                                                                  126
   Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 130 of 189 Page ID
                                     #:142




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    2
          II no way of contacting the FDA about this critical matter.
    3
                   WHEREFORE, plaintiff prays judgment against defendants, and each of them, as set
   4
           forth below.
    5
   6                                        NINETEENTH CAUSE OF ACTION

   7                            CIVIL RICO (18 USC §1964[c]; BRIBERY; WIRE FRAUD
   8
           CIVIL RICO (18 USC §1964[c]): PREDICATE ACTS: BRIBERY, KIDNAPPING, USE OF
   9
           INTERS TA TE COMMERCE FACILITIES IN THE COMMISSION OF MURDER FOR HIRE
10
ll         [18 USC section l 958(a)]; AND CRIMINAL COPYRIGHT INFRINGEMENT 17 USC section

ll         106(3), 17 USC section 506(a)(l)(A); 18 USC section 1961, 18 USC section 2319, MONEY

D          LAUNDERING (18 USC section 1956); BANK FRAUD (18 USC section 1344)
1l4
            AGAINST DEFENDANT GAGNON VISION MEDICAL GROUP, INC., dba VALLEY EYE
1l5
           CARE INC. , LOS ANGELES TIMES, THE UPS STORE, ANIMAL LEGAL DEFENSE
1l6
1l1        FUND, MCNAUGHTON NEWSPAPERS, INC., CALIFORNIA MEDICAL BOARD,

.Ill       CALIFORNIA BOARD OF BARBERING AND COSMETOLOGY, CALIFORNIA DENTAL

IlC9J      BOARD, CALIFORNIA PHYSICIANS ASSISTANT BOARD, PHARMACY BOARD,
'.?JI))
           DEFENDANTS WALMART, INC., DOCTORS MEDICAL CENTER OF MODESTO, INC.,
211
           TENET CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY OF
:n,
:_n        CALIFORNIA, DIGNITY HEALTH, PROVIDENCE, STANFORD HEAL TH CARE.

241- 406. Plaintiff repeats and realleges paragraphs 1 through 3 86 and incorporates same by reference

2'.'.;;    herein, as though set forth in full.
2YID
           407. During the relevant time periods, defendants and plaintiff were and are each a "person", as
')JJ!

2?$                                                             127
   Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 131 of 189 Page ID
                                     #:143




   11   this term is defined in 18 USC section 1961 r3 l. During the relevant time periods, plaintiff was a
  22
  33
        I
        person injure_d in her business or property, by reason of a violation of RICO within the meaning

        of 18 USC section 1964[c], and through the misuse of health care insurance funds. The
  4i
  j5    overarching purpose of the "Kidnapping Enterprise", as part of the Health Insurance Enterprise":

  (jj   to place plaintiff's life in jeopardy, while billing Medicare for services purportedly rendered,

  77 billing and using plaintiff's Medicare benefits or her own financial resources for procedures and
  $
        tests never performed, and services never provided. Plaintiff alleges a continuing conspiracy

        between and among these defendants, pursuant to 18 USC section 1964[d], commencing in or
lKD

1111    about 2014 and continuing, and suspected by plaintiff in or about 2022. Plaintiff further alleged

1!?2 that the co-conspirators and defendants herein accepted bribes from other co-conspirators,

lIB including Kevin Costner, Don Johnson, and Harrison Ford, as inducements to enter into the
1141-
        "Kidnapping Enterprise" described herein.
11:15
        PATTERN OF RACKETEERING ACTIVITY:
005
1177 408. As set forth below, to carry out, or attempt to carry out, its scheme to defraud, and deprive

lliR plaintiff of health care, and subject plaintiff to kidnapping, defendants have engaged in the

1W following pattern of racketeering activity
2ID
        409. At all times herein mentioned, Defendant GAGNON VISION MEDICAL GROUP INC.,
'.ID
        doing business as Valley Eye Care, was and is a business incorporated in California, and is a
'.W2
2IB business establishment engaged in providing professional vision care including eyeglasses, and

~       contact lenses, and doing business in Livermore and Pleasanton, Alameda County, California.

255 410. In 2020, plaintiff ordered a replacement contact lens through Gina Trentacosti, O.D., of

2H5
        Valley Eye Care. Plaintiff did not immediately check this lens. When plaintiff finally did so, she
'JlJ1
2lB                                                     128
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 132 of 189 Page ID
                                   #:144




 1

 2
     contacted the Livermore office and requested the earliest appointment. Plaintiff was seen by Dr.
 3
     Trentacosti on Friday, January 14, 2022 at 12:15 p.m. at the Pleasanton office. Plaintiff ordered a
 4
     replacement contact lens during the course of her visit.
 5

 6   411. At the front desk, plaintiff spoke with a young male, at the #2 position, and asked for the

 7   AARP discount, which plaintiff had been given before. This young man stated the discount was
 8
     no longer being offered. He checked with someone else, and then stated they would give me a
 9
     $5.00 discount. He never gave plaintiff a receipt, but charged plaintiff $204.00 for a visit which
10
     included a vision exam, a contact lens exam, and a $39.00 fee for special photographs of the eye
11

12   (in lieu of dilation).

13   412. Plaintiff then spoke with the optician, who told plaintiff the lab would send the lens directly
14
     to plaintiff, free of ch4rge. Although plaintiff paid $100 in 2020 for a replacement lens, Valley
15
     Eye Care charged plaintiff $165 .00 for this lens.
16

17   413. The replacement lens was not sent from the lab, but from the Pleasanton location of Valley

18   Eye Care. When plaintiff received the repla~ement lens, she noticed the lens was stored in a

19   brown liquid within the case. In plaintiffs experience, contact lenses are stored in clear liquid
20
     only. Plaintiff tried the lens on and found it extremely uncomfortable. She had extreme difficulty
21
     removing it. Plaintiff decided to return to the office to talk to Dr. Trentacosti, because of
22

23   plaintiffs concern that two different contact lenses were unwearable. Plaintiff had problems

24   with an earlier lens from Trentacosti. Plaintiff has been wearing contact lens since 1965, and

25   had never experienced this type of problem. Plaintiff scheduled an appointment for Friday,
26
     January 28, 2022, at 11 :00 a.m.
27
28                                                    129
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 133 of 189 Page ID
                                   #:145




 1   414 A ftpr m::ikino- thP ::innointmPnt nl::iintiff ront::idPrl FvPmPrl Vi-:ion C::irP thP romn:mv th~t

 2
     provides the discount to AARP, who informed her the Pleasanton office of Valley Eye Care was
 3
     a party to this agreement, under Plan #3209160. Under this plan, there is a $55.00 co-pay for the
 4
     exam; and a ten percent discount on contact lenses. Plaintiff did not ask about the co-pay for the
 5

 6   contact lens exam.

 7   415. Upon arrival on Friday, January 28, 2022, Dr. Trentacosti informed plaintiff she wanted to
 8
     talk to the optician, to get a copy of the contact lens order form. She was gone at least ten
 9
     minutes. When she returned, without a copy of the contact lens order form, plaintiff had extreme
10

11   difficulty in her communications with Dr. Trentacosti as plaintiff explained the problem. She

12   tried to get plaintiff to put the defective lens in her eye. Plaintiff did not want to do this, because

13   of extreme difficulty in removal, and extreme discomfort. Plaintiff brought the other lens with
14
     her. Trentacosti used optical equipment, not a microscope, to look at the contact lens most
15
     recently prescribed. She stated she saw nothing wrong with it. Trentacosti acted angry, annoyed,
16

17   and as if she did not want to be bothered. She also appeared unfamiliar with the most recent

18   history, and claimed plaintiff had replaced both lenses. Trentacosti made no definite commitment

19   about replacing this lens again, and the lens was left in the original mailing envelope, with her.
20
     416. On January 31, 2022, plaintiff reported the above facts in a letter to Michael Gagnon, M.D.,
21
     sent to the corporate address for Gagnon Vision Medical Group.
22
23   417. On February 8, 2022, plaintiff again wrote to Michael Gagnon, M.D. Although there was no

24   discussion with Trentacosti about replacing the lens at the time of plaintiffs office visit of

25   January 28, 2022, Plaintiff had received another lens from Valley Eye Care via U.S. mail.
26
     Plaintiff did not open the envelope and sent it to Gagnon instead. Plaintiff has never heard from
27

28                                                     130
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 134 of 189 Page ID
                                   #:146




 1   GaQnon.
 2
     418. At each of plaintiffs visits to Valley Eye Care, most recently January 14, and January 28,
 3
     2022, Trentacosti failed to inform plaintiff and suppressed the fact that Valley Eye Care would
 4
     not sell plaintiff wearable contact lenses, and that any lens she received would be adulterated.
 5
 6   These suppressions of fact were made with the intention that plaintiff would order contact lenses

 7   from Valley Eye Care which would be unwearable and a danger to the eye. Plaintiff had been a
 8
     patient of Valley Eye Care since 2006, seeing other doctors, and therefore had no way of
 9
     knowing she would be treated differently, or be sold adulterated lenses.
10
     419. On information and belief, Trentacosti, a licensed optometrist, and other employees of
11
12   GAGNON, accepted a series of bribes, agreeing to attempt to damage plaintiffs eyesight,

13   through providing adulterated contact lenses, and agreeing not to provide wearable contact
14
     lenses. Trentacosti also agreed not to provide accurate vision correction prescriptions.
15
     RICO CONSPIRACY (18 USC SECTION 1962[d])
16

17   420. As set forth above, defendants GAGNON VISION MEDICAL GROUP, INC., dba

18   VALLEY EYE CARE INC. , LOS ANGELES TIMES, THE UPS STORE, ANIMAL LEGAL

19   DEFENSE FUND, MCNAUGHTON NEWSPAPERS, INC., CALIFORNIA MEDICAL
20
     BOARD, CALIFORNIA BOARD OF BARBERING AND COSMETOLOGY, CALIFORNIA
21
     DENTAL BOARD, CALIFORNIA PHYSICIANS ASSIST ANT BOARD, PHARMACY
22
23   BOARD, DEFENDANTS WALMART, INC., DOCTORS MEDICAL CENTER OF

24   MODESTO, INC., TENET CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY

25   OF CALIFORNIA, DIGNITY HEALTH, PROVIDENCE, STANFORD HEALTH CARE, and
26
     the other co-conspirators associated with this enterprise agreed and conspired to violate 18 USC
27

28                                                   131
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 135 of 189 Page ID
                                   #:147




 2
     of the affairs of the health care and kidnapping enterprises through a pattern of racketeering
 3
     activity in violation of 18 USC section 1962[d].
 4
     421. Defendants GAGNON VISION MEDICAL GROUP, INC., dba VALLEY EYE CARE
 5

 6   INC., LOS ANGELES TIMES, THE UPS STORE, ANIMAL LEGAL DEFENSE FUND,

 7   MCNAUGHTON NEWSPAPERS, INC., CALIFORNIA MEDICAL BOARD, CALIFORNIA
 8
     BOARD OF BARBERING AND COSMETOLOGY, CALIFORNIA DENTAL BOARD,
 9
     CALIFORNIA PHYSICIANS ASSISTANT BOARD, PHARMACY BOARD, DEFENDANTS
10
     WALMART, INC., DOCTORS MEDICAL CENTER OF MODESTO, INC., TENET
11

12   CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA,

13   DIGNITY HEALTH, PROVIDENCE, STANFORD HEALTH CARE, and the co-conspirators
14
     committed and caused to be committed a series of overt acts in furtherance of the conspiracy and
15
     to effect the objects thereof, including but not limited to the acts set forth above.
16

17   422. As a result of defendants' and co-conspirators' violations of 18 USC section 1962[d],

18   plaintiffs personal property including flash drives, her pets, her car, and her intellectual property,

19   were stolen, contact lenses and prescriptions were not provided plaintiffs Medicare benefits
20
     were stolen, fraudulent claims submitted to Medicare, and Medicare premiums indirectly
21
     financed bribery, and the other predicate acts, including health care fraud, kidnapping, wire
22
23   fraud, mail fraud, and access device fraud.

24   423. As a direct and proximate result of the conspiracy, between and among defendants,

25   GAGNON MEDICAL VISION CARE, INC., LOS ANGELES TIMES, THE UPS STORE,
26
     ANIMAL LEGAL DEFENSE FUND, MCNAUGHTON NEWSPAPERS, INC., CALIFORNIA
27
28                                                     132
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 136 of 189 Page ID
                                   #:148




 1   MEDICAL BOARD. CALIFORNIA BOARD OF BARBERING AND COSMETOLOGY.
 2
     CALIFORNIA DENTAL BOARD, CALIFORNIA PHYSICIANS ASSISTANT BOARD,
 3
     PHARMACY BOARD, DEFENDANTS WALMART, INC., DOCTORS MEDICAL CENTER
 4
     OF MODESTO, INC., TENET CALIFORNIA, RAY STONE, INC., REGENTS OF
 5
 6   UNIVERSITY OF CALIFORNIA, DIGNITY HEALTH, PROVIDENCE, STANFORD

 7   HEALTH CARE, and co-conspirators, plaintiff suffered damages, in an amount to be determined
 8
     at the time of trial. Pursuant to RICO, 18 USC section 1964[c], plaintiff is entitled to recover
 9
     threefold her damages plus costs.
10
             WHEREFORE plaintiff prays judgment as set forth below.
11

12                                   TWENTIETH CAUSE OF ACTION

13   CIVIL RICO (18 USC §1964[c]): PREDICATE ACTS: BRIBERY, KIDNAPPING, USE OF
14
     INTERS TA TE COMMERCE FACILITIES IN THE COMMISSION OF MURDER FOR HIRE
15
     [18 USC section 1958(a)]; AND CRIMINAL COPYRIGHT INFRINGEMENT 17 USC section
16

17   106(3), 17 USC section 506(a)(l)(A); 18 USC section 1961, 18 USC section 2319,CIVIL RICO-

18   -CIVIL RICO (18    use §1964[c]; BRIBERY; WIRE FRAUD BRIBERY, WIRE FRAUD,
19   MONEY LAUNDERING (18 USC section 1956); BANK FRAUD (18 USC section 1344)
20
                           AGAINST CALIFORNIA BOARD OF OPTOMETRY
21
                                   AND ALL OTHER CO-DEFENDANTS
22

23   423. Plaintiff repeats and realleges paragraphs 1 through 386, 407-422, and incorporates same by

24   reference herein, as though set forth in full.

25   424. During the relevant time periods, defendants and plaintiff were and are each a "person", as
26
     this term is defined in 18 USC section 1961 [3]. During the relevant time periods, plaintiff was a
27

28                                                    133
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 137 of 189 Page ID
                                   #:149




 1

 2
     of 18 USC section 1964[c], and through the misuse of health care insurance funds. The
 3
     overarching purpose of the "Kidnapping Enterprise", as part of the Health Care Fraud
 4
     Enterprise": to place plaintiff's life in jeopardy, while billing Medicare for services purportedly
 5

 6   rendered, billing and using plaintiff's Medicare benefits or her own financial resources for

 7   procedures and tests never performed, and services never provided. Plaintiff alleges a continuing
 8
     conspiracy between and among these defendants, pursuant to 18 USC section 1964[d],
 9
     commencing in or about 2014 and continuing, and suspected by plaintiff in or about 2022.
10

11   Plaintiff further alleged that the co-conspirators and defendants herein accepted bribes from other

12   co-conspirators, including Kevin Costner, Don Johnson, and Harrison Ford, as inducements to

13   enter into the "Kidnapping Enterprise" described herein.
14
     PATTERN OF RACKETEERING ACTIVITY:
15
     425. On October 1, 2022, plaintiff filed an on-line complaint against Gina Trentacosti, O.D., with
16

17   the California Board of Optometry. Pink M. Crosby, Enforcement Technician, acknowledged this

18   complaint, with a case number, 4202023000079. Plaintiff was e-mailed a letter asking her to sign

19   medical authorization forms. Plaintiff informed the Board her outgoing mail was stolen, and
20
     asked if she could bring the forms to their office in person. Plaintiff never received a response to
21
     this e-mail.
22
23   426. As part of a pattern with other California Boards with which plaintiff had filed complaints,

24   Pink Crosby and/or other employees of the Board accepted a bribe or bribes not to process or
25   prosecute this complaint. The bribe or bribes were paid via wire transfer(s).
26

27

28                                                   134
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 138 of 189 Page ID
                                   #:150




 1   RTrn rnNSPTR Arv        (1   R   nsr SFrTTnN 1 Q6?frffl
 2
     427. As set forth above, defendants BOARD OF OPTOMETRY, GAGNON MEDICAL VISION
 3
     CARE, MCNAUGHTON NEWSPAPERS, INC., dba Daily Republic Newspaper, DOCTORS
 4
     MEDICAL CENTER OF MODESTO, TENET CALIFORNIA, RAY STONE, INC., REGENTS
 5
 6   OF UNIVERSITY OF CALIFORNIA, STANFORD HEALTH CARE, UPS STORE, LOS

 7   ANGELES TIMES, CALIFORNIA MEDICAL BOARD, BOARD OF BARBERING AND
 8
     COSMETOLOGY, PHARMACY BOARD, PHYSICIAN'S ASSISTANT BOARD, DIGNITY
 9
     HEAL TH, PROVIDENCE, and the other co-conspirators associated with this enterprise agreed
10

11
     and conspired to violate 18 USC section 1962(c]; that is, agreed to conduct and participate,

12   directly and indirectly, in the conduct of the affairs of the health care and kidnapping enterprises

13   through a pattern of racketeering activity in violation of 18 USC section 1962(d].
14
     428. Defendants BOARD OF OPTOMETRY, GAGNON MEDICAL VISION CARE,
15
     MCNAUGHTON NEWSPAPERS, INC., dba Daily Republic Newspaper, DOCTORS
16
l?   MEDICAL CENTER OF MODESTO, TENET CALIFORNIA, RAY STONE, INC., REGENTS

18   OF UNIVERSITY OF CALIFORNIA, STANFORD HEAL TH CARE, UPS STORE, LOS

19   ANGELES TIMES, CALIFORNIA MEDICAL BOARD, BOARD OF BARBERING AND
20
     COSMETOLOGY, PHARMACY BOARD, PHYSICIAN'S ASSISTANT BOARD, DIGNITY
21
     HEAL TH, PROVIDENCE, and the co-conspirators committed and caused to be committed a
22

23   series of overt acts in furtherance of the conspiracy and to effect the objects thereof, including but

24   not limited to the acts set forth above.
25   429. As a result of defendants' and co-conspirators' violations of 18 USC section 1962(d],
26
     plaintiffs Medicare benefits were stolen, fraudulent claims submitted to Medicare, and the
27

28                                                     135
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 139 of 189 Page ID
                                   #:151




 1

 2
     kidnapping, wire fraud, mail fraud, and access device fraud. Defendants also stole plaintiff's
 3
     personal property, including prescriptions, flash drives, her pets, her car, and intellectual
 4
     property.
 5

 6   430. As a direct and proximate result of the conspiracy, between and among all defendants, and

 7   co-conspirators, plaintiff suffered damages, in an amount to be determined at the time of trial.
 8
     Pursuant to RICO, 18 USC section 1964[ c], plaintiff is entitled to recover threefold her damages
 9
     plus costs.
10
             WHEREFORE, plaintiff prays judgment against defendants, and each of them, as set
11

12   forth below.

13                                TWENTY-FIRST CAUSE OF ACTION
14
     CIVIL RICO (18 USC §1964[c]): PREDICATE ACTS: BRIBERY, WIRE FRAUD, MAIL
15
     FRAUD, KIDNAPPING, USE OF INTERSTATE COMMERCE FACILITIES IN THE
16

17   COMMISSION OF MURDER FOR HIRE [18 USC section 1958(a)]; AND CRIMINAL

18   COPYRIGHT INFRINGEMENT 17 USC section 106(3), 17 USC section 506(a)(l)(A); 18 USC

19   section 1961, 18 USC section 2319; MONEY LAUNDERING (18 USC section 1956); BANK
20
     FRAUD (18 USC section 1344); INTERSTATE OR FOREIGN SHIPMENT BY CARRIER
21
     (18 USC section 659)
22
23                    (AGAINST DEFENDANT FEDERAL EXPRESS COMPANY,

24                                  AND ALL OTHER DEFENDANTS)

25   431. Plaintiff repeats and realleges paragraphs 1 through 386, and 407-430, and incorporates
26
     same by reference as though set forth in full herein.
27

28                                                    136
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 140 of 189 Page ID
                                   #:152




 I
 2
     this term is defined in 18 USC section 196 I [3]. During the relevant time periods, plaintiff was a
 3
     person injured in her business or property, by reason of a violation of RICO within the meaning
 4
     of 18 USC section 1964[c], and through the misuse of health care insurance funds. The
 5

 6   overarching purpose of the "Kidnapping/Murder Enterprise", as part of the "Health Care Fraud

 7   Enterprise": to place plaintiff's life in jeopardy, while billing Medicare for services purportedly
 8
     rendered, billing and using plaintiff's Medicare benefits or her own financial resources for
 9
     procedures and tests never performed, and services never provided. Plaintiff alleges a continuing
10
     conspiracy between and among these defendants, pursuant to 18 USC section 1964[d],
11

12   commencing in or about 2014 and continuing, and suspected by plaintiff in or about 2022.

13   Plaintiff further alleged that the co-conspirators and defendants herein accepted bribes from other
14
     co-conspirators, including Kevin Costner, Don Johnson, and Harrison Ford, as inducements to
15
     enter into the "Kidnapping Enterprise" described herein.
16
     PATTERN OF RACKETEERING ACTIVITY:
17

18   433. On June 26, 2020, plaintiff made the first of several attempts to reach Former President

19   Barach Obama via U.S. mail. The letter was mailed via Priority Overnight to a post office box in
20
     Washington, D.C., apparently belonging to the Former President. Plaintiff received no response
21
     to this letter.
22

23   434. On September I 0, 2020, plaintiff send a second letter to the Former President via certified

24   mail, return receipt requested. Plaintiff never received the return receipt and believes these two

25   letters, as well as subsequent letters sent to Barach Obama, became the subjects of federal mail
26
     theft
27

28                                                    137
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 141 of 189 Page ID
                                   #:153




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 2
     wife of actor George Clooney, and part of the Clooney Foundation, formed to address violence
 3
     against women. Plaintiff sent her first letter to Amal Clooney via International Mail, with
 4
     tracking, and allegedly delivered in London, UK. Plaintiff received no response to this letter, and
 5
 6   believes it never left the local post office, near plaintiffs home.

 7   436. On December 31, 2021, plaintiff again sent a letter to Amal Clooney in London, via
 8
     International Mail. Plaintiff received no response top this letter, and believes it never left the
 9
     local post office, near plaintiffs home.
10                                                                         ,.
11   43 7. On October 1, 2022, in an effort to circumvent hundreds of instances of federal mail theft,

12   committed against plaintiff, plaintiff took a letter and several documents to a local Fed Ex store,

13   located at 1795 Arden Way, Sacramento CA 95825, to be delivered to Amal Clooney in London.
14
     Fed Ex charged plaintiff $94. 77 for this international shipment, but never completed a customs
15
     declaration. Although the Fed Ex website shows the shipment as delivered in London, plaintiff
16

17   received no response and believes Fed Ex employees stole this shipment, sending it via U.S. mail

18   to Kevin Costner instead. Plaintiff also alleges the websit~ was hacked to erroneously show the

19   shipment as delivered
20
     438. On October 4, 2022, before realizing the previous Fed Ex shipment had been stolen, and
21
     still believing Fed Ex might work, plaintiff took a letter and a number of documents to the same
22
23   Fed Ex store, located at 1795 Arden Way, Sacramento CA 95825. Plaintiff purchased a box for

24   the thirteen-page letter and enclosures, consisting of one hundred documents. The box was to be

25   shipped to the Obama Foundation at an address in Chicago, IL.
26
     439. On information and belief, plaintiffalleges that FedEx employees at that location accepted
27

28                                                        138
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 142 of 189 Page ID
                                   #:154




 1   bribes to nrevent deliverv of this nacka!.!e to Rarach Obama. instead using: the US Mail to send
 2
     the box to Kevin Costner at a post office box designated for this purpose. Approximately ten
 3
     people work at this location of Fed Ex; on information and belief, plaintiff alleges all of them
 4
     accepted bribes to intercept the delivery and instead mail it to someone else. Plaintiff never
 5

 6   received a response from Barach Obama, and on information and belief, alleges that the Fed Ex

 7   delivery was stolen by a Fed Ex employee, and never sent to Chicago.
 8
     440. On information and belief, plaintiff alleges the same clerk involved in the Amal Clooney
 9
     transaction also accepted a bribe not to make this delivery to the Former President.
10
     441. Although the Fed Ex website shows the box as delivered, plaintiff has never heard from
11

12   Barach Obama. Plaintiff attempted a follow-up letter to Barach Obama, via U.S. mail, on

13   October 6, 2022. Again, plaintiff received no response, and believes USPS employees stole the
14
     letter.
15
     442. In addition, on October 5, 2022, plaintiff sent correspondence to the Secret Service,
16

17   addressed as follows: Kimberly Cheatle, Director, U.S. Secret Service, 245 Murray Lane SW

18   Bldg. T-5, Washington DC 20223. The letter informed the Secret Service of what plaintiff

19   believed was a theft of a Fed Ex shipment intended for Former President Obama. Plaintiff
20
     received no response to this letter, probably also stolen by USPS employees.
21
     443. On November 3, 2022, Plaintiff also attempted to mail a letter to Fed Ex, at 3875 Airways
22
23   Module H3, Department 4634, Memphis TN 38116. The letter referenced both the Amal

24   Clooney and Barach Obama shipments: RE: Transaction# 94034726714; tracking

25   #278753305679 (Barach Obama); Transaction #940347043548; tracking #278635967260 (Amal
26
     Clooney). Plaintiff received no response from Fed Ex and believes the letter became yet another
27

28                                                   139
   Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 143 of 189 Page ID
                                     #:155




   2
         RICO CONSPIRACY (18 USC SECTION 1962[d])
   3
         444. As set forth above, defendants FED EX, BOARD OF OPTOMETRY, GAGNON
   4
         MEDICAL VISION CARE, MCNAUGHTON NEWSPAPERS, INC., dba Daily Republic
   5
   6     Newspaper, DOCTORS MEDICAL CENTER OF MODESTO, TENET CALIFORNIA, RAY

   7     STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA, STANFORD HEALTH
   8
         CARE, UPS STORE, LOS ANGELES TIMES, CALIFORNIA MEDICAL BOARD, BOARD
   9                                                   ;
         OF BARBERING AND COSMETOLOGY, PHARMACY BOARD, PHYSICIAN'S
10
         ASSISTANT BOARD, DIGNITY HEALTH, PROVIDENCE, and the other co-conspirators
11

12       associated with this enterprise agreed and conspired to violate 18 USC section 1962[c]; that is,

13       agreed to conduct and participate, directly and indirectly, in the conduct of the affairs of the
14
         health care and kidnapping enterprises through a pattern of racketeering activity in violation of
15
         18 USC section 1962[d].
16

17       445. Defendants FED EX, BOARD OF OPTOMETRY, GAGNON MEDICAL VISION CARE,

18       INC., MCNAUGHTON NEWSPAPERS, INC., dba Daily Republic Newspaper, DOCTORS

19       MEDICAL CENTER OF MODESTO, TENET CALIFORNIA, RAY STONE, INC., REGENTS
20
         OF UNIVERSITY OF CALIFORNIA, STANFORD HEAL TH CARE, THE UPS STORE, LOS
21
')')
         ANGELES TIMES, CALIFORNIA MEDICAL BOARD, BOARD OF BARBERING AND
,_,,._

23       COSMETOLOGY, PHARMACY BOARD, PHYSICIAN'S ASSISTANT BOARD, DIGNITY

24       HEAL TH, PROVIDENCE, and the co-conspirators committed and caused to be committed a

25       series of overt acts in furtherance of the conspiracy and to effect the objects thereof, including but
26
         not limited to the acts set forth above.
27

28                                                         140
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 144 of 189 Page ID
                                   #:156




 2
     plaintiffs Medicare benefits were stolen, fraudulent claims submitted to Medicare, and the
 3
     premiums indirectly financed bribery, and the other predicate acts, including health care fraud,
 4
     kidnapping, wire fraud, mail fraud, and access device fraud. As a result of defendants' and co-
 5
 6   conspirators' violations of 18 USC section 1962[d], plaintiffs Medicare benefits were stolen,

 7   fraudulent claims submitted to Medicare, and the premiums indirectly financed bribery, and the
 8
     other predicate acts, including health care fraud, kidnapping, wire fraud, mail fraud, money
 9
     laundering, bank fraud, and access device fraud. Defendants also stole plaintiffs personal
10

11   property, including prescriptions, flash drives, her pets, her car, and intellectual property.

12   447. As a direct and proximate result of the conspiracy, between and among Defendants FED

13   EX, BOARD OF OPTOMETRY, GAGNON MEDICAL VISION CARE, INC., DOCTORS
14
     MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA, MCNAUGHTON
15
     NEWSPAPERS, INC., dba Daily Republic Newspaper, RAY STONE, INC., REGENTS OF
16

17   UNIVERSITY OF CALIFORNIA, STANFORD HEALTH CARE, THE UPS STORE, LOS

18   ANGELES TIMES, CALIFORNIA MEDICAL BOARD, BOARD OF BARBERING AND

19   COSMETOLOGY, PHARMACY BOARD, PHYSICIAN'S ASSISTANT BOARD, DIGNITY
20
     HEAL TH, PROVIDENCE, and co-conspirators, plaintiff suffered damages, in an amount to be
21
     proven/ determined at the time of trial. Pursuant to RICO, 18 USC section l 964[c ], plaintiff is
22
23   entitled to recover threefold her damages plus costs.

24           WHEREFORE, plaintiff prays judgment against defendants, and each of them, as set

25   forth below.
26

27

28                                                     141
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 145 of 189 Page ID
                                   #:157




 1

 2
     CIVIL RICO (18 USC §l 964[c]): PREDICATE ACTS: BRIBERY, WIRE FRAUD,
 3
     KIDNAPPING, USE OF INTERSTATE COMMERCE FACILITIES IN THE COMMISSION
 4
     OF MURDER FOR HIRE [18 USC section 1958(a)]; AND CRIMINAL COPYRIGHT
 5

 6   INFRINGEMENT 17 USC section 106(3), 17 USC section 506(a)(l)(A); 18 USC section 1961,

 7   18 USC section 2319; MONEY LAUNDERING (18 USC section 1956); BANK FRAUD (18
 8
     USC section 1344); INTERSTATE OR FOREIGN SHIPMENT BY CARRIER
 9
     (18 USC section 659)
10

11    AGAINST DEFENDANTS LIVERMORE OPTOMETRY INC., BOARD OF OPTOMETRY,

12   GAGNON VISION MEDICAL GROUP, INC., dba VALLEY EYE CARE INC. DOCTORS

13   MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA, Defendant
14
     MCNAUGHTON NEWSPAPERS, INC., dba Daily Republic Newspaper, RAY STONE, INC.,
15
     REGENTS OF UNIVERSITY OF CALIFORNIA, STANFORD HEALTH CARE, THE UPS
16
17   STORE, LOS ANGELES TIMES, CALIFORNIA MEDICAL BOARD, BOARD OF

18   BARBERING AND COSMETOLOGY, PHARMACY BOARD, PHYSICIAN'S ASSISTANT

19   BOARD.
20
     448. Plaintiff repeats and realleges paragraphs 1 through 386 and 407-447 and incorporates same
21
     by reference herein, as though set forth in full.
22
23   449. During the relevant time periods, defendants and plaintiff were and are each a "person", as

24   this term is defined in 18 USC section 1961 [3]. During the relevant time periods, plaintiff was a
25
     person injured in her business or property, by reason of a violation of RICO within the meaning
26
     of 18 USC section 1964[c], and through the misuse of health care insurance funds. The
27

28                                                       142
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 146 of 189 Page ID
                                   #:158




 1   overarching purpose of the "Kidnapping Enterprise", as part of the Health Insurance Enterprise":
 2
     to place plaintiffs life in jeopardy, while billing Medicare for services purportedly rendered,
 3
     billing and using plaintiffs Medicare benefits or her own financial resources for procedures and
 4
     tests never performed, and services never provided. Plaintiff alleges a continuing conspiracy
 5

 6   between and among these defendants, pursuant to 18 USC section 1964 [d], commencing in or

 7   about 2014 and continuing, and suspected by plaintiff in or about 2022. Plaintiff further alleged
 8
     that the co-conspirators and defendants herein accepted bribes from other co-conspirators,
 9
     including Kevin Costner, Don Johnson, and Harrison Ford, as inducements to enter into the
10
     "Kidnapping Enterprise" described herein.
11

12   PATTERN OF RACKETEERING ACTIVITY:

13   450. As set forth below, to carry out, or attempt to carry out, its scheme to defraud, and deprive
14
     plaintiff of health care benefits, and health care, and subject plaintiff to a kidnapping, defendants
15
     have engaged in the following pattern of racketeering activity
16

17   451. On August 24, 2022, plaintiff contacted defendant LIVERMORE OPTOMETRY, INC., via

18   e-mail, asking if they could fill a contact lens prescription from another doctor. Plaintiff

19   specified that the prescription requested an "'Oxyflow Paragon HDS." Plaintiff received a return
20
     e-mail from "Jessica", stating they could do so. Plaintiff managed to e-mail the prescription to
21
     LIVERMORE OPTOMETRY. Plaintiff received several e-mails indicating they could fill this
22
23   prescription.

24   452. Plaintiff mailed a check to Livermore Optometry in the amount of $150.00 with a cover

25   letter reading in part as follows: "This lens replaced an adulterated lens sold to me by another
26
     practitioner."
27
28                                                    143
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 147 of 189 Page ID
                                   #:159




 1   4'i1 Shortlv there::ifter. nl::iintiff reviewed the nrescrintion. from Gina Trentacosti. O.D .. of

 2
     GAGNON VISION MEDICAL GROUP, dba VALLEY EYE CARE INC., and became
 3
     concerned that the contact lens prescription might be wrong. Plaintiff scheduled an appointment
 4
     with Steven Faith, O.D., which she later cancelled and rescheduled at a later date.
 5

 6   454. On October 3, 2022, plaintiff mailed a letter to Robert Califf, M.D., Commissioner, FDA, in

 7   Silver Spring, M.D., with a copy also addressed to Hilary Marston, M.D., also of the FDA. This
 8
     letter did not include plaintiffs e-mail address. The e-mail concerned the adulterated lens sold
 9
     by VALLEY EYE CARE. A contact lens is considered a "medical device", under the
10
     supervision of the FDA.
11

12   455. On October 14, 2022, plaintiff received an e-mail purportedly from the FDA, suggesting

13   that plaintiff write to someone else within the FDA. On information and belief, plaintiff alleges
14
     this e-mail was a forgery, prepared co-conspirators Johnson, and/or Ford, and/or Costner, who
15
     used computer hacking to send this e-mail to plaintiff.
16
17
     456. The actual letter to the FDA was stolen from the mailstream, and never received by the

18   FDA. Plaintiff has no way of contacting the FDA about this matter.

19   457. On or about December 23, 2022, plaintiff was seen by optometrist Steven Faith, O.D., at
20
     Livermore Optometry in Livermore, California. Plaintiff had been a former patient of this
21
     practice, with services provided by Clark Abramson, O.D., for approximately ten years. At the
22
23   time of the December 23, 2022 appointment plaintiff was given an eye exam and contact lens

24   exam. Plaintiff was charged $345.00 for these services. Plaintiff also wanted to order a left

25   contact lens. At the time plaintiff paid the $345.00, plaintiff was informed that data from Dr.
26
     Faith "had not downloaded", and the woman with whom plaintiff spoke could not process a
27

28                                                      144
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 148 of 189 Page ID
                                   #:160




 2
     receipt was processed by an employee who did not give her name. Plaintiff also was not given
 3
     prescriptions, which included two eye glass prescriptions, and contact lens prescriptions.
 4
     458. This left contact lens was mailed to plaintiff approximately two weeks after that
 5

 6   appointment. Livermore Optometry did not bill plaintiff for the contact lens, and plaintiff

 7   voluntarily sent them a check in the amount of $150.00. This check was negotiated by plaintiff's
 8
     bank.
 9
     459. On January 19, 2023, plaintiff developed an eye infection and was seen by Dr. Pamela Jetter
10
     at LIVERMORE OPTOMETRY, who prescribed eye drops. Dr. Jetter followed up via telephone
11

12   and text message the following day. Via text message, plaintiff informed Dr. Jetter that her eye

13   was improving and that she would defer any follow-up. Medical records show that Jetter
14
     acknowledged her text message, "electronically signed" on February 3, 2023. No one from L.O.
15
     demanded a further office visit at that time.
16

17   460. On Friday, January 20, 2023, plaintiff discovered that she had lost a right eye contact lens,

18   and placed a telephone order for this lens with "Norman" of L.O. Plaintiff used a debit card to

19   place this order, and the order was processed within plaintiff's bank on Monday, January 23,
20
     2023.
21
     461. On Thursday, February 2, 2023, plaintiff became concerned about the length of time that
22
23   had passed since she had placed the contact lens order and attempted follow up by phone with

24   L.O. The person she spoke with by phone informed plaintiff that "the contact lens order was in

25   process", and transferred her to the contact lens department. Plaintiff received only voice mail
26
     and did not leave a message. Plaintiff sent several e-mails to "info@livermoreoptometry.com"
27

28                                                   145
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 149 of 189 Page ID
                                   #:161




 1

 2
     462. On February 2, 2023, Plaintiff had two different conversations with "Becky", who informed
 3
     her the contact lens order would not be processed unless okayed by Dr. Faith. Plaintiff explained
 4
     that she needed the right contact lens, not the left, and that her left eye had completely healed.
 5

 6   Plaintiff was also never informed that there would be any delay in processing the contact lens

 7   order which she placed and paid for on Friday, January 30, 2023.
 8
     463. On February 2, 2023, at 4: 18 p.m., plaintiff sent a text message to a telephone number
 9
     recently used by Dr. Jetter in connection with an eye injury Dr. Jetter had treated. This text
10

11   message was intended for Dr. Jetter, but was intercepted by "Becky." Plaintiff's text message

12   read as follows: "There is a serious problem with a contact lens order for the right eye which I

13   placed two weeks ago. My left eye has completely healed. Please have someone in authority look
14
     into this and let me know. Thank you."
15
     464. On February 2, 2023, at 4: 18 p.m., plaintiff received an immediate response via text
16

17   message from "Becky", reading as follows:

18   465. "Hello Diane. This is Becky and we spoke earlier. I have e-mailed Dr. Faith for

19   confirmation on the order for your right contact lens. I will inform you when I have more
20
     information. Thank you."
21
     466. On February 3, 2023, plaintiff received an e-mail communication stating that she was
22
23   dropped as a patient and that defendant LIVERMORE would not fill an order for a contact lens,

24   although the records established this as a replacement lens.

25
     467. The medical records e-mailed to plaintiff did not include prescriptions, and none were ever
26
     provided by LIVERMORE OPTOMETRY.
27

28                                                    146
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 150 of 189 Page ID
                                   #:162




 1   468. The records also indicated Faith's concerns about the history of plaintiff's current contact
 2
     lens prescription, and that it was impossible to determine the design of the lens, or who
 3
     prescribed them. "Disc impossible to know without prior records." The records also stated "very
 4
     vague history of CLS hx. and design." The records make these statements despite the fact that
 5
 6   plaintiff had provided an earlier prescription from Gina Trentacosti. O.D., sent to that office and

 7   acknowledged via e-mail. The records also falsely stated that plaintiff was "adamant against a
 8
     pair" [of contact lenses] at the time of the visit.
 9
     469. On February 15, 2023, plaintiff received a check in the amount of $150.00 from
10

11   LIVERMORE OPTOMETRY, purportedly refunding the money she had voluntarily paid for a

12   contact lens mailed to her. The manila envelope, sent via certified mail, also included the same

13   records previously e-mailed to plaintiff, as well as the e-mail dropping plaintiff as a patient.
14
     470. As a proximate result of the fraudulent conduct of the defendants as herein alleged, plaintiff
15
     has been forced to forego the regular use of contact lenses because of the loss of one of the
16

17   lenses, and wears the contact lenses for driving only, leaving them off at home, and foregoing all

18   vision correction at home, since she does not have eyeglasses she can wear, and suffers a chronic

19   disability as a result of the failure of GAGNON to provide either a contact lens, or a current and
20
     accurate prescription for contact lenses.
21
     4 71. As a result of defendants' and co-conspirators' violations of 18 USC section 1962 [d],
22

23   plaintiff was defrauded into paying for services she never received. In addition, plaintiff's

24   Medicare benefits were stolen, fraudulent claims submitted to Medicare, and the premiums
25
     indirectly financed bribery, and other predicate acts, including health care fraud, kidnapping, wire
26
     fraud, mail fraud, and access device fraud. Plaintiffs personal property was also stolen,
27

28                                                         147
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 151 of 189 Page ID
                                   #:163




 2
     4 72. As a direct and proximate result of the conspiracy, between and among Defendants
 3
     LIVERMORE OPTOMETRY INC., GAGNON MEDICAL VISION CARE, INC., DOCTORS
 4
     MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA, MCNAUGHTON
 5
 6   NEWSPAPERS, INC., dba Daily Republic Newspaper, RAY STONE, INC., REGENTS OF

 7   UNIVERSITY OF CALIFORNIA, STANFORD HEALTH CARE, THE UPS STORE, LOS
 8
     ANGELES TIMES, CALIFORNIA MEDICAL BOARD, BOARD OF BARBERING AND
 9
     COSMETOLOGY, PHARMACY BOARD, PHYSICIAN'S ASSISTANT BOARD, and co-
10

11
     conspirators, plaintiff suffered damages, in an amount to be proven/ determined at the time of

12   trial. Pursuant to RICO, 18 USC section 1964[c], plaintiff is entitled to recover threefold her

13   damages plus costs.
14
            WHEREFORE plaintiff prays judgment as set forth below.
15
                                 TWENTY-THIRD CAUSE OF ACTION
16

17                                  FRAUD-SUPPRESSION OF FACT

18                    (AGAINST DEFENDANT LIVERMORE OPTOMETRY INC.)

19   473. Plaintiff repeats and realleges paragraphs 1 through 81, and 387-406, and incorporates
20
     same by reference as though set forth in full herein.
21
     4 74. Plaintiff is informed and believes that at all times herein mentioned, defendant
22
23   LIVERMORE OPTOMETRY GROUP INC. acted as agent for defendant GAGNON VISION

24   MEDICAL GROUP, dba VALLEY EYE CARE INC., and as agent for co-conspirators Don
25
     Johnson, Harrison Ford, and Kevin Costner, and in doing the things hereinafter alleged was
26
     acting within the course and scope of said agency and with the permission and knowledge of co-
27

28                                                   148
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 152 of 189 Page ID
                                   #:164




 1   defendant GAGNON VISION MEDICAL GROUP, dba VALLEY EYE CARE INC.
 2
     475. At all times herein mentioned, Defendant LIVERMORE OPTOMETRY INC., was and is a
 3
     business incorporated in California, and is a business establishment engaged in providing
 4
     professional vision care including eyeglasses, and contact lenses, and doing business in
 5

 6   Livermore, Alameda County, California.

 7   4 76. As set forth by the California Department of Consumer Affairs, Board of Optometry
 8
     website, pursuant to 16 CFR Part 456.2( a), it is an unfair act or practice to fail to provide a
 9
     patient one copy of the patient's prescription immediately after an eye exam is completed.
10
     Plaintiff needs two eyeglass prescriptions; LIVERMORE never provided either one.
11

12   477. On or about December 23, 2022, at the time of a scheduled office visit, Optometrist Steven

13   Faith, O.D., failed to inform plaintiff that he and LIVERMORE OPTOMETRY INC. would not
14
     provide plaintiff with prescriptions for either eyeglasses or contact lenses, and has never done so.
15
     478. On information and belief, plaintiff alleges the failure to provide prescriptions constituted
16

17   part of a conspiracy, in part to prevent plaintiff from comparing these prescriptions with those

18   provided by Valley Eye Care, through Gina Trentacosti, O.D., since plaintiff fears those

19   prescriptions are wrong.
20
     479. On or about December 23, 2022, Optometrist Steven Faith, O.D., failed to inform plaintiff
21
     that he and LIVERMORE OPTOMETRY INC. would not provide plaintiff with continuing
22
23   vision care, and would "drop" plaintiff as a patient in the immediate future.

24   480. On or about February 3, 2023, Optometrist Steven Faith, O.D., informed plaintiff via e-mail

25   that he and LIVERMORE OPTOMETRY INC. would not provide plaintiff with a contact lens,
26
     even though she had ordered and paid for this contact lens on January 20, 2023. By refusing to
27

28                                                     149
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 153 of 189 Page ID
                                   #:165




 1   nrovide a contact lens. Faith ancl TJVRRMORF OPTOMETRY left nlaintiff withont a "snare"
 2
     contact lens for the right eye. Plaintiff has no eyeglass prescriptions, and no eyeglasses to wear,
 3
     without contact lenses, facts known by Faith and LIVERMORE OPTOMETRY. Thus, should
 4
     plaintiff lose the one right contact lens she has, plaintiff would suffer impaired vision.
 5

 6   481. The failures to disclose information and suppressions of information were made with the

 7   intent to induce plaintiff to act in the manner herein alleged in reliance thereon.
 8
     482. Plaintiff, at the time these failures to disclose and suppressions of fact occurred, and at the
 9
     time plaintiff took the actions herein alleged, was ignorant of the existence of the facts which
10

11   defendant suppressed and failed to disclose. If plaintiff had been aware of the existence of these

12   facts not disclosed by defendant, plaintiff would not have, as she did, made an appointment with

13   this practitioner, or relied on LIVERMORE OPTOMETRY or in particular, Steven Faith, O.D.,
14
     for optical or vision care. Plaintiff had been a patient of this business for approximately ten
15
     years, under the care of another practitioner, Clark Abramson, O.D., whose name still appears on
16

17   the front door of the business. Plaintiff obtained superb care under Abramson, and had no reason

18   to believe she would receive otherwise from the next senior member of the business, Faith.

19   483. As a proximate result of the fraudulent conduct of the defendants as herein alleged,
20
     plaintiff has been forced to forego the regular use of contact lenses because of the loss of one of
21
     the lenses, and wears the contact lenses for driving only, leaving them off at home, and foregoing
22
23   all vision correction at home, since she does not have eyeglasses she can wear, and suffers a

24   chronic disability as a result of the failure of LIVERMORE to provide either a contact lens, or a

25
     current and accurate prescription for contact lenses.
26
     484. As a further proximate result of the fraudulent conduct of the defendants as herein alleged,
27

28                                                    150
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 154 of 189 Page ID
                                   #:166




 1   nlaintiff has been forced to exoend time and enernv in an attemnt to find another eve care
 2
     practitioner who can assist plaintiff with her vision care needs. Plaintiff has also been forced to
 3
     file this lawsuit, since this is the second time plaintiff has experienced severe interference with
 4
     attempts to obtain vision care from a licensed eye care professional, due to the commission of
 5

 6   bribery.

 7            WHEREFORE, plaintiff prays judgment against defendants and each of them, as set forth
 8
     below.
 9
                                TWENTY-FOURTH CAUSE OF ACTION
10

11                                  FRAUD-SUPPRESSION OFF ACT

12                    (AGAINST DEFENDANT LIVERMORE OPTOMETRY INC.)

13   485. Plaintiff repeats and realleges paragraphs 1 through 81, and 387-406, and 474-483, and
14
     incorporates same by reference as though set forth in full herein.
15
     486. Plaintiff is informed and believes that at all times herein mentioned, defendant
16

17   LIVERMORE OPTOMETRY GROUP INC. acted as agent for defendant GAGNON VISION

18   MEDICAL GROUP, dba VALLEY EYE CARE INC., and as agent for co-conspirators Don

19   Johnson, Harrison Ford, and Kevin Costner, and in doing the things hereinafter alleged was
20
     acting within the course and scope of said agency and with the permission and knowledge of co-
21
     defendant GAGNON VISION MEDICAL GROUP, dba VALLEY EYE CARE INC.
22
23   487. At all times herein mentioned, Defendant LIVERMORE OPTOMETRY INC., was and is a

24   business incorporated in California, and is a business establishment engaged in providing
25
     professional vision care including eyeglasses, and contact lenses, and doing business in
26
     Livermore, Alameda County, California.
27

28                                                    151
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 155 of 189 Page ID
                                   #:167




 2
     website, pursuant to 16 CFR Part 456.2(a), it is an unfair act or practice to fail to provide a
 3
     patient one copy of the patient's prescription immediately after an eye exam is completed.
 4
     Plaintiff needs two eyeglass prescriptions; LIVERMORE has never provided either one.
 5

 6   489. On December 23, 2022, plaintiff underwent an eye exam and contact lens exam conducted

 7   by optometrist Steven Faith, O.D. At the conclusion of the examinations, and at no time since,
 8
     has defendant LIVERMORE provided plaintiff with either eyeglass prescriptions or contact lens
 9
     prescriptions. Pursuant to 15 USC section 7601(a)(l), LIVERMORE should have provided
10

11   plaintiff with contact lens prescriptions at the conclusion of the examinations on that date.

12   Plaintiff has never received such prescriptions. Pursuant to 15 USC section 7608(a), any

13   violation of these rules constitute unfair or deceptive acts or practices.
14
     490. On or about December 23, 2022, at the time of a scheduled office visit, Optometrist Steven
15
     Faith, O.D., failed to inform plaintiff that he and LIVERMORE OPTOMETRY INC. would not
16

17   provide plaintiff with prescriptions for either eyeglasses or contact lenses, and has never done so.

18   491. On or about December 23, 2022, Optometrist Steven Faith, O.D., failed to inform plaintiff

19   that he and LIVERMORE OPTOMETRY INC. would not provide plaintiff with continuing
20
     vision care, including contact lenses, and would "drop" plaintiff as a patient in the immediate
21
     future.
22
23   492. On or about January 20, 2023, plaintiff contacted LIVERMORE OPTOMETRY and spoke

24   with "Norman" to place an order for a contact lens. Norman asked for, and plaintiff provided,
25   credit card information over the phone. The $150.00 clfarge cleared her bank account on January
26
     23, 2023.
27

28                                                    152
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 156 of 189 Page ID
                                   #:168




 1

 2
     of the January 20, 2023 contact lens order, she received an e-mail from Steven Faith informing
 3
     plaintiff that the contact lens order would not be placed, even though_she had ordered and paid
 4
     for this contact lens on January 20, 2023. By refusing to provide a contact lens, Faith and
 5

 6   LIVERMORE OPTOMETRY left plaintiff without a "spare" contact lens for the right eye.

 7   Plaintiff has no eyeglass prescriptions, and no eyeglasses to wear, without contact lenses, facts
 8
     known by Faith and LIVERMORE OPTOMETRY. Thus, should plaintiff lose the one right
 9
     contact lens she has, plaintiff would suffer impaired vision.
10

11   494. The failures to disclose information and suppressions of information were made with the

12   intent to induce plaintiff to act in the manner herein alleged in reliance thereon.

13   495. Plaintiff, at the time these failures to disclose and suppressions of fact occurred, and at the
14
     time plaintiff took the actions herein alleged, was ignorant of the existence of the facts which
15
     defendant suppressed and failed to disclose. If plaintiff had been aware of the existence of these
16

17   facts not disclosed by defendant, plaintiff would not have, as she did, made an appointment with

18   this practitioner, or relied on LIVERMORE OPTOMETRY or in particular, Steven Faith, O.D.,

19   for optical or vision care.
20
     496. From approximately 1993 to 2004, plaintiff had been a patient of this business, under the
21
     care of another practitioner, Clark Abramson, O.D., whose name still appears on the front door of
22
23   the business. Plaintiff obtained superb care under Abramson, and had no reason to believe she

24   would receive otherwise from the next senior member of the business, Faith, or that this business
25   would renege on the contact lens order, and drop her as a patient from the practice.
26
     497. As a proximate result of the fraudulent conduct of the defendants as herein alleged,
27

28                                                    153
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 157 of 189 Page ID
                                   #:169




 2
     the lenses, and wears the contact lenses for driving only, leaving them off at home, and foregoing
 3
     all vision correction at home, since she does not have eyeglasses she can wear, and suffers a
 4
     chronic disability as a result of the failure of LIVERMORE to provide either a contact lens, or
 5

 6   any prescription for contact lenses.

 7   498. As a further proximate result of the fraudulent conduct of the defendants as herein alleged,
 8
     plaintiff has been forced to expend time and energy in an attempt to find another eye care
 9
     practitioner who can assist plaintiff with her vision care needs. Plaintiff has also been forced to
10

11   file this lawsuit, since this is the second time plaintiff has experienced severe interference with

12   attempts to obtain vision care from a licensed eye care professional, due to the commission of

13   bribery.
14
     499. As a further proximate result of the fraudulent conduct of the defendants as herein alleged,
15
     plaintiff mailed a complaint form concening Steven Faith, O.D., to the BOARD OF
16

17   OPTOMETRY on February 16, 2023. As of the time of filing of this lawsuit, Plaintiff has

18   received no response to this complaint. The complaint either never reached the BOARD, the

19   result of federal mail theft, or someone within the BOARD accepted bribes not to process the
20
     complaint.
21
     500. The aforementioned conduct of the defendants was an intentional misrepresentation, deceit,
22

23   or concealment of material facts known to the defendants of thereby depriving plaintiff of

24   property or other legal rights or otherwise causing injury, and was despicable conduct that

25
     subjected plaintiff to a cruel and unjust hardship in conscious disregard of plaintiffs rights, so as
26
     to justify an award of exemplary and punitive damages.
27

28                                                    154
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 158 of 189 Page ID
                                   #:170




 2
     forth below.
 3
                                 TWENTY-FOURTH CAUSE OF ACTION
 4
     CIVIL RICO (18 USC §1964[c]): PREDICATE ACTS: BRIBERY, WIRE FRAUD,
 5
 6   KIDNAPPING, USE OF INTERSTATE COMMERCE FACILITIES IN THE COMMISSION

 7   OF MURDER FOR HIRE [18 USC section 1958(a)]; AND CRIMINAL COPYRIGHT
 8
     INFRINGEMENT 17 USC section 106(3), 17 USC section 506(a)(l)(A); 18 USC section 1961,
 9
     18 USC section 2319; MONEY LAUNDERING (18 USC section 1956); BANK FRAUD (18
10
ll   USC section 1344); INTERSTATE OR FOREIGN SHIPMENT BY CARRIER

12   (18 USC section 65 9)

13    AGAINST DEFENDANTS LIVERMORE OPTOMETRY INC., BOARD OF OPTOMETRY,
14
     GAGNON VISION MEDICAL GROUP, INC., dba VALLEY EYE CARE INC. DOCTORS
15
     MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA, Defendant
16
17 . MCNAUGHTON NEWSPAPERS, INC., dba Daily Republic Newspaper, RAY STONE, INC.,

18   REGENTS OF UNIVERSITY OF CALIFORNIA, STANFORD HEALTH CARE; THE UPS

19   STORE, LOS ANGELES TIMES, CALIFORNIA MEDICAL BOARD, BOARD OF
20
     BARBERING AND COSMETOLOGY, PHARMACY BOARD, PHYSICIAN'S ASSISTANT
21
     BOARD
22
23   501. Plaintiff repeats and realleges paragraphs 1 through 81, 107-386, 406-472, and incorporates

24   same by reference herein, as though set forth in full.
25
     502. During the relevant time periods, defendants and plaintiff were and are each a "person", as
26
     this term is defined in 18 USC section 1961 [3]. During the relevant time periods, plaintiff was a
27

28                                                    155
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 159 of 189 Page ID
                                   #:171




 I   person injured in her business or property, by reason of a violation of RICO within the meaning
 2
     of 18 USC section 1964[c], and through the misuse of health care insurance funds. The
 3
     overarching purpose of the "Kidnapping Enterprise", as part of the Health Insurance Enterprise":
 4
     to place plaintiff's life in jeopardy, while billing Medicare for services purportedly rendered,
 5

 6   billing and using plaintiff's Medicare benefits or her own financial resources for procedures and

 7   tests never performed, and services never provided. Plaintiff alleges a continuing conspiracy
 8
     between and among these defendants, pursuant to 18 USC section 1964[d], commencing in or
 9
     about 2014 and continuing, and suspected by plaintiff in or about 2022. Plaintiff further alleged
IO
11   that the co-conspirators and defendants herein accepted bribes from other co-conspirators,

12   including Kevin Costner, Don Johnson, and Harrison Ford, as inducements to enter into the

13   "Kidnapping Enterprise" described herein.
14
     PATTERN OF RACKETEERING ACTIVITY:
15
     503. As set forth below, to carry out, or attempt to carry out, its scheme to defraud, and deprive
16

17   plaintiff of health care benefits, and health care, and subject plaintiff to a kidnapping, defendants

18   have engaged in the following pattern of racketeering activity:

19
     504. In December, 2015, plaintiff moved to an apartment located in Sacramento, California,
20
     owned and operated by defendant RAY STONE, INC. (hereinafter, "RAY STONE.") She signed
21
     a one-year lease for this apartment, part of a complex known as "Castle Hill Apartments". The
22

23   one bedroom apartment included a kitchen with three appliances: a stove, a refrigerator, and a

24   dishwasher.

25
     505. On information and belief, plaintiff alleges that in or around the time she entered into th~s
26
     first lease with RAY STONE, third parties (the "co-conspirators") entered into a separate
27

28                                                    156
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 160 of 189 Page ID
                                   #:172




 2
     crimes against plaintiff, including attempted murder and kidnapping.
 3
     506. The agreement also included a promise on the part of the apartment management with the
 4
     co-conspirators that the old appliances within her apartment would not be maintained, and would
 5

 6   never be replaced. Although Castle Hill Management conducted annual or semi-annual

 7   inspections of her apartment, and other units in the apartment complex, the appliances within her
 8
     apartment would not be inspected for safety or wear. With only one exception, none of these
 9
     appliances were ever inspected, and continued to age.
10

11
     507. The ground floor unit occupied by plaintiff was and still is accessible via a gate or fence that

12   allows entry into plaintiffs back yard and patio. There is a padlock on this gate. Beginning in or

13   about July, 2018, and continuing until 2022, plaintiff experienced frequent and repeated
14
     disturbances in and around her apartment, consisting of different types of serious disturbances,
15
     including, but not limited to, loud, repeated, and unnecessary knocking and pounding on
16

17   plaintiffs front door, windows in the front and back, the use of special equipment allowing

18   groups of people to peer into plaintiffs bedroom, repeatedly and at all hours of the night.

19   508. On or about July 18, 2018, plaintiff sent an e-mail to Gina Garcia, then manager of"Castle
20
     Hill", informing her of serious problems with intruders, and asking about installing a fence to
21
     keep intruder out of her yard. Garcia never answered this e-mail. At a much later time, Garcia
22

23   informed her that "upper management" would not allow installation of a fence.

24   509. On or about October 8, 2018, plaintiff became the victim of an attempted murder, when an
25
     intruder entered her yard outside her bedroom window, firing a loaded gun within one to two
26
     inches from her head. Plaintiff reported this crime to both the Sacramento County Sheriffs
27

28                                                    157
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 161 of 189 Page ID
                                   #:173




 1

 2
     510. Her ground-floor apartment unfortunately provided easy access for intruders, due to a gate
 3
     behind the property which allows entrance into her back yard. Plaintiff repeatedly reported these
 4
     crimes to the Sacramento County Sheriff's Department (SCSD) and the FBI, and never received
 5

 6   a response. Although plaintiff also reported these events and the dangerous condition (gate

 7   leading to back yard) to the management of the apartment complex, her e-mails were ignored,
 8
     and as of the filing of this complaint, the dangerous condition remains.
 9
     511. On or about October 8, 2018, an intruder wearing a "pig" costume, entered the back yard of
10

11   her apartment, and, from a distance of approximately ten feet from her bed, fired a loaded gun.

12   The bullet came within one to two inches of her head. Following this attempted murder, plaintiff

13   reported these crimes to the Sacramento County Sheriff's Department (SCSD) and the FBI.
14
     Neither the SCSD nor the FBI responded to this correspondence, or to any of the several dozen
15
     letters plaintiff wrote to them regarding this and other crimes committed against her during that
16                                                                      '

17   period of time. Plaintiff later identified her shooter as SCSD Deputy Sheriff Spencer Wright.

18   Wright gained access to the back of her aparment, the yard and patio area, through a padlocked

19   gate opened for him by RAY STONE employees.
20
     512. On a repeated basis, agents of RAY STONE, INC., including employees of the Sacramento
21
     County Sheriff's Department, and Deputy Spencer Wright, subjected plaintiff to holographic
22
23   images that projected into her bedroom, including the following: a creature who appeared right

24   next to plaintiff's bed, and who looked something like "E.T." ; the use of projected images
25
     within her apartment, includ.ed a death mask, and the repeated appearance of costumed
26
     individuals on her patio. In addition, masked and costumes individuals appeared regularly on the
27

28                                                   158
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 162 of 189 Page ID
                                   #:174




                                                                                   \
     roof ahove nlaintiff's anartment. al.rain using snecial eauinment to nierce thromrh walls and
 2
     ceilings above plaintiffs bed. These costumes included an angel, with fangs.
 3
     513. In order to access plaintiffs backyard, these individuals either unlocked the padlock, or had,
 4
     on information and belief, the manager or maintenance man, unlock and remove the padlock for
 5

 6   them. The manager, Gina Garcia, acting at all material times as agent for defendant RAY

 7   STONE, accepted a series of bribes from the co-conspirators, to allow these individuals to access
 8
     not only the roof of plaintiffs building, but the yard behind her apartment. On information and
 9
     belief, plaintiff alleges that a former Castle Hill maintenance man, "William", also facilitated
10

11   entry of these individuals. The intruders also gained access to the roof of plaintiffs apartment

12   building by using special passes to access the property; gated at night and on the week-ends;

13   passes given in part to law enforcement personnel to enter the property at night, and on an
14
     emergency basis.
15
     514. Co-conspirators hired persons to commit a series of crimes against plaintiff, including
16
17   repeated burglaries, trespasses, and elder abuses. On information and belief, at least one of the

18   individuals hired by co-conspirators, Spencer Wright, worked as a deputy sheriff with the

19   Sacramento County Sheriffs Department.
20
     RICO CONSPIRACY (18 USC SECTION 1962[d])
21
     515. As set forth above, defendants DEFENDANTS LIVERMORE OPTOMETRY INC.,
22
23   BOARD OF OPTOMETRY, GAGNON VISION MEDICAL GROUP, INC., dba VALLEY EYE

24   CARE INC. DOCTORS MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA,
25
     Defendant MCNAUGHTON NEWSPAPERS, INC., dba Daily Republic Newspaper, DOCTORS
26
     MEDICAL CENTER OF MODESTO, TENET CALIFORNIA, RAY STONE, INC., REGENTS
27

28                                                   159
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 163 of 189 Page ID
                                   #:175




 1   OF UNIVERSITY OF CALIFORNIA. STANFORD HEALTH CARE DOCTORS MEDICAL
 2
     CENTER OF MODESTO, INC. THE UPS STORE, LOS ANGELES TIMES, CALIFORNIA
 3
     MEDICAL BOARD, BOARD OF BARBERING AND COSMETOLOGY, PHARMACY
 4
     BOARD, PHYSICIAN'S ASSISTANT BOARD MCNAUGHTON NEWSPAPERS, INC., dba
 5
 6   Daily Republic Newspaper, DOCTORS MEDICAL CENTER OF MODESTO, TENET

 7   CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA,
 8
     STANFORD HEALTH CARE, UPS STORE, LOS ANGELES TIMES, and the other co-
 9
     conspirators associated with this enterprise agreed and conspired to violate 18 USC section
10

11   1962[c]; that is, agreed to conduct and participate, directly and indirectly, in the conduct of the

12   affairs of the health care enterprise and kidnapping/murder enterprise through a pattern of

13   racketeering activity in violation of 18 USC section 1962[d].
14
     516. Defendants DEFENDANTS LIVERMORE OPTOMETRY INC., BOARD OF
15
     OPTOMETRY, GAGNON VISION MEDICAL GROUP, INC., dba VALLEY EYE CARE INC.
16

17   DOCTORS MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA, Defendant

18   MCNAUGHTON NEWSPAPERS, INC., dba Daily Republic Newspaper, DOCTORS

19   MEDICAL CENTER OF MODESTO, TENET CALIFORNIA, RAY STONE, INC., REGENTS
20
     OF UNIVERSITY OF CALIFORNIA, STANFORD HEALTH CARE DOCTORS MEDICAL
21
     CENTER OF MODESTO, INC. THE UPS STORE, LOS ANGELES TIMES, CALIFORNIA
22
23   MEDICAL BOARD, BOARD OF BARBERING AND COSMETOLOGY, PHARMACY

24   BOARD, PHYSICIAN'S ASSISTANT BOARD MCNAUGHTON NEWSPAPERS, INC., dba
25   Daily Republic Newspaper, DOCTORS MEDICAL CENTER OF MODESTO, TENET
26
     CALIFORNIA, RAY STONE, INC., REGENTS OF UNIVERSITY OF CALIFORNIA,
27

28                                                    160
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 164 of 189 Page ID
                                   #:176




 l   STANFORD HEALTH CARE. THE UPS STORE. LOS ANGELES TIMES. and co-
 2
     conspirators committed and caused to be committed a series of overt acts in furtherance of the
 3
     conspiracy and to effect the objects thereof, including but not limited to the acts set forth above.
 4
 5   517. As a result of defendants' and co-conspirators' violations of 18 USC section 1962[d],

 6   plaintiffs Medicare benefits were stolen, fraudulent claims submitted to Medicare, and the

 7   premiums indirectly financed bribery, and the other predicate acts, including health care fraud,
 8
     kidnapping, wire fraud, mail fraud, access device fraud, money laundering, bank fraud, and
 9
     copyright infringement.
10

11   518. As a direct and proximate result of the conspiracy, between and among Defendants

12   DOCTORS MEDICAL CENTER OF MODESTO, INC., TENET CALIFORNIA, Defendant

13   MCNAUGHTON NEWSPAPERS, INC., dba Daily Republic Newspaper, DOCTORS
14
     MEDICAL CENTER OF MODESTO, TENET CALIFORNIA, RAY STONE, INC., REGENTS
15
     OF UNIVERSITY OF CALIFORNIA, STANFORD HEALTH CARE DOCTORS MEDICAL
16
17   CENTER OF MODESTO, INC. THE UPS STORE, LOS ANGELES TIMES, and co-

18   conspirators, plaintiff suffered damages, in an amount to be proven/ determined at the time of
19
     trial. Pursuant to RICO, 18 USC section 1964[c], plaintiff is entitled to recover threefold her
20
     damages plus costs.
21
            WHEREFORE plaintiff prays judgment as set forth below.
22
23                                TWENTY-FIFTH CAUSE OF ACTION

24                                 BREACH OF WRITTEN CONTRACT
25
                               AGAINST DEFENDANT RAY STONE, INC.
26
     519. Plaintiff repeats and realleges paragraphs I through 81, and incorporates same by reference,
27

28                                                    161
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 165 of 189 Page ID
                                   #:177




 2
     520. At all times mentioned herein, defendant RAY STONE, INC. was the owner of the
 3
     apartment complex known as "Castle Hill Apartments", with rental office located at 2725 Elvyra
 4
     Way, Castle Hill Court, Sacramento CA 95821. At all times mentioned herein, plaintiff has
 5
 6   resided within this apartment complex.

 7   521. On or about December 15, 2015, plaintiff and RAY STONE entered into the first of series
 8
     of written leases by the terms of which defendant RAY STONE rented the premises to plaintiff
 9
     on either an annual or semi-annual basis. On June 11, 2019, plaintiff entered into the most recent
10

11
     lease, which has been renewed on a month to month basis to the present date, attached as Ex. A.

12   522. Plaintiff has performed all conditions, covenants, and promises required on her part to be

13   performed in accordance with the contract. Pursuant to Clause 23(i), plaintiff herein reports, and
14
     again reports, the following problems: a) dysfunctional stove/oven; b) leaks around the kitchen,
15
     sink, caused by running the dishwasher; c) leaks under the kitchen sink; d) leaks from kitchen
16
17   faucet; e) a "running" toilet; f) leak from bathroom sink; g) damage to kitchen counter, requiring

18   replacement of at least part of counter; h) damage to kitchen flooring, requiring partial

19   replacement; i) bathroom sink faucet needs repairs.
20
     523. Plaintiff has repeatedly requested that defendant perform their obligations under the
21
     agreement, including maintenance of the apartment in a usable and safe condition, and removal
22
23   of dangerous conditions. These dangerous conditions include a gate that allows access to the

24   patio and back yard of her apartment, and a non-functioning oven that recently ignited.
25
     524. Beginning on or about December 15, 2015, defendant breached the contract, and continues
26
     to breach the contract, by failing to perform their contractual obligations as set forth above.
27

28                                                    162
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 166 of 189 Page ID
                                   #:178




 1    'i?.'i. As ~ n~sn lt of rlP.fornfont' s hrP.~r.h of thP. r.ontr~d nl~intiff h~s s11st~inP.rl rl~m~o-P.s ~r.r.orrlino-
 2
      to proof at the time of trial.
 3
               Wherefore, plaintiff prays .for damages as set forth below.
 4

 5                                      TWENTY-SIXTH CAUSE OF ACTION

 6             DECLARATORY RELIEF-MULTIFAMILY UTILITY COMPANY BILLINGS

 7                                  AGAINST DEFENDANT RAY STONE, INC.
 8
     526. Plaintiff repeats and realleges paragraphs 1 through 81 and 520-525, and incorporates same
 9
     by reference, as though set forth in full herein.
10

11   527. An actual controversy has arisen and now exists between plaintiff and defendant concerning

12   their respective rights and duties in that plaintiff contends that the utility bill issued by

13
     "Multifamily Unit Company" is unconscionable and not a part of the lease between plaintiff and
14
     RAY STONE the information provided to plaintiff in a letter dated July 26, 2021 stated plaintiff
15
     (and other tenants) would be responsible for monthly payments of water, sewer, and garbage bill
16
17   rendered as one billing. The information failed to state when the billing would be due or how the

18   amount of the billing would be calculated. On information and belief, California law does not
19
     permit this type of billing for the combined services of water, sewer and garbage.
20
     528. Pursuant to California Public Utilities Code section 2705.5, submetered water is legal "if
21
     each user of the submeter service system is charged at the rate which be applicable if the user
22
23   were receiving the water directly from the water corporation." Defendant RAY STONE has made

24   no effort to comply with this statute, and there is no similar legal authority in California for
25
     charging tenants for garbage and sewer.
26
     .529. Plaintiff further contends that the utility bills do not even approximate what defendant itself
27

28                                                             163
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 167 of 189 Page ID
                                   #:179




 1   navs for these services_ and nlaintiff is not nrovided with a water meter_ Under those
 2
     circumstances, these bills are unconscionable. Plaintiff has no control over the quality or
 3
     frequency of garbage pickup, (which at times, is allowed to pile up over week-ends and other
 4
     days) and the water can be turned off at any time, and has been on frequent occasions, without
 5

 6   notice, leaving plaintiff without any water in her apartment.

 7   530. The letter further states that "in lieu of a rental increase" plaintiff would be obligated to pay
 8
     this monthly billing. However, plaintiff was then informed of a rental increase from $925 .00 per
 9
     month to $1,018.00 per month, to take effect on October 1, 2022, with no elimination in the
10

11
     alleged responsibility to pay water, ·sewer and garbage through MUC. Plaintiff has never signed a

12   lease including a provision regarding payment of billings issued by a separate company, and has

13   never agreed to pay these bills. Plaintiff has no agreement whatsoever with Multi Family Utility
14
     Company. Moreover, the terms as set forth in a letter from Manager Jennifer Amaya are vague
15
     and unenforceable.
16

17   531. Plaintiff desires a judicial determination of her rights and duties, and a declaration as to

18   whether the alleged agreement is invalid. The imposition of this billing is a way of circumventing

19   the annual cap on rental increases in California, pursuant to Civil Code section 194 7.12, and
20
     should be ruled unenforceable.
21
     532. A judicial declaration is necessary and appropriate at this time under the circumstances in
22

23   order that plaintiff may ascertain her rights under the lease agreement. Declaratory relief would

24   have the practical effect of lessening plaintiffs financial burden being caused by the unsettled

25   state of affairs.
26
             WHEREFORE, plaintiff prays judgment as follows:
27

28                                                     164
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 168 of 189 Page ID
                                   #:180




 1                              TWFNTY-~FVFNTH r'ATT~F OF ArTTnN

 2
                      DECLARATORY RELIEF-CURRENT LEASE AGREEMENT
 3
                               AGAINST DEFENDANT RAY STONE, INC.
 4
     533. Plaintiff repeats and realleges paragraphs 1 through 81, and 520-532, and incorporates same
 5

 6   by reference, as though set forth in full herein.

 7   534. An actual controversy has arisen and now exists between plaintiff and defendant concerning
 8
     their respective rights and duties in that plaintiff contends that the current lease contains several
 9
     clauses that are unconscionable and unenforceable. Of particular concern are clauses relating to
10
     appliances within the apartment:
11

12           "23. CARE, CLEANING, AND MAINTENANCE: "Except as prohibited by law,

13   resident agrees: c) to keep premises and furniture, furnishings and appliances, and fixtures, which
14
     are rented for Resident's exclusive use, in good order and condition ... that all appliances and
15
     fixtures on the premises must be able to be used for their intended purposes ... e) to occupy the
16

17   premises as a residence, to utilizing the portions thereof for living, sleeping, and cooking

18   purposes ... "

19           25. LARG.E APPLIANCES: Resident shall not move or remove any large
20
     appliances .. without prior written consent of the Owner/Agent."
21
     535. These clauses imply that plaintiff as resident is solely responsible for the maintenance of
22
23   large appliances, but plaintiff cannot more or remove them. Plaintiff cannot comply with Clause

24   23.(c), because the oven is no longer functional, a condition caused by defendant RAY STONE's
                                                                                                         '
25   failure to maintain the appliance. Plaintiff is not responsible for maintaining appliances that she
26
     does not own, and the oven, as well as the dishwasher and refrigerator, was/were old at the time
27

28                                                       165
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 169 of 189 Page ID
                                   #:181




 2
     536. Since that time, the condition of the oven has deteriorated; the heating element ignited in
 3
     December, 2022, almost causing a deadly fire. Although plaintiff informed defendant RAY
 4
     STONE of the condition of the stove/oven, defendant STONE has refused to take any action to
 5

 6   remedy the condition of the stove. Due to the age of this appliance, replacement is necessary.

 7   Without a functioning oven, plaintiff is extremely limited as to the food she can prepare, a
 8
     circumstance that has existed since mid-December, 2022.
 9
     537. Pursuant to California law, a tenant may reasonably expect that a living unit is fit for the
10

11   purpose for which it was obtained and may legitimately expect that the premises will be fit for

12   habitation for duration of term of the lease and such expectations are entitled to formal, legal

13   protection. California public policy compels landlords to bear the primary responsibility for
14
     maintaining safe, clean, and habitable housing. Defendant RAY STONE has failed to comply
15
     with their legal obligations under California law.
16

17   538. Although the lease requires the tenant to promptly notify RAY STONE of any items

18   requiring repair, and plaintiff has complied with this clause, (Clause 23[i]) RAY STONE has

19   failed and refused to replace the oven in the apartment, and never maintained it, instead allowing
20
     it to deteriorate, causing a small fire. Although plaintiff no longer uses the oven (it is completely
21
     unusable, due to a broken heating element) RAY STONE has no intention ofreplacing the oven.
22
23   539. A judicial declaration is necessary and appropriate at this time under the circumstances in

24   order that plaintiff may ascertain her rights under the lease agreement. Declaratory relief would
25
     have the practical effect of lessening plaintiffs financial burden being caused by the unsettled
26
     state of affairs.
27

28                                                    166
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 170 of 189 Page ID
                                   #:182




 1   :'i40. Further. nfaintiff hBs incmrecl clnmno-es inclnclino- h11t not limitecl to reclnr.ecl or non-existent

 2
     rental value of the unit.
 3
     WHEREFORE, plaintiff prays judgment as follows:
 4
                                   TWENTY-EIGHTH CAUSE OF ACTION
 5

 6                      BREACH OF IMPLIED WARRANTY OF HABIT ABILITY

 7                                     [Civil Code sections 1941.1, 3300]
 8
     541. Plaintiff repeats and realleges paragraphs 1 through 81 and 520-540, and incorporates same
 9
     by reference, as though set forth in full herein.
10

11
     542. At all times mentioned herein, defendant RAY STONE, INC. was the owner of the

12   apartment complex known as "Castle Hill Apartments", with rental office located at 2725 Elvyra

13   Way, Castle Hill Court, Sacramento CA 95821. At all times mentioned herein, plaintiff has
14
     resided in Unit #34, 2769 Castle Hill Court, Sacramento CA 95821.
15
     543. On or about December 15, 2015, plaintiff and RAY STONE entered into a written lease by
16

17   the terms of which defendant RAY STONE rented the premises to plaintiff on an annual basis, at

18   the agreed rental of $785 .00 per month. This and all subsequent leases impliedly warranted that

19   the premises were habitable. At the time plaintiff entered into the lease, plaintiff took possession
20
     of the subject rental, and remains in possession as of the filing of this lawsuit.
21
     544. The unit, a one bedroom apartment, includes a kitchen outfitted with a refrigerator, stove,
22

23   and dishwasher. All appliances were old at the time plaintiff took possession of the unit on or

24   about December 15, 2015. A padlocked gate also made plaintiff's ground floor unit accessible by
25
     removing the padlock on the gate, allowing entry into plaintiff's back yard and patio. At the time
26
     plaintiff took possession of the subject unit, the premises were unfit for human habitation in that
27

28                                                       167
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 171 of 189 Page ID
                                   #:183




 1

 2
     materially affect the tenant's health and safety.
 3
     545. Specifically, the fence/gate allowed easy access to the back of plaintiffs ground-floor unit,
 4
     and a padlock on the gate could easily be removed, and/or someone could jump over the gate. In
 5

 6   addition, with the exception of one-time, limited work on the stove, done approximately 4-5

 7   years ago, none of the appliances, including the oven, were ever serviced. Although the oven was
 8
     old when plaintiff took possession of the apartment, the oven includes a heating element or
 9
     heating coil that defendant RAY STONE never replaced. None of these conditions were known
10

11   to plaintiff at the time she took possession.

12   546. Throughout plaintiff's tenancy, plaintiff has been subjected to annual or semi-annual

13   inspections of her apartment, as part of an inspection of all units in the apartment complex.
14
     With the exception of the first inspection, conducted in or around April, 2016, plaintiff was
15
     present at these inspections. At no time did anyone conducting these inspections inspect any of
16

17   the appliances, including the stove/oven. Defendant STONE used these inspections to harass,

18   and did nothing to maintain the property as a result of these inspections. The most recent

19   inspection took place on September 28, 2022, and neither the manager nor the maintenance man
20
     did anything to inspect the apartment, again using the notice of inspection to harass. Since
21
     plaintiff suffers from a disability, a known fact by defendant RAY STONE, the intent to harass
22
23   can easily be inferred from their actions.

24   547. Commencing in or about July, 2018, plaintiff was subjected on a nightly basis to intrusions
25
     committed by persons believed to have been employed by the Sacramento County Sheriffs
26
     Department. These individuals used special equipment to spy on plaintiff in her bedroom, and
27

28                                                       168
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 172 of 189 Page ID
                                   #:184




 1   intruded via holo2:raohic fiITTlres. These individuals ;::ilso m;::ide horrihle noi<:e for honr<:   ::it   l'I   timP

 2
     Although plaintiff reported these problems to defendant RAY STONE, her reports were ignored.
 3
     Because the fence was secured with a padlock, RAY STONE, the then apartment complex
4
     manager Gina Garcia, and maintenance man, "William", deliberately allowed access to her back
 5

 6   yard by removing the padlock on a nightly basis, and replacing it the next morning. This took

 7   place over more than a one year period, allowing persons unknown to enter her backyard and
 8
     patio on a nightly basis. These individuals also stood on the roof, using special equipment to
 9
     intrude into plaintiffs bedroom, watching her and engaging in frightening activities, on a nightly
10
     basis.
11

12   548. On October 8, 2018, an intruder wearing a costume to hide his identity entered her yard,

13   firing a loaded gun at or near plaintiffs head. On information and belief, plaintiff asserts these
14
     actions constituted an attempted murder. Plaintiff reported the attempted murder to RAY
15
     STONE, who ignored her e-mails. Plaintiff also reported the attempted murder to the SCSD and
16

17   the FBI, who never answered her letters.

18   549. On information and belief, plaintiff alleges that beginning in or about June, 2019, defendant

19   RAY STONE's employee, Manager Gina Garcia, began entering plaintiffs apartment on a
20
     regular basis, in plaintiffs absence, for the purpose of poisoning her drinking water, large bottles
21
     of water kept in the refrigerator. Garcia had conspired with others, "the co-conspirators", to
22
23   commit a kidnapping/murder scheme against plaintiff. In preparation, Garcia was to poison

24   plaintiffs drinking water, which would plaintiff susceptible to brainwashing. On information

25   and belief, Garcia's entries into plaintiffs apartment, in plaintiffs absence, continued on a
26
     regular basis, during the months of June, July and August, 2019.
27
28                                                        169
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 173 of 189 Page ID
                                   #:185




 1   5.50. On Amrnst 10. 2019. nlaintiffw::is lmecl out of her ::in::irtment thrmw·h the use of l;:inp-11;:ip-e

 2
     which she had been brainwashed to follow, as the result of the drugging or poisoning of her
 3
     drinking water, while she was absent from her apartment. Plaintiff was instructed to leave her
 4
     apartment with just her pets. She took two of her pets, two pet rabbits, with her in her car. As she
 5

 6   attempted to drive, she was subjected to special effects, the result of software or other special

 7   equipment installed in her car. Later that night, she was kidnapped by various persons at the side
 8
     of the road, somewhere in the vicinity of Modesto, California. Her car stopped running. When
 9
     she stepped out of her car, she was rendered unconscious and taken to several different places,
10

11   ending up at a hospital in Modesto, California.

12   551. From the time of the attempted murder on, plaintiff became increasingly aware of the

13   hazards presented through the failure to block off the fence, remove the fence, and replace it with
14
     a brick wall. Despite the facts that plaintiff repeatedly informed RAY STONE of the dangers
15
     presented by the fence or gate, leading into the back yard, defendant RAY STONE never took
16

17   any steps to remove or replace this wall, and it remains in the same condition as when plaintiff

18   took possession of the apartment, on or about December 15, 2015.

19   552. On or about December 14, 2022, the heating coil in the oven ignited. Plaintiff stopped the
20
     fire by turning the oven off. Plaintiff immediately contacted the management office, informing
21
     them of that the oven had caught on fire. A maintenance man, "Marty", looked at the heating coil
22
23   and stated plaintiff was responsible for cleaning this coil, and they would do nothing about the

24   problem. The heating coil at that time was in a blackened condition. When plaintiff touched the
25
     coil, it fell apart, and the oven has remained unusable ever since.
26
     553. A few days later, Marty again looked at the oven, stating he was checking the coil to get
27

28                                                        170
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 174 of 189 Page ID
                                   #:186




 1   information for a reolacement oart. The oart has never been reolaced. and desnite nlaintiff s
 2
     requests, nothing has been done to replace or repair the oven. Plaintiffs e-mails to the
 3
     management at the apartment complex have been ignored.
 4
     554. On or about December 19, 2022, plaintiff wrote to Chris Costamagna, Fire Chief,
 5

 6   Sacramento Metro Fire, reporting the condition of the stove. Plaintiff received a purported

 7   telephone call from Supervising Inspector Jenny Smith, informing her that the Metro Fire did
 8
     not control the inside of building, and referred her to Sacramento 311. Plaintiff believes the call
 9
     from Jenny Smith was a hoax, since when plaintiff returned her call, she received a message
10

11   stating Smith was on vacation.

12   555. Approximately a week later, plaintiff spoke in person with someone at Metro Fire

13   Headquarters. This person, a male who did not give plaintiff his name, described plaintiffs
14
     circumstances as a "landlord-tenant problem", refused to schedule an inspection of plaintiffs
15
     oven, or look at photographs she had taken, and suggested she contact the Better Business
16

17   Bureau.

18   556. On or about December 22, 2022, plaintiff reported the condition of the oven to Sacramento

19   County Code Enforcement, and given a report number. The County described the condition
20
     reported by plaintiff as "substandard housing." As of the filing of this lawsuit, the County has
21
     done nothing further about plaintiffs complaint, nor has defendant RAY STONE. Plaintiff
22
23   alleges that someone within the County, specifically employee Christa Hull, took bribes to

24   "bury" plaintiffs complaint, so that no inspection would be conducted, and no citation issued

25   compelling RAY STONE to replace the oven. As of the filing of this lawsuit the County has
26
     taken no further action. Plaintiff remains without a working oven.
27

28                                                   171
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 175 of 189 Page ID
                                   #:187




 1   557. Due to the da:n2:erous condition of the :=im1rtmP.nt P.Yl«tino c;;:in{'P   nh1intifft,-,,-,l,-   ntWC'AN'   1""' ;..,

 2
     December, 2015, the unit has no rental value. The dangerous and defective condition in which
 3
     the premises have existed throughout plaintiff's tenancy eliminates any rental value.
 4

 5
     558. As a proximate result of defendants' breach of the implied warranty of habitability, and

 6   defendant's failure to repair or remedy the dangerous conditions, within a reasonable time or at

 7   all, plaintiff has sustained special and general damages according to proof, from the time
 8
     plaintiff took possession to the time of trial and entry of final judgment in this case. Plaintiff's
 9
     damages continue as due to health conditions she is not in a position to seek other housing.
10

11           Wherefore, plaintiff prays judgment as set forth below.

12                                  TWENTY-NINTH CAUSE OF ACTION

13                                    (MAINTENANCE OF NUISANCE)
14
                                AGAINST DEFENDANT RAY STONE, INC.,
15
     559. Plaintiff repeats and realleges paragraphs 1 through 81, and 520-558, and incorporates same
16

17   by reference, as though set forth in full herein.

18   560. Under the provisions of Civil Code section 1941, defendant RAY STONE had a duty to

19
     place the premises in a condition fit for human occupancy before renting them, and to repair all
20
     subsequent dilapidations, that rendered the premises unfit for human habitation, or untenantable.
21
     561. The defective and dangerous conditions as alleged in this complaint constituted a nuisance
22
23   within the meaning of Civil Code section 34 79 and CCP section 731 in that they deprived

24   plaintiff of the safe, healthy, and comfortable use of the premises.
25
     562. Commencing on or about July 13, 2018, and continuing through the date of filing of this
26
     litigation, plaintiff repeatedly notified defendant both orally and in writing of the defective and
27

28                                                        172
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 176 of 189 Page ID
                                   #:188




 1

 2
     defendant has failed and refused to repair within a reasonable time, or at all.
 3
     563. As a proximate result of maintenance of nuisance conditions, plaintiff lost the safe and
 4
     healthy use of her apartment, which as a result has no rental value.
 5

 6   564. As a further proximate result of defendant's maintenance of nuisance conditions, including

 7   an unsafe backyard and an oven that caught fire, plaintiff suffered inconvenience in that she is
 8
     unable to prepare meals in the usual way, and unable to prepare certain meals at all. The
 9
     stove/oven malfunctioned during the 2022 holiday season, preventing the preparation of holiday
10

11   meals. Plaintiff suffered additional per diem expenses due to this inability to prepare meals. In

12   addition, the stove itself, and burners, could malfunction at any time. Plaintiff has no assurance

13   that defendant RAY STONE will repair or replace the stove, also containing the oven. Although
14
     the apartment includes a kitchen, the kitchen is dysfunctional, rendering the apartment without
15
     value as a dwelling.
16

17   565. In maintaining the nuisance, defendant acted with full knowledge of the consequences

18   thereof, and of the damage being caused to plaintiff. Despite this knowledge, defendant failed to

19   abate the nuisances by repairing the defective and dangerous conditions of the premises, or
20
     causing them to be repaired. Defendant RAY STONE's failure to act was both oppressive and
21
     malicious within the meaning of Civil Code section 3294 in that it subjected plaintiff to cruel and
22

23   unjust hardship in wilful and conscious disregard of plaintiffs rights and safety, thereby entitling

24   plaintiff to an award of punitive or exemplary damages. Defendant's failure to maintain the

25
     premises in a habitable condition and their failure to repair the dangerous conditions or have
26
     them repaired within a reasonable time after plaintiff notified them, or at all, as alleged above, is
27

28                                                    173
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 177 of 189 Page ID
                                   #:189




 1   cruel and malicious within the meaning of Civil Code section 3294 in that it subiected plaintiff to
 2
     cruel and unjust hardship in wilful and conscious disregard of plaintiff's rights and safety,
 3
     thereby entitling plaintiff to an award of punitive or exemplary damages.
 4
             WHEREFORE, plaintiff prays judgment against defendants, and each of them, as set
 5

 6   forth below.

 7                                    THIRTIETH CAUSE OF ACTION
 8
                                                 CONSPIRACY
 9
                               (AGAINST DEFENDANT RAY STONE, INC.)
10

11   566. Plaintiff repeats and realleges paragraphs 1 through 81, 520-565, and incorporates same by

12   reference, as though set forth in full herein.

13   567. On or about December 15, 2015, defendant RAY STONE INC., and co-conspirators Don
14
     Johnson, Harrison Ford, and Kevin Costner, and each of them, knowingly and wilfully conspired.
15
     and agreed among themselves to render plaintiff's home unsafe and unfit for human habitation.
16

17   568. Among other things, defendants agreed that the kitchen appliances in plaintiff's apartment

18   would never be inspected or replaced, allowing the oven to age and catch on fire, ideally

19   resulting in a fatal fire in which plaintiff would be killed.
20
     569. In addition, defendants, and each of them, knowingly and wilfully conspired and agreed
21
     among themselves to make the gate allowing access to plaintiff's back yard and patio available to
22

23   whoever wanted to enter plaintiff's property from the back, ultimately allowing nightly crime

24   spree to take place, including but not limited to, commission of the following crimes: .
25
     570. Defendants, and each of them, knowingly and wilfully conspired and agreed among
26
     themselves to make plaintiff's apartment a dangerous place to live, by committing an attempted
27

28                                                     174
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 178 of 189 Page ID
                                   #:190




 1 murder against plaintiff, on or about October 8, 2018.

 2
     571. Defendants, and each of them, knowingly and wilfully conspired and agreed among
 3
     themselves to make plaintiffs apartment a dangerous place to live, accessing plaintiffs
 4

 5
     apartment in her absence to poison plaintiffs drinking water, and in so doing render her

 6   vulnerable to brainwashing, leading to the capture and kidnapping of plaintiff, in August, 2019.

 7   572. Defendant RAY STONE did the acts and things alleged herein pursuant to and in
 8
     furtherance of the conspiracy and the above-alleged agreement.
 9
     573. Defendant RAY STONE furthered the conspiracy by cooperation and or ratified and
10

11   adopted the acts of the co-conspirators in that when informed of the serious crimes committed

12   against plaintiff, and the dangerous conditions on the property, defendant RAY STONE did

13   nothing, and ignored plaintiffs written communications, including electronic mail and
14
     documents hand delivered to their business address at 550 Howe Avenue, Suite 100, Sacramento
15
     CA 95825 in October and December, 2022.
16

17   57 4. Plaintiff is informed and believes that the last overt act in furtherance of the conspiracy

18   occurred on or about December 14, 2022, when employee and agent "Marty", maintenance man,
19
     told plaintiff the oven coil or heating element was her responsibility and she should clean the
20
     oven coil, an electrical element, herself, and that "Shelby Rivas", the area manager, agreed that
21
     RAY STONE would do nothing further to remedy the broken oven.
22
23            Wherefore, plaintiff prays judgment against defendants, and each of them, as set forth

24   below.
25
              FOR THE FIRST, SECOND, THIRD, FOURTH, AND FIFTH CAUSES OF ACTION:
26
              1. For compensatory damages, treble damages, and punitive damages, as well as
27

28                                                    175
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 179 of 189 Page ID
                                   #:191




 1   prejudgment and postjudgment interest, in an amount to be determined at trial;
 2
                2. For costs of suit, and
 3
                3. For such other and further relief as the court may deem just and proper.
 4
                FOR THE SIXTH THROUGH SEVENTEENTH, NINETEENTH THROUGH
 5
 6   TWENTY-SECOND, AND TWENTY-FOURTH CAUSES OF ACTION:

 7              1. For compensatory damages in the minimum amount of one hundred million dollars,
 8
     trebled;
 9
                2. For punitive damages in an amount to be determined at trial;
10

11              3. For costs of suit, and

12              4. For such other and further relief as the court may deem just and proper.

13              FOR THE TWENTY-THIRD CAUSE OF ACTION:
14
                1. For special damages according to proof;
15
                2. For general damages according to proof;
16

17              3. For punitive damages in an amount appropriate to punish defendant and deter others

18   from engaging in similar misconduct;

19              4. For costs of suit incurred herein, and
20
                5. For such other and further relief as the court may deem just and proper.
21
                FOR THE TWENTY-FIFTH CAUSE OF ACTION:
22
23              1. For compensatory damages in an amount according to proof;

24              2. For interest at the legal rate from and after December 15, 2015 through entry of
25
     judgment;
26
                3. For costs of suit and
27

28                                                          176
 Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 180 of 189 Page ID
                                   #:192




 1           4. For such other and further relief as the court may deem iust and proper.
 2
             FOR THE TWENTY-SIXTH CAUSE OF ACTION:
 3
             1. For a declaration that the written instrument hereinabove described is void and of no
 4
     force or effect;
 5

 6           2. For a declaration that plaintiff owes nothing for these utility bills, and isn't charged

 7   upon vacating the apartment;
 8
             3. For damages in an amount according to proof;
 9
             4. For issuance of a preliminary and permanent injunction restraining defendant from
10

11   imposing submetered billings, issued by a company with whom plaintiff has no contractual

12   relationship;

13           5. For costs of suit incurred herein;
14
             6. For such other and further relief as the court may deem just and proper.
15
             FOR THE TWENTY-SEVENTH CAUSE OF ACTION:
16

17           1. For a declaration that the written instrument hereinabove described is void and of no

18   force or effect;

19           2. For a declaration that plaintiff owes nothing for these utility bills, and isn't charged
20
     upon vacating the apartment;
21
             3. For damages in an amount according to proof;
22
23           4. For issuance of a preliminary and permanent injunction ordering defendant to replace

24   the stove;

25
             5. For costs of suit;
26
             6. For such other and further relief as the court may deem just and proper.
27
28                                                     177
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 181 of 189 Page ID
                                  #:193


 1          FOR THE TWENTY"'.EIGHTH CAUSE OF ACTION:
 2
            1. For special and general damages in a sum according to proof;
 3
            2. For an order that defendant RAY STONE repair or replace the oven/stove;
 4
            3. For costs of suit incurred herein;
 5

 6          4. For such other and further relief as the court may deem just and proper

 7          FOR THE TWENTY-NINTH CAUSE OF ACTION:
 8
            1. For special and general damages according to proof;
 9
            2. For pllllitive damages in an amount necessary to punish defendants;
10

11          3. For an order that defendant RAY STONE INC. abate the nuisance by replacing the

12   stove with a new appliance;

13          4. For costs of suit incurred herein, and
14
            5. For such other and further relief as the court may deem just and proper.
15
     For the THIRTIETH cause of action:
16
            1. For general damages according to proof;
17

18          2. For special damages according to proof;

19          3 For exemplary and punitive damages;
20
            4. For costs of suit incurred herein, and
21
            5. For such other and further relief as the court may d,7~and proper.
22                                                                   . I
                                                                     _/
     DATED: March 6, 2023
23
                                                               DIANE K. GODFREY
24                                                            :Plaintiff in propria persona
                                                              ;_/
25

26
27
28                                                      178
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 182 of 189 Page ID
                                  #:194



                                              VERIFICATION
 2
     I, Diane K. Godfrey, am the plaintiff in this action. I have read the foregoing complaint and know
 3
     the contents thereof. The same is true of my own knowledge, except as to those matters that are
 4
     therein alleged on information and belief, and as to those matters, I believe them to be true.
 5
 6 I declare under penalty of perjury under the laws of the state of California that the foregoing is

 7 true and correct.                                                 I
 8
 9
     DATED:                                                   //-
                                                           _J'.5}ANE K. GODFREY
                                                        i/1"laintiff in propria persona

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28                                                     179
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 183 of 189 Page ID
                                  #:195




                                    EXHIBIT A
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 184 of 189 Page ID
   Castle Hill Apartments
                                  #:196

                                                 LEASE AGREEMENT
  THIS AGREEMENT is made and entered into this 11th day of June, 2019, between Castle Hill, "Owner/Agent," whose
  address and phone number are 2725 Elvyra Way. Sacramento. CA 95821. (916) 487-7447 and Diane K. Godfrey.
                                                                                                                                -
  "Resident."

  THE PARTIES AGREE AS FOLLOWS:

   1. RENTAL UNIT:        Subject to the terms and conditions of this Agreement, Owner rents to Resident and Resident rents
      from Owner, for residential use only, the premises located at: 2769 Castle Hill Ct. #34. Sacramento. CA 95821.
   2. TERM: The term of this Agreement is for 1 year, beginning on July 1. 2019 and ending on June 30, 2020, at which time
      this Lease shall terminate without further notice. Any holding over thereafter shall result in Resident being liable to
      Owner/Agent for daily rental damages equal to the current market value of the unit, divided by 30. A "month-to-month"
      tenancy subject to the terms and conditions of this agreement shall be created only if Owner/Agent accepts rent from
      Resident thereafter, and if so accepted, tenancy may be terminated by Resident after service upon the Owner/Agent of a
      written 30-day Notice of Termination. Except as prohibited by law, that month-to-month tenancy may be terminated by the
      Owner/Agent by service upon the Resident of a written 60-day notice of termination of tenancy. However, Civil Code
      Section 1946.1 provides that "if any tenant or resident has resided in the dwelling for less than one year", the Owner/Agent
      may terminate the tenancy by service upon the Resident of a written 30-day notice.
   3. RENT:      Rent is due in advance on the 1.§! day of each and every month, at $925.00 per month, beginning on J.yJu
      2019, payable to Owner/Agent at 2725 Elvyra Way. Sacramento, CA 95821. Payments made in person may be
      delivered to Owner/Agent between the hours of weekdays. 8:30am-5:30pm.
       Rent for any partial month shall be prorated at the amount of 1130th of the monthly rent per day. 0 The tenancy did not
       start on the first of the month, therefore Resident is to pay: One month's rent at move-in $925.00 Prorated rent of $925.00
       for g_ days will be due on August 1, 2019.
       Acceptable methods of payment: Personal Check. Cashier's Check, and Money Order.
   4. SECURITY DEPOSIT:        Resident shall deposit with Owner/Agent, as a security deposit, the sum of $800.00 prior to
      taking possession of the unit.
       Resident shall not use the security deposit to pay any month's rent. Owner/Agent may withhold from the security deposit
       only such amounts as are reasonably necessary to remedy Resident defaults including, but not limited to, the following:
       {a) defaults in the payment of rent,
       {b) to repair damages to the premises caused by Resident, exclusive of ordinary wear and tear, and/or
       {c) to clean the premises, if necessary, upon termination of the tenancy in order to return the unit to the same level of
           cleanliness it was in at the inception of the tenancy, and/or
       {d) to restore, replace, or return personal property or appurtenances, exclusive of ordinary wear and tear.
       No later than 21 calendar days after Owner/Agent has regained possession of the premises, Owner/Agent shall return any
       remaining portion of such security deposit to Resident. Any remaining portion of the security deposit shall be returned in
       the form of a single check made out to all Residents listed above. After either the Owner/Agent or the Resident provides
       notice to terminate the tenancy, the Owner/Agent and Resident may mutually agree to have the Owner/Agent deposit any
       remaining portion of the security deposit electronically to a bank account or other financial institution designated by the
       Resident or to another form or method of return.
   5. UTILITIES:      Resident shall pay for all utilities, services and charges, if any, made payable by or predicated upon
      occupancy of Resident, except: Trash, Water, and Sewer. Resident shall have the following utilities connected at all times
      during the tenancy (check as applicable): □ Gas O Electric D Water □ Trash D Sewer D Other:_ _ __
       Disconnection of utilities due to non-payment is a material violation of this Agreement.
       Resident shall not use common area utilities (such as water or electricity) for the Resident's personal use, without prior
       written permission from the Owner/Agent
   6. LATE FEES AND INSUFFICIENT FUNDS:               If rent is paid after the filh of the month, there will be a late charge of i§O...Q.Q.
      assessed. This late charge does not establish a grace period. The parties agree that this late fee is presumed to be the
      amount of damage sustained by late payment of rent. It would be impracticable or extremely difficult to fix the actual
      damage. This sum represents a reasonable endeavor by the Owner/Agent to estimate fair average compensation for any
      loss that may be sustained as a result of late payment of rent. Failure to pay the fee is a material breach of this Agreement.
      Pursuant to California law, if Resident passes a check on insufficient funds, Resident will be liable to Owner/Agent for the
      amount of the check and a service charge of $25.00 not to exceed $25.00 for the first check passed on insufficient funds,
      and $35.00 for each subsequent check passed on insufficient funds. The Owner/Agent may refuse a personal check as the
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 185 of 189 Page ID
  Castle Hill Apartments
                                  #:197

     form of rent payment to cure a Three-Day Notice to Pay Rent or Quit.

  7. PAYMENTS:         Owner/Agent may apply any payment made by Resident to any obligation of Resident to Owner/Agent
     notwithstanding any dates or other direction from Resident that accompanies any such payment. Any attempt by Resident
     to allocate a payment in any other way shall be null and void, including the use or application of a restrictive endorsement
     or limitation on any check or other payment. In the event of roommates, or another form of multiple occupancy, Resident
     understands and agrees that rent shall be paid with a single payment and that it is up to Resident to collect individual
     checks or other payments in order to submit a single rent payment. If payment by mail is allowed, Resident bears the risk
     of loss or delay of any payment made by mail and Owner /Agent must receive mailed rent payments on or before the due
     date, except as otherwise provided by law. In absence of prior written agreement, Owner/Agent will accept rent payments
     on or before the due date, except as otherwise provided by law. In absence of prior written agreement, Owner/Agent will
     accept rent payments only from the Resident. Rent tendered by a Non-Resident shall be deemed rent tendered on behalf
     of Resident only and not on behalf of the Non-resident. Should the Owner/Agent elect to accept a payment that does not
     comply with this paragraph, this shall not be construed as a waiver of this provision.

  8. CHANGE TO PAYMENT METHOD:                The Owner/Agent may refuse certain payment methods listed in the paragraph
     entitled "RENT," above, as the form of payment to cure a Three-Day Notice to Pay Rent or Quit, Three-Day Notice to
     Perform Conditions and/or Covenants or Quit, a check passed on insufficient funds or dishonored for any other reason, or
     a stopped payment and may refuse certain methods for future rent payments thereafter. Notwithstanding the provision
     above, the Owner/Agent may demand or require cash as the exclusive form of payment of rent or security deposit if the
     Resident has previously attempted to pay the Owner/Agent with a check drawn on insufficient funds or the Resident has
     stopped payment on a check, draft, or money order. If the Owner/Agent chooses to demand or require cash payment
     under these circumstances, the Owner/Agent shall give the Resident a written notice stating that the payment instrument
     was dishonored and informing the Resident hat the Resident shall pay in cash for a period determined by Owner/Agent,
     not to exceed three months, and attach a copy of the dishonored instrument to the notice.
  9. RENTAL UNIT AVAILABILITY:          In the event the unit is not available on the move-in date due to a prior Resident holding
     over, or other cause not within the control of Owner/Agent, Resident's damages will be limited to a return of the security
     deposit, any holding or other deposits and any advance payment of rent.
  10. ACCEPTANCE OF PREMISES:               Resident has inspected the premises, furnishings and equipment, and has found them
      to be satisfactory. All plumbing, heating and electrical systems are operative and deemed satisfactory.
  11. OCCUPANTS:        Premises shall be occupied only by the following named person(s): Diane K. Godfrey (4/16/1952).
  12. GUEST(S):       Except as otherwise provided by prior written agreement, any person who is not listed as an Occupant on
      this Agreement is a Guest. A Guest may not stay on the premises for more than 14 consecutive days, or a total of 14 days
      in a 12-month period. At the discretion of Owner/Agent, Guest(s) who overstay this limit may be required to go through the
      application process, and if approved, must sign a Rental/Lease Agreement. Resident is responsible for any violation of this
      Rental/Lease Agreement by Resident's Guests.
  13. USE OF PREMISES:          The premises shall be used as a dwelling for residential purposes only and for no other reason.
      No retail, commercial, or professional use of the premises shall be made, unless such use conforms to applicable zoning
      laws and the prior written consent of Owner/Agent is obtained in advance of such proposed use. As a condition for
      granting such permission, Owner/Agent may requi_re that Resident obtain liability insurance for the benefit of Owner/Agent.
  14. SUBLETTING AND ASSIGNMENT:               No portion of the premises shall be sublet nor this Agreement assigned. Any
      attempted subletting or assignment by Resident shall, at the election of Owner/Agent, be an irremediable breach of this
      Agreement and cause for immediate termination as provided herein and by law. Resident is prohibited from offering all or
      part of the premises for short-term rental, such as through AirBNB, VRBO or other such sites. Any person who is not an
      Occupant or Resident, who occupies any portion of the dwelling unit, for any period of time whatsoever, for any
      compensation or consideration whatsoever (including, without limitation, the payment of money and/or trade and/or barter
      of other goods, services, or property occupancy rights) is not a Guest. This constitutes attempted subletting or assignment
      under this Agreement.
  15. RENTERS INSURANCE:             Resident's property is not insured by Owner/Agent. Owner/Agent recommends that Resident
      obtain coverage for Resident's personal property. Resident is not a co-insured and is expressly excluded from coverage
      under any insurance policy held by Owner/Agent which is now in effect or becomes effect during the term of this
      Agreement. A renter's liability insurance policy such as the one that may be required below, benefits both the Owner/Agent
      and the Resident. (CHECK ONE BOX)
      0 Resident is required to maintain renters insurance throughout the duration of the tenancy as specified in the attached
      Renters Insurance Addendum. Resident must provide proof of such insurance to the Owner/Agent within 30 days of the
      inception of the tenancy. Failure to comply with this requirement is a material violation of the Rental/Lease Agreement.



                                                                   2
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 186 of 189 Page ID
                                  #:198
  Castle Hill Apartments


     ~    .Resident is encouraged but not required to obtain renters insurance.

  16. KEYS:       Resident has received a set of keys for the premises. If needed, additional keys may be requested from the
      Owner/Agent. There may be a charge. Keys to the premises are the exclusive property of Owner/Agent. All keys must be
      returned to Owner/Agent when Resident vacates. Resident shall be charged for the cost of new locks and keys if all keys
      are not returned. In the event that any keys to the Premises of the Building are lost or consigned, Resident shall be liable
      for the entire cost of all key and lock replacement, at the discretion of Owner/Agent, as required for the security of the
      Premises, the Building, and the Building occupants. This may include the costs of re-keying the entire Building if
      Owner/Agent, at Owner/Agent's sole discretion, deems such action is necessary. Resident should take care not to lock
      himself/herself out of the Premises. If Owner/Agent is required to assist any Resident in gaining entry to the Premises,
      Resident may be assessed a charge for the actual costs, including out of pocket expenses, incurred by Owner/Agent and
      Owner/Agent may require Resident to contract with a professional locksmith.
  17. LANDSCAPING:           Resident D is~ is not (check one) responsible for the upkeep of the yard and maintenance of the
      landscaping, including watering, mowing, weeding and clipping, or D please see attached Addendum. Resident shall
      promptly advise Owner/Agent of any problems with the landscaping, including, but not limited to, dead grass, plants or tree
      limbs, insect infestations, discolored or yellowing of foliage and insufficient irrigation or leaks. Resident may not delegate
      the responsibilities of this paragraph to any person, including a contractor or other landscaping professional. Resident may
      not alter the landscaping, or engage in "personal agriculture" without Owner/Agent's prior permission.
  18. STORAGE PROHIBITIONS (CHECK ONE):
     ~  No storage outside of the Resident's unit is authorized, permitted, or provided under this Agreement. Resident agrees to
     keep personal property inside Resident's unit, unless Owner/Agent has expressly agreed otherwise in writing in an
     addendum to this Agreement. Resident shall refrain from storing gasoline, cleaning solvent or other flammable liquids in
     the unit (If neither box is checked, this provision applies.)
     D Storage is allowed pursuant to the attached CAA Form 63.0 - Storage Addendum.
  19. SMOKING POLICY:          Smoking of any substance is prohibited everywhere on the premises, including in individual units
      and interior and exterior common areas, unless Owner/Agent has adopted a different policy that is attached as an
      addendum to this Agreement. Smoking includes the use of e-cigarettes or vaping. The term "smoke" includes vapor from
      a-cigarettes or other vaping devices. (Check a box if addendum is attached)
      ~   This property's policy with respect to smoking is in the attached addendum.
     D This property is subject to a local non-smoking ordinance. The policy for this property is in the attached addendum.
      Resident shall inform his or her guest(s) of this Smoking Prohibition. Resident shall promptly notify Owner/Agent in writing
      of any incident where tobacco smoke s migrating into Resident's unit from sources outside of Resident's unit. Resident
      acknowledges that Owner/Agent's adoption of this policy, does not make the Owner/Agent the guarantor of the Resident's
      health or of the smoke-free condition of the areas listed above. However, Owner/Agent shall take reasonable steps to
      enforce this provision. Owner/Agent shall not be required to take steps in response to smoking unless Owner/Agent has
      actual knowledge or has been provided written notice. Owner/Agent and Resident agree that the other residents of the
      property are the third party beneficiaries of this provision. A resident may sue another resident to enforce this provision but
      does not have to right to evict another resident. Any lawsuit between residents regarding this provision shall not create a
      presumption that the Owner/Agent has breached this Agreement. A breach of this provision by the Resident shall be
      deemed a material breach of the Rental/Lease Agreement and grounds for immediate termination of the Rental/Lease
      Agreement by the Owner/Agent.
  20. PROHIBITIONS:         Without Owner/Agent's prior written permission as an addendum to this Agreement, no pets, no
      pianos, no aquariums, no outside antennae, no space heaters or portable heaters, charcoal burners or other open-flame
      cooking devices, or liquefied petroleum gas fueled cooking devices ("grills") or pets, waterbeds, and water-filled
      furniture shall be kept or allowed in or about the premises.
      Resident shall not engage in any of the actions or conduct related to marijuana, that are otherwise permitted under Health
      and Safety Code 11362.1, on the premises.
      Resident shall refrain from shaking or hanging clothing, curtains, rugs, and other coverings and cloths outside of any
      window ledge or balcony. No clotheslines or drying racks may be used in outdoor areas, balconies, patios, etc. without the
      Owner/Agent's prior written permission. Plants and other items may not be placed on balcony railings or ledges, unless
      Owner/Agent has expressly agreed otherwise in writing in an addendum to this Agreement.
  21. ENTRY AND COOPERATION:             California law allows Owner/Agent or his/her employee(s) to enter the premises for
      certain purposes during normal business hours. The Owner/Agent will provide written notice to the Resident prior to the
      entry of the dwelling unit whenever required by state law. (Civil Code Section 1954.) Resident's non-compliance with


                                                                    3
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 187 of 189 Page ID
                                  #:199
  Castle Hill Apartments

     Owner/Agent's lawful request for entry is a material breach of this Agreement that may be cause for immediate termination
     as provided herein and by law.
     If the Premises or the Building is required by any government agency, lender or insurer to undergo repairs or alterations, or
     in case of other necessary or agreed repairs, Resident agrees to cooperate fully with Owner/Agent so that all such repairs
     or alterations are made in as expeditious and efficient a manner as possible.
  22. REPAIRS AND ALTERATIONS:                Resident shall make a written request to Owner/Agent regarding any repairs,
      decorations or alterations contemplated. Except as provided by law, no repairs, decorating or alterations shall be done by
      Resident without Owner/Agent's prior written consent. This includes, but is not limited to, painting, wallpapering, and
      changing locks. Resident may not make any alterations to cable or telephone inside wiring (such as may occur when
      changing telecommunications providers or adding phone lines) without prior written consent of the Owner/Agent. The
      consent request regarding proposed alterations to inside wiring shall include the name, address, and telephone number of
      any new telecommunications providers. Resident agrees to pay all costs resulting from the alteration and agrees to pay to
      the Owner/Agent any costs associated with restoring the inside wiring to the condition at the time of move-in, except for
      reasonable wear and tear. Resident shall hold Owner/Agent harmless and indemnify Owner/Agent as to any mechanic's
      lien recordation or proceeding caused by Resident.
  23. CARE, CLEANING AND MAINTENANCE:                  Except as prohibited by law, Resident agrees:
      (a) to keep the premises as clean and sanitary as their condition permits and to dispose of all rubbish, garbage and other
           waste, in a clean and sanitary manner, unless Owner/Agent has expressly agreed otherwise in writing in an addendum
           to this Agreement. Resident shall ensure that large boxes are broken apart before being placed in trash containers.
           Resident shall be responsible, at Resident's expense, for hauling to the dump those items too large to fit in the trash
           containers. Resident shall not dispose of any flammable liquid, rags or other items soaked with flammable liquids or
           any other hazardous material in trash containers or bins;
      (b) to properly use and operate all electrical, gas and plumbing fixtures and keep them as clean and sanitary as their
           condition permits;
      (c) to keep the premises and furniture, furnishings and appliances, and fixtures, which are rented for Resident's exclusive
           use, in good order and condition; that all rooms on the premises and all appliances and fixtures on the premises must
           be able to be used for their intended purpose(s);
      (d) not to willfully or wantonly destroy, deface, damage, impair or remove any part of the structure or dwelling unit or the
           facilities, equipment, or appurtenances thereto or to permit any person on the premises, to do any such thing;
      (e) to occupy the premises as a residence, utilizing portions thereof for living, sleeping, cooking, or dining purposes only
           which were respectively designed or intended to be used for such purposes.
      (f) to leave the premises in the same condition as it was received, subject to normal wear and tear, as its condition
            permits.
      (g) to return the premises, upon move-out to the same level of cleanliness it was in at the inception of the tenancy.
       (h) to pay Owner/Agent for costs to repair, replace or rebuild any portion of the premises damaged by the Resident,
            Resident's guests or invitees.
      (i) to promptly advise Owner/Agent of any items requiring repair, such as locks or light switches. Resident shall notify the
            Owner/Agent of any leaks, drips, water fixtures that do not shut off properly, including, but not limited to, a toilet or
            other problems with the water system, including but not limited to, problems with water-saving devices. Resident shall
            make repairs requests as soon as after the defect is noted as is practical;
       (j) to keep doors and windows and access to them unobstructed and to not block them with personal items or otherwise,
            and to maintain clear pathways into and through each room on the premises. Resident must not otherwise maintain the
            unit in a manner that prevents necessary access through each room and to all doors and windows, inhibits necessary
            airflow, acts as a potential haven for pests and mold growth, creates a fire hazard, or prevents rooms from being used
            for their intended purposes.
  24. PLUMBING:        Cost of repair or clearance of stoppages in waste pipes or drains, water pipes or plumbing fixtures caused
      by Resident's negligence or improper usage are the responsibility of the Resident. Resident shall reimburse Owner/Agent
      for these costs on demand.
  25. LARGE APPLIANCES:           Resident shall not move or remove any large appliances provided by Owner/Agent without prior
      written consent of the Owner/Agent. Resident shall not install or operate any additional refrigerators, freezers, washing
      machines, clothes dryers, portable dishwashers, air conditioners or other large appliances not approved by the owner,
      without prior written consent of the Owner/Agent.
  26. QUIET ENJOYMENT:         Resident and Resident's guest(s} shall not violate any criminal or civil law, ordinance or statute in
      the use and occupancy of the premises, commit waste or nuisance, annoy, molest or interfere with any other person on the
      property, or neighbor. Any such action may result in the immediate termination of this Agreement as provided herein and
      by law. Resident shall refrain from creating, or allowing to be created, any noise that is disturbing to other residents.
      Resident is also responsible for compliance with any local noise ordinances.


                                                                     4
Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 188 of 189 Page ID



                                                                                                                            -
                                  #:200
 Castle Hill Apartments

 27. FINES AND PENAL TIES:         Resident is responsible for any fines or other costs occasioned by violations of the law by
     Resident or Resident's guests on the premises or property while Resident is in possession. If any such fines or costs are
     levied against Owner/Agent, Resident agrees to pay such fines or costs attributed to resident's tenancy or the conduct of
     Resident, Resident's guests or others at the premises, upon receipt of any invoice from Owner/Agent. The obligation to
     pay fines and costs assessed against Owner/Agent may be in addition to any assessed directly against Resident.
 28. LIABILITY FOR PACKAGES:          Owner/Agent is not responsible for the delivery, acceptance or receipt of, damage to or
     loss of messages, packages, mail or other material left at entrances to the premises or elsewhere on the premises.

 29. SMOKE DETECTION DEVICE: The premises are equipped with a functioning smoke detection device(s), and Resident
     shall be responsible for testing the device weekly and immediately reporting any problems, maintenance or need for
     repairs to Owner/Agent. If battery operated, Resident is responsible for changing the detector's battery as necessary.
     Resident may not disable, disconnect or remove the detector. Owner/Agent shall have a right to enter the premises to
     check and maintain the smoke detection device as provided by law.
  30. CARBON MONOXIDE DETECTION DEVICE:                  If the premises are equipped with a functioning carbon monoxide
      detection device(s), Resident shall be responsible for testing the device weekly and immediately reporting any problems,
      maintenance or need for repairs to Owner/Agent. If battery operated, Resident is responsible for changing the detector's
      battery as necessary. Resident may not disable, disconnect or remove the detector. Owner/Agent shall have a right to
      enter the premises to check and maintain the carbon monoxide detection device as provided by law.
  31. WAIVER OF BREACH:           The waiver of either party of any breach shall not be construed to be a continuing waiver of any
      subsequent breach. The receipt by Owner/Agent of the rent with the knowledge of any violation of a covenant or condition
      of this agreement shall not be deemed a waiver of such breach. No waiver by either party of the provisions herein shall be
      deemed to have been made unless expressed in writing and signed by all parties to this Agreement.
  32. JOINT AND SEVERAL LIABILITY:               The undersigned Resident(s), whether or not in actual possession of the premises,
      are jointly and severally liable for all obligations under this Agreement, and shall indemnify Owner/Agent for liability arising
      prior to the return of possession to the Owner/Agent for personal injuries or property damage caused or permitted by
      Resident(s), their guests and invitees. This does not waive "Owner/Agent's duty of care" to prevent personal injury or
      property damage where that duty is imposed by law.
  33. NOTICE:       Pursuant to Section 290.46 of the Penal Code, information about specified registered sex offenders is made
      available to the public via an Internet Web site maintained by the Department of Justice at www.meganslaw.ca.gov.
      Depending on an offender's criminal history, this information will include either the address at which the offender resides or
      the community of residence and ZIP Code in which he or she resides.
  34. CREDIT REPORTS:             A negative credit report reflecting on your credit history may be submitted to a credit reporting
      agency if you fail to fulfill the terms of your credit obligations. Resident expressly authorizes Owner/Agent (including a
      collection agency) to obtain Resident's consumer credit report, which Owner/Agent may use if attempting to collect past
      due rent payments, late fees, or other charges from Resident, both during the term of the Agreement and thereafter.

  35. SALE OF PROPERTY:            In the event of the sale or refinance of the property: If Owner/Agent presents to Resident a
      "Resident's Certification of Terms - Estoppal Certification," or other similar Estoppal Certification form, Resident agrees to
      execute and deliver the certificate acknowledging that this Agreement is unmodified and in full force and effect, or in full
      force and effect as modified with the consent of Owner/Agent, and stating the modifications, within ten (10) days of written
      notice. Failure to comply shall be deemed Resident's acknowledgment that the certificate as submitted by Owner/Agent is
      true and correct and may be relied upon by any lender or purchaser.

  36. DESTRUCTION OF OR DAMAGE TO THE PREMISES:                      In the event the premises are partially or totally damaged or
      destroyed by fire or other cause, the following will apply:
      (a) If the premises are totally destroyed by fire, earthquake or other casualty, this Agreement will terminate, as of the date
          on which the damage occurs. However, if the damage or destruction is the result of the negligence of the Resident, or
          his or her invitees, then the Agreement will not terminate, unless notice is given by the Owner/Agent, specifying the
          termination date.
      (b) If the premises are only partially damaged, or are temporarily uninhabitable, as determined by Owner/Agent,
          Owner/Agent will use due diligence to begin the process to repair such damage and restore the premises as soon as
          possible. If only part of the premises cannot be used, there will be a proportionate reduction of rent until the premises
          are repaired, to be determined solely by Owner/Agent.
  37. HAZARD NOTICE:            Resident may obtain information about hazards, including flood hazards, that may affect the
      property from the Internet Web site of the Office of Emergency Service at http://myhazards.caloes.ca.gov/. Owner/Agent's
      insurance does not cover the loss of the Resident's personal possessions and it is recommended that the Resident
      consider purchasing renter's insurance and flood insurance to insure his or her possessions from loss due to fire, flood, or
      other risk of loss. The owner is not required to provide additional information concerning the flood hazards to the property

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Case 2:23-cv-02068-MEMF-MAR Document 1-2 Filed 03/20/23 Page 189 of 189 Page ID
                                  #:201
  Castle Hill Apartments

      and the information provided pursuant to this section is deemed adequate to inform the Resident.

  38. SEVERABILITY CLAUSE:           If any provision of this Agreement is held illegal or unenforceable in a judicial proceeding,
      such provision shall be severed and shall be inoperative, and the remainder of this Agreement shall remain operative and
      binding on the Parties.

  39. ENTIRE AGREEMENT:         This Agreement, which includes all attachments referred to above, constitutes the entire
      Agreement between the parties and cannot be modified except in writing and signed by all parties, except as permitted by
      applicable law. Neither Owner/Agent, nor any agent or employee of Owner/Agent has made any representations or
      promises other than those set forth herein.

  40. ATTORNEY'S FEES:           If any legal action or proceeding is brought by either party to enforce any part of this Agreement,
      the prevailing party shall recover, in addition to all other relief, attorneys' fees not to exceed $10,000.00, plus court costs.

  41. MANDATORY BED BUG NOTICE:            California law requires all Owners/Agents to provide specific information about bed
      bugs to their Residents. The Bedbug Notification Addendum is attached hereto.

  42. BREACH OF LEASE:         In the event that Resident breaches this Lease Agreement, Owner/Agent shall be allowed at
      Owner/Agent's discretion, but not by way of limitation, to exercise any or all remedies provided Owner/Agent by California
      Civil Code Section 1951.2 and 1951.4. Damages Owner/Agent "may recover" include the worth at the time of the award of
      the amount by which the unpaid rent for the balance of the term after the time of award, or for any shorter period of time
      specified in the Lease Agreement, exceeds the amount of such rental loss for the same period that the Resident proves
      could be reasonably avoided.

  The undersigned Resident(s) acknowledge(s) having read and understood the foregoing, and receipt of a duplicate original.

           Signed by Diane K. Godfrey                                         Signed by Gina Garcia
           Tue Jun 11 2019 02:09:39 PM PDT                                    Wed Jun 12 2019 09:36:18 AM PDT
           Key: A2809BC9; IP Address: 24.10.4.74                              Key: 369B8FEA; IP Addcess: 73.41.181.135
  Diane K. Godfrey (Resident)                                Date    (Authorized Agent)                                         Date




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